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             IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF PENNSYLVANIA

                                         :
I.B.I.D. ASSOCIATES LIMITED              :
PARTNERSHIP d/b/a I.B.I.D. ASSOCIATES,   :
L.P.,                                    :
                                         :
               Plaintiff,                :
                                         :
               v.                        :   CIVIL ACTION NO. __________
                                         :
COUNCILMEMBER JAMIE GAUTHIER and         :
THE CITY OF PHILADELPHIA,                :
                                         :
               Defendants.               :
                                         :




                      APPENDIX TO VERIFIED COMPLAINT
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                 EXHIBIT 1

                 Zoning Map
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                 EXHIBIT 2


       1982 HUD Contract
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                                          US. DEP;      iIENT OF HOUSING AND URBAN DEVELOPMF
                                                       EDERAL HOUSING ADMINISTRATION


                 REGULATORY AGREEMENT FOR INSURED MULTI-FAMILY HOUSING PROJECTS

                                      (With Section 8 Housing Assistance Payments Contracts)


Project No.:           034— 3 0 3 7—LD                                                        HAP CON'TRACT NO.: 194 -2_ (2 —00           )—   &ay
Mortgagee              Central       Mortgage Company

Amount of Mortgage Note             $ 3, 8 0 7, 4 00                                                              Date    June     2-9,    1982

Mortgage: Recorded: June 29 , 1982 State PennsylvaniSounty Philadelphia                                          Date     June y9,         19 8 2

                                              Book                                                                Page

                     Originally endorsed for insurance under Section     220                  of the National Housing Act.

     This Agreement entered into this 29th                    day of  June                             , 19 8 2 , between
              I.B.I.D.       Associates,   a                Pennsylvania     limited               partnership,
                                                                     whose address is
                                                                                          115 New Street,
         Glensigle, Pennsylvania                    19038 .
their successors, heirs, and assigns Oomtly aria severally, hereinafter referred to as Owners) and the undersigned Secretary of Housing
and Urban Development and his/her successors (hereinafter referred to as Secretary).

      In consideration of the endorsement for insurance by the Secretary of the above described note or in consideration of the
consent of the Secretary to the transfer of the mortgaged property or the sale and conveyance of the mortgaged property by the
Secretary, and in order to comply with the requirements of the National Housing Act, as amended and the Regulations adopted by
the Secretary pursuant thereto, Owners agree for themselves, their successors, heirs and assigns, that in connection with the mortgaged
property and the project operated thereon and so long as the contract of mortgage insurance continues in effect, and during such fur-
ther period of time as the Secretary shall be the owner, holder or reinsurer of the mortgage, or during any time the Secretary is obli-
gated to insure a mortgage on the mortgaged property:

      1.       Owners, except as limited by paragraph 20 hereof, assume and agree to make promptly all payments due under the note
               and mortgage.

      2.       (a)     Owners shall establish or continue to maintain a reserve fund for replacements by the allocation to such reserve fund
                       in a separate account with the mortgagee or in a safe and responsible depository designated by the mortgagee, con-
                       currently with the beginning of payments towards amortization of the principal of the mortgage insured or held by
                       the Secretary of an amount equal to $ 1 , 22 8 . 7 5                per month unless a different date or amount is ap-
                       proved in writing by the Secretary. Such fund, whether in the form of a cash deposit or invested in obligations of,
                       or fully guaranteed as to principal by, the United States of America shall at times be under the control of the mort-
                       gagee. Disbursements from such fund, whether for the purpose of effecting replacement of structural elements, and
                        mechanical equipment of the project or for any other purpose, may be made only after receiving the consent in
                       writing of the Secretary. In the event of a default in the terms of the mortgage, pursuant to which the loan has been
                        accelerated, the Secretary may apply or authorized the application of the balance in such fund to the amount due
                       on the mortgage debt as accelerated.

               (b)      Where Owners are acquiring a project already subject to an insured mortgage, the reserve fund for replacements to
                        be established will be equal to the amount due to be in such fund under existing agreements or charter provisions
                        at the time Owners acquire such project, and payments hereunder shall begin with the first payment due on the
                        mortgage after acquisition, unless some other method of establishing and maining the fund is approved in writing
                        by the Secretary.

               (c)      If Owners are a nonprofit entity or a limited distribution mortgagor, Owners shall establish and maintain, in addi-
                        tion to the reserve fund for replacements, a residual receipts fund by depositing thereto, with the mortgagee, the
                        residual receipts, as defined herein, with 60 days after the end of the semiannual or annual fiscal period within
                        which such receipts are realized. Residual receipts shall be under the control of the Secretary, and shall be disbursed
                        only on the direction of the Secretary, who shall have the power and authority to direct that the residual receipts,
                        or any part thereof, be used for such purpose as he may determine.

       3.      Real property covered by the mortgage and this Agreement is described in Schedule A attached hereto.

       4.       Except as provided in Paragraph 5 hereof:

               (a)      Owners shall make dwelling accommodations and services of the project available to occupants at charges not ex-
                        ceeding those established in accordance with a rental schedule approved in writing by the Secretary. Accommoda-
                        tions shall not be rented for a period of less than thirty (30) days, or, unless the mortgage is insured under Section
                        231; for more than three years. Commercial facilities shall be rented for such use and upon such terms as approved
                        by the Secretary. Subleasing of dwelling accommodations, except for subleases of single dwelling accommodations
                        by the tenant thereof, shall be prohibited without prior written approval of Owners and the Secretary and any lease
                        shall so provide. Upon discovery of any unapproved sublease, Owners shall immediately demand cancellation and
                        notify the Secretary thereof.

                (b)     Upon prior written approval by the Secretary, Owners may charge to and receive from any tenant such amounts
                        as from time to time may be mutually agreed upon between the tenant and the Owners for any facilities and/or

                                                                                                                             HUD-92465 (6-77)
  This Replaces HUD-9412, Dated April 1975.
           servicesCase
                     which2:22-cv-00954-JDW
                            may be fury' ed by the Document           1-3 toFiled
                                                       Owners or others      such 03/14/22    Page request,
                                                                                  tenant :"on his/her 7 of 280
                                                                                                             in additicj to the
           facilities and services include .a the approval rental schedule.

     (c)   The Secretary will at any time entertain a written request for a rent increase properly supported by substantiating
           evidence and within a reasonable time shall:

           (1)    Approve a rental schedule that is necessary to compensate for any net increase, occurring since the last ap-
                  proved rental schedule, in taxes (other than income taxes) and operating and maintenance cost over which
                  Owners-have no effective control, or

           (ii)   Deny the increase stating the reasons therefor.

5.   (a)   The criteria governing eligibility of tenants for admission to Section 8 units and the conditions of continued occu-
           pancy shall be in accordance with the Housing Assistance Payments Contract.

     (b)   The maximum rent for each Section 8 unit is stated in the Housing Assistance Payments Contract and adjustments
           in such rents shall be made in accordance with the terms of the Housing Assistance Payments Contract.

     (c)   Nothing contained herein shall be construed to relieve the Owners of any obligations under the:Housing Assistance .-
           Payments Contract.

6.   (a)   If the mortgage is originally a Secretary-held purchase money mortgage, or is originally endorsed for insurance under
           any Section other than Section 231, Owners shall not in selecting tenants discriminate against any person or persons
           by reason of the fact that there are children in the family. In the event the mortgage is insured under 'Section 231,
           Owners will give preference or priority of opportunity to occupy its dwelling accommodations to elderly persons
           and handicapped persons as defined in the HUD Regulations.

     (b)   If the mortgage is originally endorsed for insurance under Section 221, Owners shall in selecting tenants give to other-
           wise eligible displaced persons or families an absolute preference or priority of occupancy which shall be accomplished
           as follows:

           (1)    For a period of sixty (60) days from the date of original offering, unless a shorter period of time is approved
                  in writing by the Secretary, all units shall be held for such preferred applicants, after which time any unrented
                  units may be rented to non-preferred applicants; and

           (2)    Thereafter, and on a continuing basis, such preferred applicants shall be given preference over non-preferred
                  applicants in their placement on a waiting list to be maintained by the Owners; and

           (3)    Notwishstanding the provisions of paragraphs (1) and (2), for 30% of the Section 8 units, the Section 221 or
                  Section 231 occupancy preference shall be accorded only to those individuals qualifying as very low income
                  as specified in the Housing Assistance Payments Contract.

     (c)   Without the prior written approval of the Secretary not more than 25% of the number of units in a project insured
           under Section 231 shall be occupied by persons other than elderly persons.

     (d)   All advertising or efforts to rent a project insured under Section 231 shall reflect a bona fide effort of the Owners to
           obtain occupancy by elderly persons.

7.   Nonprofit Owners agree that no dividends of any nature whatsoever will be paid on the capital stock issued by the corpo-
     ration.

8.   Owners shall not without the prior written approval of the Secretary:

     (a)   Convey, transfer, or encumber any of the mortgaged property, or permit the conveyance, transfer, or encumbrance
           of such property.

     (b)   Assign, transfer, dispose of, or encumber any personal property of the project, including rents, or pay out any funds
           except from surplus cash, except for reasonable operating expenses and necessary repairs.

     (c)   Convey, assign, or transfer any beneficial interest in any trust holding title to the property, or any right to manage
           or receive the rents and profits from the mortgaged property.

     (d)   Remodel, add to, reconstruct, or demolish any part of the mortgaged property or subtract from any real or personal
           property of the project.

     (e)   Make, or receive and retain, any distribution of assets cr any income of any kind of the project except surplus cash
           and except on the following conditions:

           (1)    All distributions shall be made only as of and after the end of a semiannual or annual fiscal period, and only as
                  permitted by the law of the applicable jurisdiction; and, in the case of a limited distribution mortgagor, all
                  distributions in any one fiscal year shall be limited to six per centum on the initial equity investment, as de-
                  termined by the Secretary which shall be cumulative;

           (2)    No distribution shall be made from borrowed funds, prior to the completion of the project or when there is
                  any default under this Agreement or under the note or mortgage;



                                                                                                                 HUD-92465 (6-77)
             (3)     Any distribution or any lands of the project, which the party receiving- such funds is not entitled to retain
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                     hereunder, shall be held i vat separ-te and apart from any other funds: 4

             (4)     There shall have been compliance with all outstanding notices of requirements for proper maintenance of the
                     project.

      (f)    Engage, except for natural persons, in any other business or activity, including the operation of any other rental
             project, or incur any liability or obligation not in connection with the project.

      (g)    Require, as a condition of the occupancy or leasing of any unit in the project any consideration or deposit other than
             the prepayment of the first month's rent, plus a security deposit in an amount not in excess of one month's rent
             (the gross family contribution in Section 8 units) to guarantee the performance of the covenants of the lease. Any
             funds collected as security deposits shall be kept separate and apart from all other funds of the project in a trust
             account the amount of which shall at all times equal or exceed the aggregate of all outstanding obligations under said
             account.

      (h)    Permit the use of the dwelling accommodations-of the project for any purpose except the use which, was originally
             intended, or permit commercial use greater than that originally approved by the Secretary.

9.    (a)    Owners have executed an Agreement to enter into a Housing Assistance Payments Contract or have executed a Hous-
             ing Assistance Payments Contract if an insurance upon completion case. The terms of said Contract are or shall be
             incorporated by reference into this Regulatory Agreement.

      (b)     A violation of the terms of the Housing Assistance Payments Contract may be construed to constitute a default
              hereunder in the sole discretion of the Secretary.

      (c)     In the event said Housing Assistance Payments Contract expires or terminates before the expiration or termination
              of this Agreement, the provisions of this paragraph 9 and any other reference to said contract, to Section 8 and to
              Section 8 units contained herein shall be self-cancelling and shall no longer be effective as of the date of the expiration
              or termination of the Housing Assistance Payments Contract.

10.   Owners shall maintain the mortgaged permises, accommodations and the grounds and equipment appurtenant thereto,
      in good repair and condition. In the event all or any of the buildings covered by the mortgage shall be destroyed or dam-
      aged by fire or other casualty, the money derived from any insurance on the property shall be applied in accordance with
      the terms of the insured mortgage.

11.   Owners shall not file any petition in bankruptcy or for a receiver or in insolvency or for reorganization or composition, or
      make any assignment for the benefit of creditors or to a trustee for creditors, or permit an adjudication in bankruptcy or the
      taking possession of the mortgaged property or any part thereof under judicial process or pursuant to any power of sale,
      and fail to have such adverse actions set aside within forty-five (45) days.

12.   (a)    Any management contract entered into by Owners or any of them involving the project shall contain a provision that,
             in the event of default hereunder, it shall be subject to termination without penalty upon written request by the
             Secretary. Upon such request, Owners shall immediately arrange to terminate the contract within a period of not more
             than thirty (30) days and shall make arrangements satisfactory to the Secretary for continuing proper management of
             the project.

      (b)    Payment for services, supplies, or materials shall not exceed the amount ordinarily paid for such services, supplies or
             materials furnished.

       (c)   The mortgaged property, equipment, buildings, plans, offices, apparatus, devices, books, contracts, records, documents,
             and other papers relating thereto shall at all times be maintained in reasonable condition for proper audit and subject
             to examination and inspection at any reasonable time by the Secretary or duly authorized agents of the Secretary.
             Owners shall keep copies of all written contracts or other instruments which affect the mortgaged property, all or any
             of which may be subject to inspection and examination by the Secretary or duly authorized agents of the Secretary.

       (d)   The books and accounts of the operations of the mortgaged property and of the project shall be kept in accordance
             with the requirements of the Secretary.

             Within sixty (60) days following the end of each fiscal year, the Secretary shall be furnished with a complete annual
             financial report based upon an examination of the books and records of mortgagor prepared in accordance with the
             requirements of the Secretary, certified to by an officer or responsible Owner and, when required by the Secretary,
             prepared and certified by a Certified Public Accountant, or other person accer *able to the Secretary.

       (I)   At request of the Secretary, or duly authorized agents of the Secretary, the Owners shall furnish monthly occupancy
             reports and shall give specific answers to questions upon which information is desired from time to time relative to the
             income, assets, liabilities, contract, operation, and condition of the property and the status of the insured mortgage.

       (g)   All rents and other receipts of the project shall be deposited in the name of the project in a bank, whose deposits are
             insured by the F.D.I.C. Such funds shall be withdrawn only in accordance with the provisions of this Agreement for
             expenses of the project or for distributions of surplus cash as permitted by Paragraph 8(e) above. Any Owner receiving
             funds of the project other than by such distribution of surplus cash shall immediately deposit such funds in the project
             bank account and failing so to do in violation of this Agreement shall hold such funds in trust. Any Owner receiving
             property of the project in violation of this Agreement shall immediately deliver such property to the project and
             failing so to do shall hold such property in trust. At such time as the Owners shall have lost control and/or posses-
             sion of the project, all funds held in trust shall be delivered to the mortgagee to the extent that the mortgage indebted-
             ness has not been satisfied..


                                                                                                                      HUD-92465 (5-77)
      (h)   If mortgage is insured under Section 231, Owners or Lessee shall at au times maintain rn run rorce anu eiiee 11U111
            State or        licensing auth-- city such license
                     other2:22-cv-00954-JDW
                  Case                                                be required.
                                                               as may 1-3
                                                         Document                              project9asofhousing
                                                                                    open e the Page
                                                                            Filedto03/14/22                 280 for the elderly.
13.   Owners will comply with the provisions of any Federal, Stat.:, or local law prusubiting discrimination in housing on the
      grounds of race, color, religion or creed, sex, or national orgin, including Title VI of the Civil Rights Act of 1964 (Public
      Law 88-352, 78 Stat 241), Title VIII of the Civil Rights Act of 1968 (Public Law 90-284,82 Stat. 73) Executive Order
      11063, and all requirements imposed by or pursuant to the regulations of the Department of Housing and Urban Develop.
      ment implementing these authorities (including 24 CFR Parts 1, 100, and 110, and Subparts I and M of Part 200).

14.   Upon a violation of any of the above provisions of this Agreement by Owners, the Secretary may give written notice, thereof,
      to Owners, by registered or certified mail, addressed to the addresses stated in this Agreement, or such other addresses as
      may subsequently, upon appropriate written notice thereof to the Secretary, be designated by the Owners as their legal
      business address. If such violation is not corrected to the satisfaction of the Secretary within thirty (30) days after the date
      such notice is mailed or within such further time as the Secretary determines is necessary to correct the violation, without
      further notice the Secretary may declare a default under this Agreement effective on the date of such declaration of default
      and upon such default the Secretary may:

      (a)   (i)     If the Secretary holds the note - declare the whole of said indebtedness immediately due and payable and then
                    proceed with the foreclosure of the mortgage;

            (ii)    If said note is not held by the Secretary - notify the holder of the note of such default and request holder to
                    declare a default under the note and mortgage, and holder after receiving such notice and request, but not
                    otherwise, at its option, may declare the whole indebtedness due, and thereupon proceed with foreclosure of
                    the mortgage, or assign the note and mortgage to the Secretary as provided in the Regulations;

      (b)   Collect all rents and charges in connection with the operation of the project and use such collections to pay the
            obligations under this Agreement and under the note and mortgage and the necessary expenses of preserving the prop-
            erty and operating the project;

      (c)   Take possession of the project, bring any action necessary to enforce any rights of the Owners growing out of the
            project operation, and operate the project in accordance with the terms of this Agreement until such time as the
            Secretary in his discretion determines that the Owners are again in a position to operate the project in accordance
            with terms of this Agreement and in compliance with the requirements of the note and mortgage;

      (d)   Apply to any court, State or Federal, for specific performance of this Agreement, for an injunction against any viola-
            tion of this Agreement, for the appointment of a receiver to take over and operate the project in accordance with the
            terms of the Agreement, or for such other relief as may be appropriate, since the injury to the Secretary arising from
            a default under any of the terms of this Agreement would be irreparable and the amount of damage would be difficult
            to ascertain.

15.   As security for the payment due under this Agreement to the reserve fund for replacement, and to secure the Secretary
      because of his liability under the endorsement of the note for insurance, and as security for the other obligations under this
      Agreement, the Owners respectively assign, pledge and mortgage to the Secretary their rights to the rents, profits, income and
      charges of whatsoever sort which they may receive or be entitled to receive from the operation of the mortgaged property,
      subject, however to any assignment of rents in the insured mortgage referred to herein. Until a default is declared under this
      Agreement, however, permission is granted to Owners to collect and retain under the provisions of this Agreement such rents,
      profit, income, and charges, but upon default this permission is terminated as to all rents due or collected thereafter.

16.   As used in this Agreement the term:

      (a)    "Mortgage" includes "Deed of Trust", "Chattel Mortgage," "Security Instrument," and any other security for the
             note identified herein and endorsed for insurance or held by the Secretary:

      (b)    "Mortgagee" refers to the holder of the mortgage identified herein, its successors and assigns;

      (c)    "Owners" refers to the persons named in the first paragraph hereof and designated as "Owners, their successors, heirs
             and assigns";

      (d)    "Mortgaged Property" includes all property, real, personal, or mixed, covered by the mortgage or mortgages securing
             the note endorsed for insurance or held by the Secretary;

      (e)    "Project" includes the mortgaged property and all its other assets of whatsoever nature or wheresoever situate, used in
             or owned by the business conducted on said mortgaged property, which business conducted on said mortgaged
             property, which business is providing housing and other activities as are incidental thereto;

      (t)    "Surplus Cash" (profit-motivated Owner) or "Residual Receipts" (nonprofit Owner) means any cash remaining at the
             end of a semiannual and annual fiscal period after:

             (1)   the payment of:

                           All sums due or currently required to be paid under the terms of any mortgage or note insured or held
                           by the Secretary;

                           All amounts required to be deposited in the reserve fund for replacements;

                           All obligations of the project other than the insured mortgage unless funds for payment are set aside or
                           deferment of payment has been approved by the Secretary; and



                                                                                                                   HUD--92465 (6-77)
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              (2)   the segregation of:

                    (i)     An amount equal to the aggregate of all spz;a1 funds required to be maintained by the project;

                    (ii)     All tenant security deposits held:

       (g)    "Residual Receipts" (limited distribution mortgagor)means any cash remaining at tile end of a semiannual or annual
              fiscal period after deducting from surplus cash the amount of distributions as that term is defined below and as
              limited by Paragraph 8 (e) hereof;

       (h)    "Distribution" means any withdrawal or taking of cash or any assets of the project, including the segregation of cash
              or assets for subsequent withdrawal within the limitations of Paragraph 8 (e) hereof, and excluding payment for
              reasonable expenses incident to the operation and maintenance of the project.

       (i)    "Default" means a default declared by the Secretary when a violation of this Agreement is not corrected to the satis-
              faction of the Secretary within the time allowed by this Agreement or such further time as may be allowed by the
              Secretary after written notice;


       (j)    "Section 8 units" refers to units assisted under Section 8 of the United States Housing Act of 1937 pursuant to a
              Housing Assistance Payments Contract.

       (c)    "Housing Assistance Payments Contract" refers to a written contract between the Owner and HUD, or the Owner and
              a Public Housing Agency, or the Owner and a Housing Finance Agency for the purpose of providing housing assistance
               payments to the Owner on behalf of eligible families under Section 8 of the United States Housing Act of 1937.

              "Displaced persons or families') slaallmeans a family or families, or a person, displaced from an urban renewal area, or
              as a result of government actioncor as a result-of a major disaster, as determined by the President pursuant to the
              Disaster Relief Act of 1970.

       (m)    "Elderly persons" means any person, married or single, who is sixty-two years of age or over.

17.    This instrument shall bind, and the benefits shall insure to, the respective Owners, their heirs, legal representativ ,xecutors,
       administrators, sucessors in office or interest, and assigns, and to the Secretary and successors of the Secretary so long as the
       contract of mortgage insurance continues in effect, and during such further time as the Secretary shall be the owner, holder
       or reinsurer of the mortgage, or obligated to reinsure the mortgage.

18.    Owners warrant that they have not, and will not, execute any other agreement with provisions contradictory to, or in
       opposition to, the provisions hereof, and that, in any event, the requirements of this Agreement are paramount and
       controlling as to the rights and obligations set forth and supersede any other requirements in conflict therewith.

19.    The invalidity of any clause, part or provision of this Agreement shall not affect the validity of the remaining portions there-
       of.

20.    The following Owners:       I.B.I.D.         Associates and all partners thereof, general
           and limited,
       do not assume personal liability for payments due under the note and mortgage, or for the payments to the reserve for re-
       placements, or for matters not under their control, provided that said Owners shall remain liable under this Agreement only
       with respect to the matters hereinafter stated namely:

       (a)    for funds or property of the project coming into their hands which, by the provisions hereof, they are not entitled to
              retain: and

       (b)    for their own acts and deeds or acts and deeds of others which they have authorized in violation of the provisions
              hereof.

IN WITNESS WHEREOF, the parties hereto have set their hands and seals on the date first hereinabove written.


                                                                             I.B.I.D.        ASSOCIATES
                                                                                                 (Owners)

Seal

WITNESS


                          4e                                                By
                                                                                          erel Altman, General Partner



                                                                          SECRETARY OF HOUSING AND URBAN DEVELOPMENT
                                                                          acting by and through FEDERAL HOUSING COMMISSIONER


                                                                            By
                                                                                                  (Aut rued Agent)T . Oliver Leggett

              (Add proper acknowledgements)                                                                           AREA 1xANAgtft
                                                                                              GPO 921-983
                                                                                                                        HUD-92465 (6-77)
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COMMONWEALTH OF P NNSYLVANIA:
                             SS
COUNTY OF        0 .


       On this, the           day of June, 1982, before me, the undersigned

officer, personally appeared BEREL ATLMAN, who acknowledged himself

to be the General Partner of I.B.I.D. Associates, a Pennsylvania

limited partnership, and that he as such General Partner executed

the foregoing instrument for the purposes therein contained by

signing the name of the partnership by himself as General Partner.

      IN WITNESS WHEREOF, I hereunto set my hand and official seal.




                                                 Nc#ary
                                                       LUCY &  SALMON
                                                 Notary Pitt, Phila., Phila. Co.
                                               MY Commission Expires May 20, 1985
COMMONWEALTH OF PENNSYLVANIA:
                             SS
COUNTY OF


      On this,   the4- 94C    day of June, 1982, before me, the undersigned

officer,   personally appeared

known to me (or satisfactorily        proven) to be the person whose name

is   subscribed to the foregoing instrument and acknowledged that he

executed the same for        the purposes therein     contained.

      IN WITNESS WHEREOF, I hereunto set my hand and official seal.



                                                              12
                                                 Notary Publ.. .Cm                           E»', _
                                                                                        ernm from out of Slat-
                                                                   For CommenweDit of Fenna.
                                                                         Woodbury, iiiouczster Co., N.J.
                                                                        Commission Expiry ° A/opt.
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                 EXHIBIT 3

         2021 HUD Contract
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                 EXHIBIT 4


Bill No. 210778, introduced
       Sept. 30, 2021
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To amend Title 14 of The Philadelphia Code by adding Section 14-532, entitled the “/AHP,
Affordable Housing Preservation Overlay District” and making other related changes; to amend
the Philadelphia Zoning Maps by changing the zoning designations of certain areas of land
located within an area bounded by 39th Street, Ludlow Street, 40th Street, and Market Street;
and to establish a temporary demolition moratorium with respect to properties within the
aforementioned area; all under certain terms and conditions.

THE COUNCIL OF THE CITY OF PHILADELPHIA HEREBY ORDAINS:

SECTION 1. Title 14 of The Philadelphia Code is hereby amended to read as follows:

                            TITLE 14. ZONING AND PLANNING.

                                             *    *   *

                      CHAPTER 14-500. OVERLAY ZONING DISTRICTS

                                             *    *   *



§ 14-532. /AHP, Affordable Housing Preservation Overlay District.

                (1) Applicability. The Affordable Housing Preservation Overlay District shall
apply to lots located in the area bounded by Market Street, 39th Street, Ludlow Street and 40th
Street.

               (2) Use Regulations. The following standards shall apply in addition to those of
the applicable base zoning district:

                (a)             At least 40% of all dwelling units (rounded up, if fractional), or
seventy-seven units, whichever is greater, shall be provided and maintained as affordable on the
same site as all other dwelling units.

                (b)            Any development that has received or will receive government
financial assistance conditioned upon the provision of 51% or more units meeting affordability
standards of a government program shall not be required to meet the requirements of subsections
(a) above.

              (c)             All uses other than residential uses or required off-street parking
must be located on the ground floor of a building.

               (3) Development Standards

The maximum floor area ratio for lots zoned RMX-3 within the Affordable Housing Preservation
Overlay shall be 750% of the lot area.
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               (4) Motor Vehicle Parking Ratios

              The minimum required parking spaces for household living is as indicated in
Table 14-532-1. All other parking and loading standards are as indicated elsewhere in the
Zoning Code.

               Table 14-532-1: Minimum Required Parking Spaces in the /MIN

                          RSD-1/2/3 RSA-      RM-2/3/4 RMX-2/3              RMX-1
                          1/2/3/4/5 RTA-1 RM- CMX-3/4/5 IRMX
                          1 CMX-1/2/2.5


 Household Living         0                          2/10 units             2/3 units




               (5) Affordability

                Affordable dwelling and sleeping units required shall be provided under the
following standards. For the purposes of this section, a household shall consist of every person
who lives or intends to live in the unit, regardless of age, dependency status, or relationship. The
imputed household size for determining unit affordability and occupancy requirements of this
section shall be equal to 1.5 people per each bedroom in the unit, except for studios, efficiencies,
and sleeping units for which the imputed household size is 1 person.

               (a)             Affordable rental units shall:

                (.1) Have total monthly costs (including rent and utility costs) that do not exceed
thirty percent (30%) of gross monthly income for households earning up to twenty percent (20%)
of the Area Median Income (AMI), adjusted for household size, as reported by the U.S.
Department of Housing and Urban Development (HUD) for the Philadelphia Metropolitan
Statistical Area;

              (.2) Be occupied by households earning up to twenty percent (20%) of the Area
Median Income (AMI), adjusted by household size, as reported by HUD for the Philadelphia
Metropolitan Statistical Area at the time of the household's initial occupancy of the unit; and

                (.3) At no time be occupied by households earning greater than forty percent
(40%) of the Area Median Income (AMI), adjusted by household size, as reported by HUD for
the Philadelphia Metropolitan Statistical Area; provided that, in the event the income of a tenant
is found by the Department of Planning and Development to exceed the maximum income
provided for by this subsection (iii), a tenant shall nonetheless be deemed in compliance with this
subsection (iii) until the first expiration of a lease occurring after the tenant's income first
exceeded the maximum permitted by this subsection (iii). The Department of Planning and
Development may waive this requirement upon a showing of exceptional circumstances


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               (b) The standards of §14-702(7)(b)(.2) through (.5) shall apply.

              (c)             Applicants shall be encouraged to partner with community
development corporations and other community-based organizations in developing and
executing plans for marketing units and evaluating the qualifications of potential occupants.

               (d)              Compliance check, remedies, and regulations of § 14-702(7)(d)
through (g) shall apply.



               (6) Marketing and Equal Opportunity

               Any development shall be subject to the requirement that no zoning permit shall
be issued unless an applicant has met with Registered Community Organizations (“RCOs”)
whose boundaries include the applicant’s property to present a Marketing and Occupancy Plan
and an Economic Opportunity Plan, in accordance with subsections (a) through (c), below; has
subsequently filed the Plans with either a division of the Department of Commerce responsible
for monitoring participation by minority, women, and disabled-owned businesses or any other
City agency designated by the Mayor; and has subsequently made available a copy of the Plans
to the RCOs.

               (a)             A Marketing and Occupancy Plan shall describe how the permit
applicant will market and occupy affordable and market-rate units within the development.

                (b)               An Economic Opportunity Plan shall include a description of all
efforts to be taken to foster meaningful and representative opportunities for participation by
M/W/DSBEs and an appropriately diverse workforce in connection with the project. Such
description shall include certification and documentation of any and all actions taken with
respect to solicitation and other activities as set forth in subparagraphs (1)(d)(.3)(.a)-(.c) of
Section 17-1603 of the Code (“Economic Opportunity Plan: Contents”);a statement of past
practices to develop diversity at any and all levels of the organization, as described in subsection
(1)(f) of 17-1603; and a statement of equity ownership, as described in subsection 17-
1603(1)(g)(.2); provided that the requirements of § 17-1600 shall not otherwise apply to this §
14-531.

               (c)             The applicant must meet the applicable requirements of § 14-
303(12) (Neighborhood Notice and Meetings), regardless of whether those provisions would
otherwise apply. The applicant may fulfill the requirement of meeting with RCOs in this
subsection (c) by presenting such Plans at the Neighborhood Meeting required under § 14-
303(12).

                (d)             L&I and the Commission are authorized to promulgate such
regulations as are necessary and appropriate to implement the provisions of this section.




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                                            *    *    *



               SECTION 2. Pursuant to Section 14-106 of The Philadelphia Code, the
Philadelphia Zoning Maps are hereby amended by changing the zoning designations of certain
areas of land within an area bounded by Market Street, 39th Street, Ludlow Street, and 40th
Street from the existing zoning designations indicated on Map “A” set forth below to the zoning
designations indicated on Map “B” set forth below.

              SECTION 3.                Intentionally left blank.

              SECTION 4. This Ordinance shall take effect immediately following its
enactment.




                                                     MAP “A”

                                             [SEE ATTACHED]




                                                     MAP “B”

                                             [SEE ATTACHED]




              End




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                    EXHIBIT 5


          Oct. 21, 2021
City Planning Meeting Transcript
            Excerpt
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                                   City Planning Meeting – Trego
                                         2:39:30 to 3:07:54

 Anne Fadullon         Okay that now takes us to Item No. 14, which is Zoning Bill 210778.

 Nicole Osdemir        Good afternoon, commissioners and everyone. My name is Nicole
                       Osdemir with PCP Commissions Staff. Today I am presenting Zoning Bill
                       210778, which is an ordinance which amends um Title 14 of the Zoning
                       Code by adding in um the slash AHP or Affordable Housing Preservation
                       Overlay District. It also amends the zoning maps by changing the zoning –
                       up on the end – uh boundaried by 39th Street, Ludlow Street, 40th Street,
                       Market Street and also establishes a temporary demolition moratorium.
                       This Bill was introduced by council member Gauthier on September 30th
                       of this year.

                       Next slide please. Here we have an aerial contacts map with the site in
                       question highlighted in red, which scan is bounded by 39th and Ludlow,
                       40th and Market Street in West Philadelphia.

                       Next slide please. And then here’s just a more zoomed in aerial look at the
                       site, which is currently um an affordable housing development that
                       includes service parking and some open space.

                       This Bill was, um, came out of councilmember Gauthier’s office. It has a
                       number of components in an attempt to preserve the Affordable Housing
                       that is currently at this site and to potentially delay um eviction of current
                       residents. The site’s current owners have notified the U.S. Department of
                       Housing and Urban Development that they will not be renewing their
                       expiring Affordable Housing Contracts and plan on selling the site. They
                       also have notified the current tenants that they must leave their homes by
                       July of 2022.

                       Next slide please. Here are just a couple of street view images of the site.
                       This one is looking at the site at 39th and Market.

                       Next slide please. And then this one is just at 40th and Market with the
                       entrance to the 40th uh Street El station just to the right of the view.

                       Next slide please. So the first component of this Bill is a base zone
                       remapping. The site is currently zoned DMX4, which is the second most
                       dense commercial mixed-use zoning designation.

                       Next slide please. And the Bill proposes to change the base zoning of the
                       site to RMX3 or Residential Mixed Use Space.

                       Next slide please. The next part of this bill um creates the AHP overlay or
                       Affordable Housing Preservation overlay with a number of regulations. So
                       at least 40% of all dwelling units, or 77 units, uh whichever number is


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                       greater, must be affordable units located on the same site as any potential
                       other market rate unit. All other uses besides residential, and any required
                       accessory parking, must be located on the ground floor of a building. Um,
                       and it would event any development that has or will receive government
                       funding for providing at least uh 51% or greater units of affordable
                       housing.

                       Next slide please. Um it sets out the maximum FAR for RMX3 uh at 750,
                       and it requires two parking spaces per 10 dwelling units.

                       Next slide please. Regarding affordable rental units, um it requires that
                       they are occupied by up to 20% AMI or Area Median Income households.
                       It requires that the total monthly costs don’t exceed 30% gross monthly
                       income or up to 20% AMI household. It states that it can’t, uh these units
                       cannot be occupied by households that earn greater than 40% AMI. It also
                       encourages any applicants to work with CDCs or other community
                       organizations to develop plans for marketing as well as evaluating the
                       qualifications of potential tenants of these units.

                       Next slide please. It also uses the same criteria from the mixed income
                       bonus for terms of affordability, timing of construction, marketing, design
                       of the buildings and material quality, as well as compliance and
                       regulations uh for enforcement.

                       Next slide please. Now regarding marketing any full opportunity, it states
                       that the applicants must meet with uh affected RCOs to present a
                       marketing and occupancy plan as well as an economic opportunity plan in
                       order to get a zoning permit. Um it states that the marketing plan will
                       describe how the applicant will market and fill both the affordable and
                       market-rate units, and it authorizes L&I and PCPC to create any
                       regulations needed to implement and regulate this overlay.

                       Next slide please. Um and then the third key part of this Bill is that it
                       establishes a temporary demolition moratorium, um stating that no zoning
                       permit shall be issued for a total demolition unless L&I determines that
                       this – any building is imminently dangerous or there’s unsafe conditions
                       impacting right of way or the adjacent properties, and the length of time of
                       this moratorium is 12 months um since the date of enactment, excuse me,
                       of this Bill.

                       Next slide please. So PCPC commission staff support not only increasing
                       the City’s supply of affordable housing, but particularly understands the
                       importance of having affordable housing available in this specific
                       neighborhood and at this location. However, it is difficult for staff to
                       support these efforts via the Bill. The rezoning Bill could be considered a
                       taking of the owners’ property rights. Secondly, while the staff supports
                       the goal of keeping residents in their homes, the demolition moratorium


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                       will expire shortly after the HUD agreement expires, and so will not be
                       helpful in meeting that goal. The residents could still potentially be
                       evicted, and the developer could just sit and wait out the moratorium with
                       a vacant site.

                       Furthermore, the level of affordability required in the Bill will be difficult
                       for a new developer to achieve, certainly without government subsidy.
                       Additionally, the Bill requires other uses outside of residential or accessory
                       parking to be limited to the ground floor. While this is a large site that
                       could have multiple structures, it limits the possibility of having
                       comprehensive mixed-use buildings, which is what the current base zoning
                       calls for and what is recommended in the comprehensive plan.

                       With the utmost respect for the councilmember, the staff recommendation
                       is not for approval.

 Anne Fadullon         Thank you Nicole. Um do we have any questions and comments on on this
                       Bill from the, from the Commission?

 Garlen Capita         Thanks Nicole, I have a question. Uh, we reviewed earlier the Fifth
                       District overlay. Is that a tool that could be used to do some of the things
                       that this zoning Bill is trying to do? Just in terms of like what are – what
                       are – what, what tools are available to help support some of the goals of
                       this zoning Bill?

 Nicole Osdemir        Um,

 Eleanor Sharpe        Let me help. Garlen, are you talking about [some over talking] – which –
                       which old school – there’s so many overlays today, not my favorite words

 Garlen Capita         It was the Fifth District one that we talked about that they wanted to start
                       at Spring Garden and whether Spring Garden made sense?

 Eleanor Sharpe        Oh, the mixed-income housing bill [over talking]

 Garlen Capita         The mixed-income housing? If you can

 Eleanor Sharpe        I don’t think so, but Ann can weigh in on this, because this was um,
                       designated for affordable housing through a HUD program that the, uh
                       owners

 Anne Fadullon         I think it’s um – yeah there’s some complicating factors with this.

 Eleanor Sharpe        Yeah

 Anne Fadullon         I mean, one it’s it’s family housing that’s very, very difficult for us to, to
                       replicate, particularly given the location of this, right. And so, um, and
                       what complicates it further is that um the City or the federal government


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                       really has no – there’s no uh dollars that we have in this project that
                       remain. So we don’t have a mortgage or anything like that, so there –
                       there’s none – no financing to leverage, um, for us on this project. Uh
                       obviously, given that it’s zoned CMX4 in this location, it’s a very valuable
                       piece of property. Uh there’s just a lot of difficult issues raised on on this,
                       on this site, so I believe this is, you know, a very uh valiant attempt by the
                       councilwoman to try to preserve the affordability on this site in this
                       community.

                       I think what makes this Bill a little bit difficult is, for example, even if um
                       there was a proposal to do a tax credits site on the – a project on this site –
                       at the income levels that they’re talking about, the the the tax credit project
                       would not pencil and be feasible. The cash flow would not work even on a
                       tax code credit project, so it would be difficult for the project to even, um,
                       to get, to get tax credits, uh. You know it’s just this is a very complicated
                       issue, right. And I think uh the councilwoman I know is here, I think we
                       should let her speak for herself, because she is very capable and able to do
                       that, but you know I just, I just think this really is one of those sites that
                       brings to the foreground, uh, you know, a lot of the the issues that as the
                       City grows we we are going to be, be grappling with, and unfortunately
                       there – there’s just not real easy answers here.

                       Um, so with that I’m going to go a little bit out of turn, because we
                       normally allow the commissioners to uh provide whatever comment they
                       want, but given that the councilwoman is here and this is her Bill, I think
                       it’s most appropriate to hear from her now. So can we unmute the
                       councilwoman please?

 Jamie Gauthier        Hello?

 Anne Fadullon         Hi, we can hear you. Go ahead.

 Jamie Gauthier        Okay. Wonderful. Um thank you so much to the Planning Commission for
                       allowing me to testify regarding Bill Number 210778, and thank you to
                       Nicole and her colleagues for their thoughtful consideration of this Bill.

                       Um I am here today because 70 families who reside in extremely
                       affordable townhomes in the heart of amenity-rich University City are at
                       risk of displacement as soon as July 2022. The owner of the property opted
                       out of their affordability contract with HUD and is actively seeking to
                       maximize the profit for this mega site estimated to be worth 75 to 100
                       million dollars.

                       Without immediate government intervention, we will lose these very
                       affordable townhomes forever; and for the second time in 50 years,
                       government will have allowed wealthy private interests to profit at the
                       expense of working class black Philadelphians. Some residents who were


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                       displaced once before as a result of urban renewal will be displaced again.
                       These families will lose access to – easy access – to transit and healthcare
                       and jobs and schools, um and their community will be torn apart.

                       All of the consequences that residents stand to suffer due to government
                       inaction run counter to APA policy goals, the 2035 comprehensive plan,
                       and basic morality; which is why I’m here today to ask that the planning
                       commission recommend the passage of Bill Number 210778.

                       Before the commission votes today, I think it’s important to recount how
                       we got here, the role that this body played in urban renewal in
                       Philadelphia, and why this ordinance is aligned with the foundational
                       mission of urban planning. In the late 1960s and early 1970s, during what
                       was known as urban renewal, the City of Philadelphia raised the black
                       bottom neighborhood to make way for a science and technology research
                       campus, which today we know as the University City Science Center.

                       Thousands of Philadelphians, roughly 80% of whom were black, were
                       displaced as a result. Not just from their homes, but from a very stable
                       community. This block was initially slated to be a part of that research
                       campus, but neighbors and University of Pennsylvania students banded
                       together to fight. They demanded that site be set aside for affordable
                       housing, so that people displaced by urban renewal had options to return,
                       and so that they would have access to housing in the neighborhood for
                       generations to come. And eventually a commitment was made to West
                       Philly residents that this site would be dedicated to low income housing.

                       Now let’s fast forward to today. Forty years after the University City
                       townhomes first opened, our City and the 3rd District has changed
                       dramatically. Housing prices have tripled in this immediate area since
                       then. In the last two decades alone, the black population east of 52nd Street
                       has been cut in half, and um the end of this demand is nowhere within
                       sight. An estimated five billion dollars have been spent on construction in
                       University City in the last decade alone.

                       And so all of this helps to explain why the University City townhomes are
                       simply irreplaceable. Dozens of three-bedroom apartments with rents that
                       are 90% cheaper than what you can get on the open market, sitting on a
                       piece of land that is valued today at 75 to 100 million dollars. As a black
                       woman and an urban planner, I’m well aware of how the institution of
                       planning has exacerbated racial inequities in our cities, including
                       Philadelphia.

                       These wounds of planners past are eloquently acknowledged and
                       addressed by director Eleanor Sharpe, along with planning directors from
                       across the country, in their Commitment to Change Statement, which notes



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                       that planners played an integral role in the displacement of communities of
                       color over the course of modern American history.

                       That history is clearly reflected in the 3rd District. The Philadelphia City
                       Planning Commission helped facilitate urban renewal, leading to the
                       displacement of thousands of black bottom residents. And today this body
                       has an opportunity to make amends to community for past wrongs, and
                       commit to change moving forward.

                       Recommending this legislation also aligns with the American Planning
                       Association’s Housing Policy Guide Statement 2B, which supports the
                       preservation of existing affordable housing in gentrifying amenity-rich
                       areas. Philadelphia’s 2035 Comprehensive Plan likewise notes “the
                       location of new housing, particularly housing supported by government
                       funding, to be prioritized based on adjacency to existing community assets
                       and strengths, commercial corridors, transit stations and stable residential
                       blocks.” In this instance we are talking about existing housing, but the
                       same logic to preserve this community should apply.

                       The University Southwest District Plan calls for mixed-use development
                       on this site. I would argue that our proposed remapping and overlay still
                       achieve the district’s planned uh intent, and does so in a way that creates
                       space for equity, community co community cohesion and cultural and
                       housing preservation.

                       First, the mapping change to RMX3 ensures that mixed-use development
                       can still take place on the site at the scale of what is envisioned in the
                       District plan. Making residential mandatory and adding the affordability
                       requirements provides a check against the perverse market forces at play
                       that encourage maximizing profit over the creation of inclusive
                       neighborhoods where people with very low incomes can have housing
                       their amenities.

                       I think it’s also important to note that this particular District plan was
                       adopted in mid-2013, when real estate conditions were very different than
                       they are now in 2021, with the marker - market hotter than any of us have
                       ever seen it before. Without more restrictive zoning, the private market
                       will not produce or preserve affordable units in this area.

                       And so today the Planning Commission has an opportunity to change that,
                       and to align its official actions with the values that I think we all hold. I
                       urge the Planning Commission to recommend the adoption of Bill Number
                       210778. Thank you.

 Anne Fadullon         Thank you very much, councilwoman. And we we really appreciate those
                       comments. Um I’m gonna go back to seeing if anybody else from the




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                       Commission has any questions or comments on this item, and then we’ll
                       hear the rest of the public comments.

 Michael Johns         Yeah, yeah I do. Um and this is, this is one of those sites that I know very
                       well, um, and it, it pains me to even think that the, that these, it - it will no
                       longer be affordable housing. I’ve watched the neighborhood change. I see
                       that site – across the street from that site it is an affordable senior building.
                       I see right next to that it’s another affordable senior building, and as these,
                       um sort of pillars, right, of affordability in a neighborhood that has all of
                       the amenities – education, transportation, you know, job opportunities,
                       walkability -- um be potentially lost, there needs to be some intervention,
                       right.

                       And, you know, maybe this is not the greatest Bill, but you’ve gotta do
                       something, and, and you’ve gotta make a stand somewhere or else you’re
                       going to lose any affordability in that neighborhood altogether. I mean,
                       you just kind of look, you know, it’s just that the movement is there, and
                       the, you know, there’ll be absolutely no affordability at some point in that
                       neighborhood if this – like I like I said – if this site goes, the senor
                       buiilding is goin next. Right next to that, the next thing you’re building is
                       gone, you know. 3801 – it’s probably gone. You know what I mean? So,
                       you know it may not be the best, but some, some place, somewhere you
                       gotta put a you gotta put your foot in it – in you know in the ground, and
                       say let’s, let’s do something, you know. And maybe that causes some
                       additional interaction, um or intervention, um and my battery is going low,
                       I’m gonna plug this in. So that’s my comment.

 Anne Fadullon         Thanks. Thank you commissioner Johns.

 Michael Johns         Yep

 Anne Fadullon         Uh, any other commissioners that would like to provide comment or have
                       a question on this matter?

 Garlen Capita         I would just like to show support for what the Bill is trying to do, and to
                       really appreciate um council um woman Jamie Gauthier’s really um
                       passionate and emotional plea for preserving affordable housing.
                       Recognizing that the cost of building the affordable housing and our
                       opportunity to do so is so limited I completely agree with um
                       commissioner Johns in that, even if this runs into issues, can we take a
                       stand in saying that as a planning commission, if we really do believe in
                       equity and sustainability in building this community where all of these
                       people can continue to be, that we have to be empowered to be able to do
                       so, and this Bill starts to talk about what that power looks like.

 Anne Fadullon         Thank you commissioner Capita. Uh, any other commissioners?



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 Patrick Eiding        I have a question.

 Anne Fadullon         Go ahead commissioner Eiding.

 Patrick Eiding        If this is voted down, this recommendation, does the Bill go through or do
                       we have to have a separate motion?

 Anne Fadullon         Uh, well, if – if the motion was made and approved by the commission to
                       uh accept staff recommendation, which is not for approval, or the reverse,
                       um again the role of the planning commission is advisory only. So yeah it
                       is – you know the the the councilwoman – it is in her uh purview to
                       continue to move this Bill forward. It is scheduled for a Rules Committee
                       hearing on the 26th. I would uh assume, based on the councilwoman’s very
                       passionate comments, that she intends to have the Bill heard at the Rules
                       Committee on the 26th so I would assume that regardless of of how this
                       commission recommends that the Bill will continue to move forward.

 Maria Gonzalez        Hi. I, I I think that, you know, I commend the councilwoman um for really
                       thinking outside the box, and for really, um you know, uh preserving,
                       trying to preserve affordable housing in many parts of a neighborhood that
                       have been gentrified and there’s really no affordable housing being built,
                       and preserving that for the families. Um, and another comment that I have
                       is that, you know, if this Bill moves forward or is being heard at the Rules
                       Committee, I think that there should be some talk about some of the
                       restrictions, um especially about um you know, having or making
                       recommendations for economically viable uh housing activity. I think that
                       some of the recommendations are not economically viable, um so maybe it
                       is deserving of, you know, taking a looksee and making some other
                       adjustments. Um and also, um you know, desperate times you know, you
                       need desperate measures, and you know need to make a stand, especially
                       with all the, uh the gentrification and also the displacement that has
                       happened in many of our communities, so really kudos to you for um, you
                       know, thinking differently and um you know, coming up with this Bill.

 Anne Fadullon         Any other commissioners? Alright, I do believe we have some additional
                       hands up, so Greg lets go to public comment.

 Greg Waldman          Um yes, uh this is Greg Waldman from planning commission staff. Um I
                       see three hands that are raised, uh the first one that I’m seeing after
                       councilmember uh Gauthier is uh Lewis uh Baum. And you can unmute
                       yourself.

 Louis Baum            Hello, uh yes. Uh I don’t believe my hand was raised, but um, I’ll be
 [totally guessing     happy to speak a little bit.
 at spelling]




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 Greg Waldman          It’s up to you

 Louis Baum            The uh, the first thing I would say is the, the objection to this Bill being a
                       taking of the of owners’ property rights. Um if that were case, it would
                       seem to me that any overlay is a taking, and certainly other overlays have
                       been approved before. Um this Bill, um it primarily is a subset of the
                       mixed income neighborhoods Bill, which the commission uh did approve
                       with, with uh uh, amendments earlier. Um, the, it - obviously it also
                       includes a change in zoning and something to do with uh, uh demolition,
                       which are different - but the rest of it’s kind of a, a subset. That’s all I’ll
                       say for right now. I, I, thank you.

 Anne Fadullon         Thank you Mr. Baum, and Greg I think we have another one.

 Greg Waldman          We have a couple others. Um we have a Mark Harris, uh who I believe is
                       being unmuted momentarily, at the moment.

 Mark Harris           Thank you sir.

 Anne Fadullon         Go ahead Mr. Harris.

 Mark Harris           I understand the concerns of the planning commission as expressed, but
                       I’m disappointed that all their comments seem to be negative. They
                       haven’t made any useful or positive suggestions for how this uh proposal
                       might be amended to make it more practical. So we’re all in agreement I
                       think that we’d like to preserve this affordable housing, uh but the
                       planning commission is not doing anything to assist us to that objective.

 Greg Waldman          Um, next we have a Ms. Wigham, and I apologize if I’m pronouncing that
                       incorrectly. Um, I believe you still have to unmute. There is um, Ms.
                       Wigham there is a mute button, which is on the bottom left-hand side of
                       your screen.

 Ms. Wigham            Sorry. I apologize that I hit it by mistake [laughs]. I’m pretty new at this
                       but I will chime in for just a second and, um, you know affordable housing
                       in our community has become a rarity, and so with this situation that’s
                       goin on and all the developments that are going on in particular
                       neighborhoods um that are high density, um, the area in which they wanna
                       destroy – I’m gonna use that word – destroy um actually should be
                       reconsidered. Um like I said, affordable housing in this community, in this
                       City, is difficult. So to um, you know displace people over money, greed
                       over lives, I think should be considered. So thank you.

 Anne Fadullon         Thank you Ms. Wigham. Uh Greg do you have any other hands up from
                       the public?




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 Greg Waldman          There are no more hands at this time, Chair.

 Anne Fadullon         Thank you. Uh thank you for, commissioners for your comments on this
                       Bill, uh and and thank you for all of the public participants that spoke and
                       particularly the councilwoman, uh and I’m gonna call for a motion on this
                       item.

 Patrick Eiding        I make a motion that we do not approve the recommendation of the uh
                       staff.

 Michael Johns         I second.

 Anne Fadullon         A motion has been made by commissioner Eiding and um seconded by
                       commissioner Johns to, uh once again, double negative, which is to not
                       accept the staff recommendation which is for not approval, which means
                       essentially that the commission would recommend approval on this Bill.
                       Uh, commissioner Gonzalez?

 Maria Gonzalez        Yes.

 Anne Fadullon         All right. Commissioner Eiding?

 Patrick Eiding        Yes

 Anne Fadullon         Commissioner Gaston?

 Cheryl Gaston         Gonna abstain.

 Anne Fadullon         Commissioner Capita?

 Garlen Capita         Yes

 Anne Fadullon         Commissioner Syrnick?

 Joseph Syrnick        Yes

 Anne Fadullon         Commissioner Rashid?

 Michael Rashid        Yes

 Anne Fadullon         Commissioner Valle?

 Ximena Valle          Yes

 Anne Fadullon         Commissioner Johns?

 Michael Johns         Yes



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 Anne Fadullon         Commissioner Lamb?

 Cat Lamb              No

 Anne Fadullon         Commissioner Castle?

 Charlotte Castle      Abstain

 Anne Fadullon         Okay. Uh we had a couple of abstentions and one no, but we had the ayes
                       carry, so uh just to be clear, for the record, the uh recommendation on this
                       item is for approval for Zoning Bill 210778. Thank you all.




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                 EXHIBIT 6

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                         October 26, 2021

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       COUNCIL OF THE CITY OF PHILADELPHIA

                COMMITTEE ON RULES




                  Remote location using Microsoft® Teams
                  Tuesday, October 26, 2021
                  10:00 a.m.




     PRESENT:

       COUNCILMAN KENYATTA JOHNSON, CHAIR
       COUNCILMAN MARK SQUILLA, VICE-CHAIR
       COUNCILWOMAN CINDY BASS
       COUNCILWOMAN KATHERINE GILMORE RICHARDSON
       COUNCILMAN DAVID OH
       COUNCILMAN BRIAN J. O'NEILL
       COUNCILWOMAN MARIA D. QUINONES-SANCHEZ

ALSO PRESENT:

       COUNCILMAN ALLAN DOMB
       COUNCILWOMAN JAMIE GAUTHIER




       BILLS:   210549, 210634, 210637, 210638, 210667,
                210668, 210686, 210687, 210741, 210742,
                210778, 210808




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                     -   -   -

          COUNCILMAN JOHNSON:         Good

morning, everyone.

          I understand that state law

currently requires that the following

announcement be made at the beginning of

every remote public hearing as follows:

Due to the current public health

emergency, City Council Committees are

currently meeting remotely.         We are

using Microsoft Teams to make these

remote hearings possible.

          Instructions for how the public

may view and offer public testimony at

public hearings at Council Committees

are included in the notices that are

published at the Daily News, Inquirer

and Legal Intelligencer prior to the

hearings and can also be found on

PHLCouncil.com.

          Will the Clerk please call the

roll to take attendance.         Members that

are in attendance will please indicate

that they are present when their names

are called.   Also, please say a few




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brief words when responding so that your

image will be displayed on screen when

you speak.

             THE CLERK:    Councilmember Mark

Squilla.

             COUNCILMAN SQUILLA:      Good

morning, Mr. Chair.       Present.

             THE CLERK:    Councilmember Maria

Quinones-Sanchez.

             COUNCILWOMAN QUINONES-SANCHEZ:

Good morning, Council Chair and members.

             THE CLERK:    Councilmember Cindy

Bass.

             COUNCILWOMAN BASS:      Good

morning, Mr. Chairman, colleagues and

all in attendance for today's hearing.

Good morning.

             THE CLERK:    Councilmember David

Oh.

             COUNCILMAN OH:    Good morning,

Chair.     Good morning, colleagues.

             THE CLERK:    Councilmember

Katherine Gilmore Richardson.

             COUNCILWOMAN GILMORE

RICHARDSON:     Good morning, Mr. Chair.




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Good morning, colleagues.      Thank you

very, very much.

            THE CLERK:    Councilmember Brian

O'Neill.

            COUNCILMAN O'NEILL:     Good

morning, everyone.

            THE CLERK:    And also present,

Councilmember Jamie Gauthier.

            COUNCILWOMAN GAUTHIER:     Good

morning, Mr. Chair, members of the

Committee and to the public.       Present.

            COUNCILMAN JOHNSON:     Thank you

very much, Brett.

            A quorum of the Committee is

present and this hearing is now called

to order.    This is the public hearing of

the Committee on Rules regarding Bill

Nos. 210549, 210634, 210637, 210638,

210667, 210668, 210686, 210687, 210741,

210742, 210778, and 210808.       Very full

schedule today.

            Will the Clerk please read the

titles of the bills.

            THE CLERK:    Bill No. 210638, a

bill to amend the Philadelphia Zoning




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Maps by changing the zoning designations

of certain areas of land located within

an area bounded by 11th Street, Reed

Street, 12th Street and Wharton Street

to amend Title 14, by adding the South

Philadelphia Municipal Hub Overlay

District, and making other related

changes, and approving the Residential

Mixed-Use-2 District Master Plan for the

site generally bounded by 11th Street,

Reed Street, 12th Street and Wharton

Street, all under certain terms and

conditions.

          Bill No. 210637, amending Title

14 of The Philadelphia Code, entitled

"Zoning and Planning," by amending

certain provisions of Chapter 14-800,

entitled "Parking and Loading,"

pertaining to parking requirements for

uses in historically designated

properties, all under certain terms and

conditions.

          Bill No. 210686, to amend the

Philadelphia Zoning Maps by changing the

zoning designations of certain areas of




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land located within an area bounded by

Walnut Street, 9th Street, Locust Street

and 10th Street.

            Bill No. 210687, to amend the

Philadelphia Zoning Maps by changing the

zoning designation of certain areas of

land located within an area bounded by

Trenton Avenue, Cambria Street, Tulip

Street and William Street.

            Bill No. 210549, approving an

amendment to the Articles of

Incorporation of the City Avenue Special

Services District of Philadelphia and

Lower Merion to extend the term of

existence of the District to December

31, 2042.

            Bill No. 210667, amending Title

14-529 of The Philadelphia Code,

entitled "Fifth District Overlay

District," to prohibit certain bonuses,

all under certain terms and conditions.

            Bill No. 210668, amending

Section 14-504 of The Philadelphia Code,

entitled "Neighborhood Conservation

Overlay Districts," by expanding the




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existing Strawberry Mansion/NCO area to

include the area bounded by Lehigh

Avenue, 29th Street and Sedgley Avenue,

under certain terms and conditions.

          Bill No. 210741, to amend the

Philadelphia Zoning Maps by changing the

zoning designations of certain areas of

land located within an area bounded by

20th Street, Arch Street, Cuthbert

Street and 21st Street, all under

certain terms and conditions.

          Bill No. 210742, amending

Section 14-502 of The Philadelphia Code,

entitled "Center City Overlay District,"

by amending certain height regulations

and creating bulk and massing controls

with the Benjamin Franklin Parkway Area,

all under certain terms and conditions.

          Bill No. 210808, to amend the

Philadelphia Zoning Maps by changing the

zoning designations of certain areas of

land located within an area bounded by

all Oxford Avenue, Shelmire Avenue,

Rising Sun Avenue, Solly Avenue, the

County Line, Borbeck Avenue, Hasbrook




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Avenue and Hartel Avenue.

          Bill No. 210634, to amend the

Master Plan for the University of

Pennsylvania by areas of land located

within an area bounded by Guardian

Drive, East Service Drive, Civic Center

Boulevard, 34th Street, 33rd Street and

Walnut Street and the Schuylkill River,

34th Street and University Avenue.

          And Bill 210778, to amend Title

14 of The Philadelphia Code by adding

Section 14-532, entitled "Affordable

Housing Preservation Overlay District"

and making other related changes --

                  (Background interruption.)

          THE CLERK:     Will someone please

mute your microphone.

                  (Background interruption.)

          COUNCILMAN JOHNSON:     Everyone,

if you're not speaking, please put your

camera on mute.     Thank you.

          THE CLERK:     -- to amend the

Philadelphia Zoning Maps by changing the

zoning designation of certain areas of

land located within an area bounded by




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39th Street, Ludlow Street, 40th Street

and Market Street, and to establish a

temporary demolition moratorium with

respect to properties within the

aforementioned area, all under certain

terms and conditions.

            COUNCILMAN JOHNSON:   Thank you

very much, Brett.

            Before we begin to hear

testimony from the witnesses we have for

today, everyone who has been invited to

the meeting to testify should be aware

that this public hearing is being

recorded.    Because the hearing is

public, participants and viewers have no

reasonable expectation of privacy.     By

continuing to be in the meeting, you are

consenting to being recorded.

            Additionally, prior to

recognizing Members for the questions or

comments they have for witnesses, I will

note for the record at this time that we

will use the chat feature available in

Microsoft Teams to allow Members to

signify that they wish to be recognized.




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In order to comply with the Sunshine

Act, the chat feature must only be used

for this purpose.

             Before we begin, please let the

record reflect that Bill No. 210741 is

being held at the request of the sponsor

and will be heard at a later date.

             Will the Clerk please call for

the -- one second.        Hey, Brett, is there

another bill that we want to hold as

well?

             THE CLERK:     There will be

another bill that is held, but we are

hearing it today.

             COUNCILMAN JOHNSON:     Okay.

Thank you.     So we're going to move

forward with what we have right now.

             Will the Clerk please call the

panel for Bill No. 210638.

             THE CLERK:     We have Paula

Brumbelow Burns and Thomas Dalfo.

             COUNCILMAN JOHNSON:     Will you

please state your name for the record

and please begin your testimony.

             MS. BRUMBELOW BURNS:     Good




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morning, members of the Rules Committee.

I am Paul Brumbelow Burns, Director of

Legislation for the Philadelphia City

Planning Commission.     I'm here to

testify on Bill No. 210638, which was

introduced into City Council on June 24,

2021 by Councilmember Squilla.

             Bill No. 210638 amends Title 14

of The Philadelphia Zoning Code,

entitled "Zoning and Planning," to

revise certain provisions of Chapter

14-500, entitled "Overlay Zoning

Districts," by adding the Section

14-531, entitled "SMH South Philadelphia

Municipal Hub Overlay District," and

approving the Residential Mixed-Use-2

District, RMX-2, Master Plan for the

site.

             The proposed bill will remap

the site to RMX-2 which is a Master Plan

District, along with the attached Master

Plan.    The SMH overlay requires

affordable dwelling units and green

roofs for any new residential

development on the site, changes open




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air requirements and curb-cut size

restrictions as well as allowances for

commercial square footage in the RMX-2

District.

             The development team and the

development plan for the municipal

complex site was selected through an RFP

process led by PIDC, with significant

community engagement and the general

features of the proposed Master Plan are

consistent with the recommendations of

the South District Plan.       The

Philadelphia City Planning Commission

considered Bill No. 210638 at its

meeting of October 26, 2021 and

recommended for approval.          I will be

happy to answer any questions at this

time.

             COUNCILMAN JOHNSON:       Will the

Clerk please call the next panelist.

             THE CLERK:    Is Thomas Dalfo in

the (inaudible)?

             MR. DALFO:    I am.     Good

morning.     Can everyone hear me?

             COUNCILMAN JOHNSON:       Yes, we




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can hear you, Thomas.

          MR. DALFO:    Hello.   My name is

Thomas Dalfo.    I'm Senior Vice-president

for Real Estate Services at the

Philadelphia Industry and Development

Corporation or PIDC.    PIDC managed the

developers selection process for the

property in question related to this

bill, and I'm testifying in support of

the ordinance that's been introduced.

          Real briefly let me just give

background on the timeline for the

process because it was quite extensive

for this site.    PIDC at the City's

request drafted and then issued a

Request for Proposals for developers on

October 17, 2018.    And November 6, 2018

I presented to the Passyunk Square Civic

Association at the general meeting

regarding the RFP process.

          November 14, 2018, PIDC managed

a tour of the Fleet Management facility,

the largest facility in this asset.     And

then January 18th, we had proposed a

deadline for the development responses,




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and that deadline was extended somewhat

in response to community concerns and

requests for incorporation of affordable

housing into the project, so we afforded

the development community additional

time to provide a response based on

that.

             On April 10, 2019, PIDC hosted

a series of interviews with short-listed

developers on their proposals for the

project.     I would note that the Passyunk

Square Civic Association had one member

on the Selection Committee, and had

three members of their planning team in

attendance in those developer interviews

and presentations.

             On October 4, 2019, the

Selection Committee made a

recommendation to select Alterra

Property Group as the developer for the

site.    December 16, 2019 there was a

community meeting with the City, PIDC

and Alterra Property Group coordinated

by the Passyunk Square Civic

Association.




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             We hit a bit of a hiatus with

the pandemic, and earlier this year on

July 20, 2021 there was another Passyunk

Square Civic Association meeting

focusing on the redevelopment process

for the site and the planning, and PIDC

participated in that.     In August of this

year, there was an RCO meeting that was

required under the zoning code was held.

And just a week or so ago, there was

another meeting with the Passyunk Square

Civic Association addressing some

community questions regarding the fire

station.     That ends my testimony.   I'm

happy to answer any questions.

             COUNCILMAN JOHNSON:   Thank you

very much.

             The Chair will now recognize

Councilman Mark Squilla to make any

remarks regarding this particular bill.

             COUNCILMAN SQUILLA:   Thank you.

Thank you, Mr. Chair.

             And thank you, Paula and Tom,

for your testimony.     Tom, real quick and

I know this has been a long process from




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the fall of '18, but this is something

new that we had done, at least in my

District, where we have engaged the

community to be part of the selection

process.   Normally, the Councilperson

gets a seat at that table when the

selection process was done.

           Real quick, Passyunk Square was

at this selection process and also

inputted into the RFP, especially with

the concern with the affordability

process.   Has it been done before where

the community group has been a part of

the selection process as far as one of

the RFPs that PIDC has done previously?

           MR. DALFO:    Councilman, not to

this extent.   The level of coordination

and involvement that we've had with the

Passyunk Square Civic Association really

represents the most intensive amount of

community coordination, and I think to

good effect.   I think the project here

has been before the community a number

of times, and we were able to adjust the

requirements of the RFP with input from




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the community.     So to answer your

question, no, this is the most extensive

we've had.

             COUNCILMAN SQUILLA:   And I just

wanted to reiterate that point too

because sometimes things take longer

when we have a lot of concerns and

questions from the community during the

process.     But what I think came out of

this was changes in the development that

we saw through that process, the process

of selecting a developer depending on

what proposals were given forth.       And

the RFP sort of changed also because of

the concerns from the community.

             We also looked at this as far

as remapping and planning suggesting for

what zoning to make this process work,

and there's been questions all along and

community concerns and they're still

are.   We still have time to work with

the developer on this project for

concerns from the community.

             But I just want to thank PIDC

and the Planning Commission because it's




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a lot more work.     It took a lot more

time.    We did this during challenging

times also.     But even the process of the

RCO flyer in the community to do

inperson meetings, but then doing

virtual meetings, you have many people

on to discuss their concerns.

             And we have people on both

sides of this, right.     We have people

who said it was too dense of a project.

We have people who said it wasn't enough

density.     We have people who said it

wasn't enough parking, and the project

kept evolving until we got to a point

where we are now at where we're

introducing an ordinance for a remapping

of this whole entire area, but there's

still more processes to go.

             There's a Master Plan process.

And maybe, Paula, can you explain how

the Master Plan process works as we

attach it to this ordinance?

             MS. BRUMBELOW BURNS:   Yes.

Once the plan is attached to the

ordinance, that is the approved plan.




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So if they ever want to amend it by

building a building larger, they will

have to come back through City Council

to have that plan amended.   So there

will always be -- if they want to

basically deviate from what they've

proposed, they will always have to come

back through the public process to

create any amendments to the plan.      So

it gives more security to the

neighborhood.

          COUNCILMAN SQUILLA:   Right.

And I want to say that because we've

actually did a remapping of an area on a

previous project in Passyunk Square and

we were sort of burned on that project

where a developer came back and because

we remapped something, they were able to

come back and build a more dense, more

height of a building.

          This allows us to know exactly

what we supported as a community and

then knowing that the developer can't

come back later and say, oh, well, the

zoning allows us to do this, therefore




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we have it already and we're going to

continue that.     So I think this

protection is very important for the

community, adding the Master Plan to the

ordinance.     And then the Master Plan

also has to be approved by the Planning

Commission, correct?     You guys are now

going to go through that process to

approve the Master Plan?

             MS. BRUMBELOW BURNS:     We have

approved our portion of it, so it is now

up to City Council to finalize the

approval of the Master Plan.

             COUNCILMAN SQUILLA:     So that

will be done with this process?

             MS. BRUMBELOW BURNS:     Yes,

they're done at the same time.

             COUNCILMAN SQUILLA:     Now, after

this process is done and we remap the

area, there will be then another process

for the City to sell the property.           Does

Planning work with Public Property on

the sale?     Because during the RFP

process, a point of the RFP was that any

project here would have to have an EOP




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attached to the sale of this property.

             So as the sale is being done,

Public Property works with Planning and

then we will be introducing an ordinance

to sell that property; is that correct?

             MS. BRUMBELOW BURNS:    Yes.     And

so, the Planning Commission will then

vote on it and it will go to the Public

Property Committee.

             COUNCILMAN SQUILLA:    So that

will come to the Public Property

Committee.     And at that Committee, there

will be another public hearing where the

community can weigh in.     And all during

this process, we will be able to work

with the developer on concerns, still

concerns that people may have and how we

can address those concerns as this whole

plan is finalized.

             So I just want to again thank

both Planning and PIDC.     I know it's

been a long grueling process and I know

it's still a lot more work to do, but I

think that by doing this and having the

involvement in the community ahead of




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time will allow us to move forward and

continue to address concerns as we hear

them from our neighbors and folks close

by.   So thank you for that and looking

forward to continue working with you on

this project.

           COUNCILMAN JOHNSON:     Thank you

very much, Councilman Squilla.

           Any other questions or comments

from members of the Committee on this

particular bill?

                  (No response.)

           COUNCILMAN JOHNSON:     Hearing

none, Councilman Squilla, I have one

small question.     I think it's a great

project.   I'm in that area quite

frequently.     Where is the fire station

going to go?

           COUNCILMAN SQUILLA:     The fire

station that is currently at 12th and

Reed will be rebuilt on the 11th Street

side of the project to the north of the

fleet building.     There's a current fleet

building there.     I forgot to mention

during that process when we were doing




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the RFP for this, the neighbors really

wanted to keep that fleet building as

part of the development.     And so, the

firehouse will be north of that right

next to the police station and the L&I

building.     And then the exit points of

that will be on 11th Street and Reed

Street.

             COUNCILMAN JOHNSON:   Cool.

Good job.     We used to go get water.

It's a water fountain in --

             COUNCILMAN SQUILLA:   From the

firehouse.

             COUNCILMAN JOHNSON:   The

firehouse when we came from --

             COUNCILMAN SQUILLA:   And you'll

hear some testimony.     Also, there's

going to be some public comment from

some neighbors there that still have

some concerns about the project.         So we

still will continue to work through this

as we move on.     It's a lot more work to

do and a lot more engagement, so thank

you.

             COUNCILMAN JOHNSON:   Okay.




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Good job.

            If there are no other questions

from members of the Committee, I want to

thank the panelists and I will ask the

Clerk to please call the next panel.

            THE CLERK:    Paula Brumbelow

Burns and Patrick Grossi testifying for

Bill No. 210637.

            COUNCILMAN JOHNSON:    Please

identify yourself for the record and

please begin your testimony.

            MS. BRUMBELOW BURNS:    Good

morning, members of the Rules Committee.

I'm Paula Brumbelow Burns, Director of

Legislation of the Philadelphia City

Planning Commission.      I'm here to

testify on Bill No. 210637, which was

introduced into City Council on June 24,

2021 by Councilmember Squilla.

            Bill No. 210637 amends Title 14

of The Philadelphia Code, entitled

"Zoning and Planning," by amending

certain provisions of Chapter 14-800,

entitled "Parking and Loading," which

addresses parking requirements for uses




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on properties that are locally

historically designated.     This bill

amends Zoning Bill No. 190611, which

lowered the minimum parking requirement

for properties that are locally

designated historic or that contribute

to a local historic district.

             The proposed text of this bill

removes the word addition from the

regulations.     This change clarifies that

any new floor area located within the

existing historic building will not

trigger a minimum parking requirement.

Any expansion outside of the historic

building will continue to have a minimum

parking requirement of 50 percent of the

base zoning layer.

             Additionally, a provision to

allow that parking to be provided

off-site has also been proposed in the

bill.    The Philadelphia City Planning

Commission considered Bill No. 210637 at

its meeting of July 15, 2021 and

recommended for approval.     I will be

happy to answer any questions at this




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time.

             COUNCILMAN JOHNSON:       Thank you

very much.

             Will the Clerk call the next

panel -- not panel, the next testifier.

             THE CLERK:    Patrick Grossi.

             COUNCILMAN JOHNSON:       Go ahead,

Patrick.     State your name for the record

and you can begin.

             MR. GROSSI:    (Muted).

             COUNCILMAN JOHNSON:       You're

still on mute, Patrick.

             MR. GROSSI:    My apologies.

             COUNCILMAN JOHNSON:       Okay.

             MR. GROSSI:    My name is Patrick

Grossi.     I'm here today representing the

Preservation Alliance for Greater

Philadelphia.     Good morning, Committee

Chair Johnson, Vice-Chair Squilla and

members of the Committee.       The

Preservation Alliance wishes to express

its support for Bill No. 210637.          The

original provision, which this bill

amends, was one of the handful zoning

changes to emerge from the historic




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Preservation Task Force.

           It's a commonsense provision

which relieves or reduces parking

requirements with the adaptive reuse of

historic properties.    The bill is

exclusive to properties listed on the

Philadelphia Register of Historic

Places, so this only applies to a small

universe of buildings and potential

projects city-wide.    The bill encourages

investment in historic properties and

incentivizes listing on the Philadelphia

Register to goals the Alliance has

readily pursued over its 25 years.

           So the current amendment before

you simply brings the original bill

closer to the spirit in which it was

asked.   And churches are particularly

illustrated, if a historic church was

for example being proposed for

residential or commercial, the

introduction of a new (inaudible) plan

as you just heard would probably trigger

parking requirements, and that was not

the intention.




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             The parking relief envisioned

by the Task Force intended that projects

like that would have no parking

requirement unless the building was

being substantially added upon, in which

case parking requirements do remain in

place but will reduce by roughly half.

So Bill No. 210637 is a sensible tweak

to an already popular bill, and we fully

support it.     It better incentivizes and

promote the adaptive reuse of the

properties, and ease the path toward

continued and renewed productive use.

And I thank you for your consideration.

             COUNCILMAN JOHNSON:   Thank you

very much.

             The Chair recognizes Councilman

Mark Squilla before we ask for questions

or comments from the Committee.

Councilman Squilla.

             COUNCILMAN SQUILLA:   Thank you,

Councilmember Johnson.

             I want to thank the

Preservation Alliance, Paul Steinke,

Patrick Grossi for their assistance in




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this, realizing that any time we

introduce legislation sometimes there's

unintended consequences or sometimes

people look at what we're doing and have

their own take on what it means, so I

think this clarifies it.

           And, Patrick, maybe knowing

that doing this also incentivizes a

person to keep the historic structure

instead of demoing it because the

requirements if they demo it, they would

have to then include the restrictive

parking requirements; is that correct?

           MR. GROSSI:   I mean, certainly

this only applies to properties that are

standing, that are existing, that are on

the local Register, and if there's a

permit that would otherwise trigger

parking requirements, right, some sort

of zoning change, some sort of use

change.   So, yeah, if you were to

demolish a property, somehow get

permission through the Historic

Commission to do that, then, yes, you're

not going to receive any benefit for




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doing so.     You're not going to get any

parking relief by doing so.

             COUNCILMAN SQUILLA:   And I

think that's also important as we see to

try to preserve some of our historic

structures.     It's important to have

legislation in place.      And the Historic

Task Force came up with a bunch of

options, still a lot more that we need

to work on and introduce.

             But again, if we continue to go

in this direction, we will start to see

preservation, how important it is to

keep the historic fabric of our city

alive while continuing to build and

develop, but allow us to be proud of our

history and also to retain it.

             So, Patrick, thank you again

for your advocacy.     And hopefully as we

move forward, we will have more and more

legislation to help us reach that goal.

Thank you.

             MR. GROSSI:   Thank you.

             COUNCILMAN JOHNSON:   Thank you,

Councilman Squilla.




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           Any questions or comments from

members of the Committee?

                (No response.)

           COUNCILMAN JOHNSON:    Hearing

none, I want to thank our panelists.

           Will the Clerk please call the

next panel.

           THE CLERK:    For Bill No.

210686, we have Paula Brumbelow Burns.

           MS. BRUMBELOW BURNS:    Hi.   I'm

Paula Brumbelow Burns, Director of

Legislation for the Philadelphia City

Planning Commission.     I am here to

testify on Bill No. 210686, which was

introduced into City Council on

September 17, 2021 by Councilmember

Squilla.

           The purpose of this bill is to

allow for the construction of a new

biomedical research building at Thomas

Jefferson University to replace an

existing above-ground parking structure.

Bill No. 210686 remaps a parcel of land

among 9th Street between Walnut and

Locust Streets from RMX-3 Residential




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Mixed-Use to CMX-4, Commercial Mixed-

Use.   This bill aligns with the

Philadelphia 2035 city-wide vision

recommendation to encourage

institutional development and expansion

through policy and careful consideration

of land resources.

            The Philadelphia City Planning

Commission considered Bill No. 210686 at

its meeting of October 21, 2021 and

recommended approval.      I will be happy

to answer any questions at this time.

            COUNCILMAN JOHNSON:    Will the

Clerk call the next testifier.

            THE CLERK:    That is the only

individual for this panel.      If there are

questions, there are additional

representatives available for the

project that will be able to answer

anything.

            COUNCILMAN JOHNSON:    Will the

Clerk please recognize Councilman Mark

Squilla.

            COUNCILMAN SQUILLA:    Thank you,

Mr. Chairman.




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            And I appreciate it.     We have

worked with the community group here,

Washington Square West on this proposal.

Ron Patterson representing Jefferson has

been in conversations.       Since we have

support from the community group, we

wanted to hear this today, but we're

still waiting for the map to be attached

and amended to this legislation.

            Jefferson has also agreed to

hold off.    They did receive their EOP

today, which is important.       We want to

make sure we attach that to this

legislation.    And Jefferson has agreed

to hold this in Committee until we have

the signed EOP in place, and that will

probably be at the next Rules Hearing.

            Mr. Patterson, do you have

anything else to add as we move forward?

            MR. PATTERSON:     Good morning.

Ronald Patterson, Klehr Harrison law

firm, 1835 Market Street on behalf of

Thomas Jefferson University.       No,

Councilman Squilla, that accurately

reflects what has occurred.       As you




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mentioned, we had a series of three

meetings over the summer with Wash West

Civic Association, and we agreed and

will have a side agreement with them

concerning certain provisos about the

building is to be constructed such as it

will be commensurate with the adjacent

building in terms of height, 11 stories.

           We won't be seeking any bonuses

under the bump up of the change of the

zoning map.   And of course, the EOP plan

which we're serious about, you can

imagine Jefferson being a large entity,

we received it this morning and we have

to digest it and put it through the

concurrent chain.   So we're happy to

proceed with the vote being held, and we

will have it addressed by the next Rules

Hearing.

           COUNCILMAN SQUILLA:   And --

           MR. PATTERSON:   I'm sorry.    I

just wanted to let you know we also have

Anthony Bracali with Jefferson and

Michael Hinchcliffe with Payette

Architects if there are any questions




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about the projects or if you wanted to

see renderence.

             COUNCILMAN SQUILLA:   Thank you,

Mr. Patterson, and I appreciate your

continued work and effort.     And I

appreciate also your ability to agree to

hold this until we have the final

mapping and EOP.

             And we would like to hold this

in Committee, Mr. Chairman, and then be

able to amend it at the next Rules

Hearing in November.

             COUNCILMAN JOHNSON:   Thank you

very much.     And I just want to give a

shout-out to Ron Patterson from South

Philadelphia and the Jefferson team,

give a shout-out to you leading the

whole Jefferson team.     I know y'all

going through a little bit of

post-traumatic stress as it relates to

the recent gun violence that took place

on Jefferson campus, so all of City

Council stand with the staff and

employees at Jefferson Hospital.

             Will the Clerk please call the




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next panel.

          THE CLERK:     For Bill No.

210687, we have Paula Brumbelow Burns.

          MS. BRUMBELOW BURNS:     I'm Paula

Brumbelow Burns, Director of Legislation

for the Philadelphia City Planning

Commission.   I'm here to testify on Bill

No. 210687, which was introduced into

City Council on September 17, 2021 by

Councilmember Squilla.

          Bill No. 210687 amends the

Philadelphia Zoning Maps by changing the

zoning designations of certain areas of

land located within an area bounded by

Trenton Avenue, Cambria Street, Tulip

Street and William Street.     This is a

proposed zoning map amendment from

Residential Single-Family Attached

District RSA-5 to RSA-6, and will be the

first zoning map designation of an

RSA-6, which allows for smaller lots

with the intent of preserving the

two-story block.

          The purpose of the proposed

changes is to facilitate redevelopment




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of vacant lots with 13 single family

homes on individual lots.       The

development will be carried out pursuant

to a redevelopment agreement with the

Redevelopment Authority.       The units are

being developed and marketed as

workforce housing.

             The Philadelphia City Planning

Commission considered Bill No. 210687 at

its meeting of October 21, 2021 and

recommended approval.       I'll be happy to

answer any questions at this time.

             COUNCILMAN JOHNSON:      Thank you.

Brett, is there another testifier for

this panel?

             THE CLERK:    Not for this panel.

             COUNCILMAN JOHNSON:      The Chair

would like to recognize Councilman Mark

Squilla.

             COUNCILMAN SQUILLA:      Thank you,

Mr. Chair.     And it seems like I'm taking

up all the bills here, but this is an

important project that was also done

through the Land Bank, so this is the

one the Land Bank proposed, the 5149




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affordable market rate projects.

             The remapping here enables to

keep the block as a low-dense two-story

block to try to make it consistent and

allow affordable development to be sold

in the community that desperately needs

it, so we are also amending this bill to

attach an EOP to that plan.     This is

something that we're going to watch real

closely to see if we can do this again

in other areas of the District.     We

think it's really important to have

affordability and also workforce housing

where people who are now working and

living in the City maybe working

$40,000, $50,000 are able to buy a home

in the City, so it's so important.

             And so, we want to make sure

that our intent is being followed here

and that this is something that we could

do with private developers also.     And I

want to thank the Land Bank for working

through this process and guiding us as

this takes place, so I want to thank

them.    I know they're not here today,




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but they did do a lot of work with this

particular development and working with

us, so thanks.

           COUNCILMAN JOHNSON:     Thank you,

Councilman Squilla.

           Any other questions or comments

from members of the Committee?

                  (No response.)

           COUNCILMAN JOHNSON:     Hearing

none, will the Clerk please call the

next bill and the next panel.

           THE CLERK:    For Bill No.

210549, we have Denis Murphy and

Terrence Foley.

           MR. MURPHY:    Good morning,

Chairman Johnson and members of the

Rules Committee.     My name is Denis

Murphy.   I'm the Senior Director of

Corridor Improvements for the Commerce

Department.   I'm here to testify in

support of Bill No. 210549, amending the

Articles of Incorporation of the City

Avenue Special Services District of

Philadelphia and Lower Merion to extend

the District's term of existence until




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December 31st of 2042.

          Since 1999, the City Avenue

District has carried out capital

improvements, public safety services,

marketing and develop partnerships and

engage stakeholders to bring vibrancy to

this important area.     The City Avenue

District is critical in fostering

cooperation along this important

business corridor situated on the

boundary between Philadelphia and

Montgomery County.

          The proposed legislation will

extend City Avenue's term as a municipal

authority for an additional 20 years.

As a second step in the

re-authorization, City Avenue will

return to City Council for approval for

an updated plan and budget.     This will

occur after City Avenue has shared that

plan with all property owners and

conducted a public hearing in accordance

with the Pennsylvania law regarding

municipal authorities.

          Business Improvement Districts




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are one of the best examples of

collaboration between the City and our

commercial areas.     This worthwhile

effort deserves our support.          Thank you

for your consideration and I'm happy to

answer any questions.

             COUNCILMAN JOHNSON:       Thank you

very much.

             Will the next panelist please

state your name for the record and begin

your testimony.

             MR. FOLEY:    Good morning,

Chairman Johnson.     I'm Terrence Foley,

the President of the City Avenue Special

Services District of Philadelphia and

Lower Merion, better known as the City

Avenue District.     Before starting, I

would like to thank Councilman Jones for

his support of the District over the

years.    It's been much appreciated.

             The City Ave District is a

unique partnership between the City of

Philadelphia and the Township of Lower

Merion.    It stretches from I-76 to 63rd

Street along City Avenue.       The




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District's objectives are to improve

public safety, enhance the area's image

and attract and shape development.       The

District is a Pennsylvania Municipal

Authority and is fully funded by

assessments to commercial property

owners within the District, which then

funds the services provided.

             The City Ave District works

with businesses, property owners,

developers and residents to shape the

future of this important corridor.       This

work includes new zoning on both the

Philadelphia and Lower Merion sides,

allowing for much opportunity for new

development.     The District has secured

over $14 million in funding for capital

improvement projects with over $13

million in streetscape and safety

improvements having been completed over

the last 10 years alone.

             There is an additional $3

million improvements that are fully

funded and will be constructed next

year.    The economic impact of the




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District's activities is substantial.

Hopefully you received a copy of our

economic analysis that was completed by

Econsult, but I will summarize here.

The capital improvements alone have

generated almost $9 million of tax

revenue for the City of Philadelphia.

The resulting private sector investment

on the corridor on the Philadelphia side

has created an additional 400 new jobs.

These jobs create additional direct and

indirect annual expenditures of 54.6

million and employee compensation of

18.4 million each year.    This increase

of activities generates approximately

800,000 in additional tax revenue for

the City.

            The capital improvements and

resulting private sector investments

also generate increased property tax

revenue for the City and the School

District.    The new construction

renovations within the District

increased the assessed value of those

properties by $100.5 million, generating




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an additional 1.41 million a year in

property taxes.

             The District is also immensely

proud of its contribution to public

safety.     The District employs an eight-

person bike patrol which has served to

reduce crime by 55 percent over the last

20 years.     The District also engages in

community and networking opportunities

for local businesses and restaurants.

Over two decades of growth and

achievements can be viewed in the

timeline brochure that again I hope you

received electronically.     So I look

forward to seeing the continued growth

of the development of the District in

the next 20 years and beyond.

             The District is seeking an

extension of its Articles of

Incorporation for another 20 years,

approval for which is required from the

Township of Lower Merion and the City of

Philadelphia.     Lower Merion has

previously granted its approval.     The

District will be finalizing its 20-year




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plan for services and a budget, and in

keeping with the state Municipal

Authorities Act, will present this plan

to the property owners and conduct a

public hearing.     Once that is

accomplished, we will return to Council

for Council's approval.      Thank you very

much and I'm available for any

questions.

             COUNCILMAN JOHNSON:    Thank you

very much for your testimony.

             The Chair recognizes Councilman

Curtis Jones for remarks on his bill.

                  (No response.)

             COUNCILMAN JOHNSON:    Okay.   We

will move on.

             The Chair recognizes

Councilwoman Katherine Gilmore

Richardson.

             COUNCILWOMAN GILMORE

RICHARDSON:     Thank you.   Thank you so

much, Mr. Chair.

             First, I wanted to thank our

colleague and my District Councilmember,

Councilmember Jones, for introducing




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this legislation to extend the City

Avenue Special Services District.     I was

around when the Special Services

District first began here in Wynnefield

and actually at that time lived right

off of City Avenue, so have worked

closely with the bike patrol and with a

lot of you over the years.

             And, Terrence Foley, I just

want to thank for your steadfast

dedication to our community and for

ensuring that we always have key

initiatives in our area that continue to

improve not only our capital

improvements, but public safety in our

area.    And the marketing I think has

just been stellar, particularly starting

down at Presidential Boulevard by 76 all

the way up to 63rd Street.

             But you know I would get in

trouble, Terrence, particularly for my

folks in Wynnefield, and that would

include Wynnefield Heights and

Wynnefield, Overbrook and Overbrook

Farms, so I had to get this on the




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record on how you all are monitoring the

types of businesses that are setting up

along City Avenue, particularly I would

say the Wynnefield Heights area from the

Bala Cynwyd shopping center on down to

63rd Street, and how we are ensuring

that the businesses that settle on that

corridor, particularly on the City of

Philadelphia side, that it's fair and

it's equitable.     I just wanted to put

that on the record.

             MR. FOLEY:    Thank you very

much.    We regularly monitor what's

happening in terms of new businesses.

We want to support them and make sure

they're successful.       Our bike patrol

actually is one of my first lines of

telling me there's activity in a

building when it's vacant.       We

immediately investigate and find out

what's coming in there.

             We have not always been

successful.     As you know, we have two

medical marijuana dispensers which we're

not happy about, but that's life.       And




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we're working to make sure that they are

safe.

             COUNCILWOMAN GILMORE

RICHARDSON:     Yes.   So we work with the

bike patrol folks, and they have been

very, very helpful to us on the

corridor, particularly in certain areas

of the corridor where we may have vacant

facilities.     And I know that was the

case between 52nd and I believe

Bryn Mawr for a very short time at the

old furniture store, but they have been

very, very helpful.

             I just want to ensure that I

put on the record because I will be

supporting this bill, for the members in

the community that I have broached this

topic to ensure that the businesses that

are setting up on the City side of the

City Avenue Special Services District,

that it's fair and it's equitable.

Because I know there is a thing in the

community where there's a belief that on

the Lower Merion side, they're getting

the newer buildings, i.e., the old KFC,




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the residential developments and some of

the other zoning changes that have been

made on the Lower Merion side and that

is not the same on the City side.

            So I just wanted to put that on

the record that we are for ensuring that

any businesses that set up on the City

Avenue Special Services District on the

City side is both fair and equitable and

that we are thinking about that for the

overall vision for City Avenue from 63rd

Street down to 76 West.

            And then finally, Terrence, I

just wanted to thank you again for your

steadfast support and for all you have

done with us over the last 20 years, and

that was even back to the St. Joe's

expansion of the dormitories at the old

supermarket site and everything in

between.    So I just want to thank you

very, very much for your work.    And I

look forward to continuing to work with

you.

            And, Mr. Chair, for that reason

I will be supporting this legislation,




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and I thank my colleague Councilmember

Jones for introducing this.        Thank you

very much.

             COUNCILMAN JOHNSON:     Thank you

very much, Councilwoman.

             Any other questions or comments

from members of the Committee?

                  (No response.)

             COUNCILMAN JOHNSON:     Thank you

for your testimony.

             Hearing none, will the Clerk

please call the next bill and next

panel.

             THE CLERK:    For Bill No.

210667, we have Paula Brumbelow Burns.

             MS. BRUMBELOW BURNS:     Hi.   I'm

Paula Brumbelow Burns, Director of

Legislation for the Philadelphia City

Planning Commission.       I'm here to

testify on Bill No. 210667, which was

introduced into City Council on

September 27, 2021 by Councilmember

Parker for Council President Clarke.

             Bill No. 210667 will amend the

VDO, 5th District Overlay by removing




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the option for applicants to earn height

and density bonuses using the Mixed-

Income Housing Bonus within the 5th

Council District.   The purpose of the

Mixed-Income Housing Bonus is to promote

the production of deed-restricted

affordable housing in new construction

and increase contributions to the

Housing Trust Fund in addition for

greater height and density.

          This bill will apply to all

properties within the overlay.     The City

Planning Commission at its meeting of

October 21, 2021 recommended Bill No.

210667 for approval with amendments.

The Commission recommends keeping the

bonus in Center City, an adjacent

neighborhood south of Spring Garden

Street, but removing the option to pay a

fee to the Housing Trust Fund.     Any

bonus earned would require affordable

units to be built onsite.     This is part

of the 5th District in most need of

affordable units and where we believe

developers have the greatest amount of




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room in their pro-formas to accommodate

onsite affordable units.     I'll be happy

to answer any questions at this time.

          COUNCILMAN JOHNSON:      Any

questions or comments from members of

the Committee?

                  (No response.)

          COUNCILMAN JOHNSON:      Hearing

none, will the Clerk please call the

next bill and panel.

          THE CLERK:     For Bill No.

210668, we have Paul Brumbelow Burns.

We have Odessa Tate, Linda Tate and

Tonetta Graham.     And you can speak in

the order in which your name was called.

          MS. BRUMBELOW BURNS:      I'm Paula

Brumbelow Burns, Director of Legislation

for the Philadelphia City Planning

Commission.   I am here to testify on

Bill No. 210668, which was introduced

into City Council on September 27, 2021

by Councilmember Parker for Council

President Clarke.

          This bill expands the

Strawberry Mansion Neighborhood




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Conservation Overlay to cover the

remaining two-thirds of the

neighborhood.   The overlay applies

design and zoning standards to all

residential and residentially-zoned

properties.

          The NCO expansion has positive

goals, but it's deficient in many of the

requirements that the Commission's

regulations set out for creating or

expanding an NCO.    These requirements

ensure that staff has the correct

materials to be able to apply the design

standards of the NCO applications for

building permit.    The lack of materials

will hinder staff's ability to review

and approve applications and may result

in noticeable delays.

          PCPC staff has begun

conversations with the lead civic

organizations and Council staff in this

part of the neighborhood, a process that

is collaborative, deliberative and

unique to each neighborhood.     The

Commission supports the intention of the




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overlay and would like staff to continue

working with Council and the Civics to

refine the overlay in this section of

the neighborhood.

             The City Planning Commission at

its meeting of October 21, 2021

recommended Bill No. 210668 for approval

with suggested amendments that will

address creating more specific design

language, revised boundaries to exclude

blocks that are primarily nonresidential

or vacant and have further

considerations on height limits.         I will

be happy to answer any questions at this

time.

             COUNCILMAN JOHNSON:     Thank you

very much.

             Will the next panelist please

state your name for the record and

begin.

             MS. TATE:    Hello to the

Chairman and the Committee.        My name is

Odessa Tate and I represent the Village

Community of Strawberry Mansion and All

In The Family CDC.       I am in favor of the




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Strawberry Mansion Overlay to be

included into our boundaries within

Strawberry Mansion.     The identity of the

community is rooted in the history and

unique culture of that community.

             Community culture creates a

sense of pride for a community and

outliers of the community should not

hold precedence or responsibility for

community planning and not consider the

community.     Philadelphia itself is

distinct and each neighborhood has

distinct characteristics that define the

area.    The overlay creates opportunities

for smart development and enhancement

tactics that preserve neighborhoods and

not just dismantle neighborhood culture

with hodgepodge developments.

             The overlay allows for good

practice in the following:     One,

collaboration.     This joins community

stakeholders and development.     Two, more

predictability and the community members

have better protection that supports a

neighborhood's best interest.     Three,




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appropriating and appreciating

distinctive communities.     Developments

according to the overlay are attractive

to communities because they intensify

strong sense of place.     Communities are

to maintain development in accordance to

recognized ability in terms of quality

after infrastructure.

          Communities do not deserve to

lose their identities with developments

when there is already an established

look and feel.   This overlay forces new

developments to adhere to a written

standard and criteria that is consistent

with the comprehensive plan.     Layouts of

properties often have serious impacts on

neighboring and nearby properties.

Importantly, fundamental fairness is

upheld and that details of the overlay

are clearly stated for regulatory

standards and are not unconstitutionally

vague.

          With this overlay, the

expectation is to achieve higher

standards and proficiency so that




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community culture and integrity are not

compromised with new developments.

Thank you.

             COUNCILMAN JOHNSON:   You're

welcome.

             Will the next panelist please

state your name for the record and

begin.

             MS. TATE:   Good morning,

Chairman and Committee.      My name is

Glenda Tate and I'm the President of All

In The Family Group Associates CDC and

RCO in the Strawberry Mansion section of

North Philadelphia, and I am in favor of

the overlay in my community because it

gives community organizations and

residents a chance to communicate with

the Planning Commission, City Council

and developers regarding our feelings as

community residents about new

developments added to the current

housing stock.

             As community members, we have

the right to say what we feel and what

we would like to see within our




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communities because the decisions impact

us greatly.     The relations between

developers and residents are important

because it affects individuals and

families residing in said community.

The overlay provides regulations,

boundaries and standards that would

provide more protection for

neighborhoods who feel that they are

under siege from new development to have

more impact on what development should

be or look like in their neighborhoods.

             To be clear, we do want to

establish cohesive relationships with

developers.     It's not that our community

does not want new development.     It is

the offensiveness of how the

developments are propelled into

communities without our input from

inception.     Through lack of thought for

affordability and truly understanding

the needs of the area, developments

impact parking, the flow of traffic and

overcrowding and most importantly, the

cultural structure of the communities




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with overemphasized department living.

             The foundation of many

communities have been built on family

living and with this, does the

development allow with the needs of the

community or unethically go against

them.   With the overlay in place,

developments are more likely to reflect

neighborhood and the culture,

affordability and the characteristics of

that area.     Thank you.

             COUNCILMAN JOHNSON:     Thank you

very much.     Thank you.

             Will the next panelist state

your name for the record and begin.

             THE CLERK:     The next panelist

is Tonetta Graham.        If you are on, you

may unmute yourself and begin your

testimony.

                  (No response.)

             COUNCILMAN JOHNSON:     Tonetta,

are you there?

                  (No response.)

             COUNCILMAN JOHNSON:     Okay.     Any

questions or comments from members of




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the Committee?

                 (No response.)

          COUNCILMAN JOHNSON:      Hearing

none, will the Clerk please call the

next bill and the next panel.

          THE CLERK:    For Bill No.

210742, we have Paula Brumbelow Burns

and Dennis Boylan.

          MS. BRUMBELOW BURNS:      I'm Paula

Brumbelow Burns, Director of Legislation

at the City Planning Commission.       I'm

here to testify on Bill No. 210742,

which was introduced into City Council

on September 23, 2021 by Councilmember

Parker for Council President Clarke.

The purpose of this bill and the

accompanying bill 210741, which is being

held, is to allow for the redevelopment

of the existing surface parking lot with

a multiple-story office building.

          Bill No. 210742 adjusts the

maximum allowable height from 240 to 245

feet and places caveats on the

applicability of CMX-5, Commercial

Mixed-Use zoning provisions.      These




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caveats would apply despite the status

of zoning maps.    The provisions of Bill

No. 210742 would make it so that CMX-5

zoning applies only to an office

building with retailer commercial

services, onsite parking, no residential

uses and a payment of $2,515,350 is made

to the Housing Trust Fund regardless of

whether a Mixed-Income Housing Bonus is

used.

          Planning Commission staff has

no problem with the adjustment to the

height limit for this parcel, but the

other provisions of this bill as written

apply very specific standards to only

one parcel and require a payment for

approval condition.    Planning

Commission's staff feels that the

proposed building does a good job of

transitioning the scale of the JFK

Boulevard to the lower scale of the

Logan Square neighborhood to the north.

          A building of this scale can be

developed in CMX-4 using zoning bonuses.

Alternatively, a clean remapping to




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CMX-5 would make this bill unnecessary.

The Philadelphia City Planning

Commission considered Bill No. 210742 at

its meeting of October 26,2021 and

recommended not for approval.      I will be

happy to answer any questions at this

time.

            COUNCILMAN JOHNSON:    Any

questions or comments from members of

the Committee?

                 (No response.)

            COUNCILMAN JOHNSON:    I have a

question.    I just wanted to ask the

reason why Planning Commission was not

recommending the bill?

            MS. BRUMBELOW BURNS:    We felt

that they could do either a straight

CMX-5 or CMX-4 with bonuses and meet the

basic requirements of it and they did

not need an additional amendment to the

Ben Franklin Parkway Overlay, that they

could have just achieved most of this

other than the 5 feet of height without

a zoning overlay.

            COUNCILMAN JOHNSON:    Okay.




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Thank you very much.

             Any questions or comments from

members of the Committee?

                  (No response.)

             COUNCILMAN JOHNSON:    Will the

Clerk please call the next bill and the

next panel.

             THE CLERK:    We actually have

one more individual to testify for this

bill.     It is Mr. Dennis Boylan for

210742.

             COUNCILMAN JOHNSON:    Okay.

Mr. Dennis, please state your name for

the record and begin your testimony.

             MR. BOYLAN:    Good morning,

Chairman Johnson.     Dennis Boylan for the

Logan Square Neighborhood Association.

I'm the President of LSNA.       And this

project that's subject to the amendment

falls within our neighborhood

association boundaries.       We were the

coordinating RCO for this project, and

we're a large neighborhood footprint.

We go from Broad to Schuylkill, Market

to Spring Garden.




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             The significant feature of our

neighborhood is that it's bisected by

the Benjamin Franklin Parkway.       Our

neighborhood takes very seriously the

implied obligation to safeguard

development in and around the Parkway,

specifically the height restrictions.

             The Parkway District is home to

some of the City's --

             COUNCILMAN JOHNSON:    Hey,

Dennis.

             MR. BOYLAN:    Yes?

             COUNCILMAN JOHNSON:    Hey,

Dennis, I just want to say you're not

coming through clear.

             Brett, do you hear full

testimony from him because I'm hearing

glitches?

             THE CLERK:    I was having no

issue hearing him, but it might be --

             COUNCILMAN JOHNSON:    It may be

where I'm located at.       But go ahead,

Dennis.     You can continue your

testimony.

             MR. BOYLAN:    And I have written




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testimony which I will submit to the

Clerk afterwards.

           The Parkway District is home to

some of the City's most important

cultural, educational and civic

institutions and maintaining that unique

quality is a civic duty of the

government, the citizenry and our

neighborhood.   LSNA does not believe

that this development will adversely

affect the Parkway District, and it is

for that reason that LSNA supports the

proposed amendment to the City Code for

this specific location.

           Our process in evaluating the

project was informed by a number of

factors.   One, the development is just

several -- it's over two-and-a-half

blocks away from the Ben Franklin

Parkway.   The Parkway Cooperation worked

in very good faith with LSNA and most

importantly, with the nearest neighbors,

this was the Walden Walk Condominiums,

to resolve any issues that were of

contention.




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             The development will take what

has been for decades a surface parking

lot, put it into a more meaningful

purpose.     But last but not least, the

proposed occupant of the building is to

be a single corporate entity bringing

prestige, jobs and vitality to the City.

These are some, but not all of the

reasons that LSNA supports this proposed

amendment.     And thank you very much,

Mr. Chairman.

             COUNCILMAN JOHNSON:    Thank you

very much for your testimony.

             Any other questions or comments

from members of the Committee?

                  (No response.)

             COUNCILMAN JOHNSON:    Hearing

none, will the Clerk please call the

next bill and the next panel.

             THE CLERK:    For Bill No.

210808, we have Paula Brumbelow Burns.

             MS. BRUMBELOW BURNS:    I am

Paula Brumbelow Burns, Director of

Legislation for the Philadelphia City

Planning Commission.       I am here to




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testify on Bill No. 210808, which was

introduced into City Council on October

7, 2021 by Councilmember O'Neill.     Bill

No. 210808 amends the Philadelphia

Zoning Maps by changing the zoning

designations of certain areas of land

located within an area bounded by

Oxford, Shelmire, Rising Sun, Solly

Avenue, the County Line, Borbeck,

Hasbrook and Hartel Avenues.

          The bill amends all CMX-2,

Commercial Mixed-Use properties to

CMX-1, Commercial Mixed-Use.     The zoning

change will prevent the redevelopment of

these lots for mixed-use development

projects that the community has deemed

to be incompatible with the character of

the Fox Chase neighborhood.

          The Central Northeast District

plan recommended keeping CMX-2 zoning in

this area to encourage mixed-use

redevelopment of underutilized

properties to strengthen the Fox Chase

Business District and to encourage a

strong, walkable commercial corridor.




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             The new CMX-1 zoning prohibits

restaurants and ground floor commercial

spaces greater than 2,000 square feet.

The Philadelphia City Planning

Commission considered Bill No. 210808 at

its meeting of October 26, 2021 and

recommended not for approval.      I will be

happy to answer any questions at this

time.

             COUNCILMAN JOHNSON:   Thank you

very much.

             The Chair recognizes Councilman

O'Neill for remarks on sponsorship of

his bill.

             COUNCILMAN O'NEILL:   Yes,

Mr. Chair.     Thank you.

             I understand the Planning

Commission's opposition.     I also

understand when the Planning Commission

says the community feels that the

current zoning is not in compatible with

the character of the neighborhood.

That's my responsibility, not the

Planning Commission's, to make sure that

the community is involved, community has




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input and in this particular case been

working with the Planning Commission

trying to find a solution, because in

the 2035 meetings there were walks in

this particular neighborhood in Fox

Chase with the Planning Commission and

the Board members of the Fox Chase

Homeowner's Association, the RCO.

           And what was sold to that

community and it's been sold at

different times in the past is

storefront commercial,

pedestrian-friendly, it's a potential

little downtown for Fox Chase.    It's the

oldest area in my District.   It has a

huge train station right in this area,

the dead-ends at Fox Chase, and there's

an unimaginable parking problem that

spills over.   People come in from the

suburbs because it's a cheaper monthly

ticket.   They park in front of people's

houses.   They park in -- the lot fills

up and it's a large lot, and there's

tremendous parking issues.

           So what the neighbors and the




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community felt they were getting when

they agreed to the zoning is not what

they got.     There have been three

proposals that have been approved at the

Planning Commission just in the last

month or so, and the storefronts are not

there.

             On one property, and it's the

biggest one, the developer is the same

developer that's basically building as

many apartment units as they can, as

high as they can and as dense as they

can.     And you know what got left out of

the equation?     What the community bought

which was storefront commercial.

             The side streets which are

commercial, particularly on this major

one, it was just ignored because a

developer wouldn't have gotten four

floors shoved into 35-foot height which

means the units are going to be about

7-and-a-half feet inside the rooms.

They would have had to do three stories

if the side street had been used.     That

was the Planning Commission's discretion




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to use the side street.    And it's an

abomination.

          I've had two community meetings

where people are just outraged, and the

interpretation is let's not go in favor

of the community.    It goes in favor of

the developer to get the developer to

get the developer a by-right permit, and

that's actually come out of

conversations with the Planning

Commission.    That's the goal.

          If we put these storefronts on

the side, they wouldn't get their

by-right zoning.    The developer is not

concerned about the storefront, not

about the commercial, which is what CMX

whether it's 1 or 2 is all about.     If

there had been a couple of stories above

these units with residential, I wouldn't

be here asking for CMX-1, which is much

more community-friendly when the people

that are making the approvals, the

Planning Commission, are more worried

about what the developer can squeeze in

than what the community feels is




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compatible with their neighborhood and

their understanding of what 2035, the

plan of 2035 was going to include.

          So I just ask my colleagues to

support me on this.    At the last meeting

a week and a half ago, there was at

least 100 people that stayed until about

11 o'clock after another meeting and

gave a standing vote unanimously for

this change.   The three projects I

mentioned, they're already permitted and

that's not going to change unless

somebody appeals later and all that, but

it's been approved and I just ask

there's a lot of other properties like

that, and it's one thing to see mistakes

being made and actually a community was

double-crossed.    But to sit back in my

position representing this community and

not do anything when I know something

wrong happened and something right can

happen in the future, that's all I'm

asking for.

          And I thank you, Mr. Chair.

          COUNCILMAN JOHNSON:    Thank you.




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I just had a question.     So this is a

four-story apartment building under 35

feet.     Isn't the regular feet by-right

38 feet?

             COUNCILMAN O'NEILL:   In my

District, there is a 35-foot limit.

That's an overlay.

             COUNCILMAN JOHNSON:   But that's

a lot of density under 35 feet.

             COUNCILMAN O'NEILL:   Yes.    If

it would have been a three-story

building with commercial on the bottom,

there's room counting the side street

commercial, which it's a big wide

commercial street with nothing but

commercial on it.     There would probably

be 13 storefronts plus 3 on the other

street.     We're just getting the 3

storefronts on the one.     Everything else

is 86 apartments squeezed in.      They're

500 square feet and they're just packed

in, and it is an abomination.      But the

horse seems to be out of the barn on

this.     It doesn't mean we can continue

to have this happen.     And I just ask




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that this is prevented for the future.

It won't correct the past.

          COUNCILMAN JOHNSON:     Thank you.

Thank you very much, Councilman O'Neill.

          COUNCILMAN O'NEILL:     And it is

Commercial Mixed-Use, and people

understand that we have a restaurant in

this that will be CMX-1.     People are not

concerned about a restaurant.     They're

concerned sometimes about a restaurant,

which is good that they have to meet

with the community, tell them what they

are and get the community's support.

          COUNCILMAN JOHNSON:     Thank you.

I just had a quick question for Paula.

          MS. BRUMBELOW BURNS:     Yes.

          COUNCILMAN JOHNSON:     Just for

clarity, Paula, when there's projects

that don't fall through on the original

intent of what the Planning Commission

has proposed, what's the recourse?        Does

the project just move forward and then

you have situations like this where the

Councilman has to come and try to

provide corrective action or circle back




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with the developer and say, hey, here's

the policy as opposed to how you're

supposed to develop to hold them

accountable?

          MS. BRUMBELOW BURNS:     I'm going

to say I have not seen the plan that was

brought up as the example in question,

so I'm going to apologize.   But if the

commercial wasn't being met or it didn't

meet the spirit of the code and they

feel that there was an error in the

issuing of the review or the permit, we

can always or the Council office, a

neighbor, another property owner always

has the right to appeal the zoning

permit based on an error of information

not being provided adequately.     So

there's always that route.

          There's always the best if it

was an as-of-right permit.   We can

always look more at the zoning code and

kind of figure out is it the 35 feet, is

it a three-story issue, how do we come

up with bigger answers.   Sometimes when

we're in a rush to stop everything we




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don't always get to take as thoughtful

of a look as we'd like.     So we're always

willing at the Planning Commission to go

back and take a more thoughtful look

instead of just the -- I understand the

reaction time.     But we can also after

this reaction time still look

thoughtfully and see if there's other

solutions that need to be made.

           COUNCILMAN JOHNSON:    Okay.

Thank you very --

           COUNCILMAN O'NEILL:    Mr. Chair,

if I can just follow up.

           COUNCILMAN JOHNSON:    Yes.

           COUNCILMAN O'NEILL:    There's

been plenty of time because there were

two projects initially.     The large one I

mentioned with all the side street

commercial possibility that was turned

down, the Planning Commission has

reviewed it.     They're sticking to their

guns.   And then across the street, we

found out that the same developer that

we knew about two projects has a smaller

project identical but smaller.     And we




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asked that the side street be included

in that while the review was being done

just in the last couple of weeks.

             We were told no, it would

prevent the developer from getting a

by-right permit if we did that.     And you

know what, that is not consistent with

what the Planning Commission should be

doing, what their mission is.     It should

be balancing the community against the

developer.     And when something is CMX, I

don't care if it's 1 or 2, the community

has already said we'll take some

residential above storefronts.

Storefronts are the key to CMX-1 and 2.

We're getting the fewest storefronts

possible so we can squeeze all these

apartments in and get the four-story in

a very limited height situation.

             So I think this is really out

of line with everything I have learned

about the Planning Commission over the

years.   I think they're taking a totally

different left turn on the community and

saying it's our way, more density or the




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highway.     And saying we can appeal

this -- do you know how hard it is for a

community to appeal a zoning permit that

was granted at the discretion of the

Planning Commission, because they have

the discretion to use the side street or

not.     And there's no question that the

side street should have been used, but

it continued a week ago to be permitted

the same way on a smaller project, so

the "developer," and I'm quoting, "could

get a by-right project and not need a

variance."

             And again, I just ask my

colleagues for their support because

this is our only way of helping the

community.     Filing a challenge to a

zoning permit to the Zoning Board is

very, very difficult and cumbersome,

puts everything on the party with no

money, the community and then has the

City defending it because that's what

happens.     The City solicitor defends it,

not the developer.     They don't spend any

money.     The community has to spend the




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money and the odds are very long as to

whether or not they're going to be able

to succeed, and they shouldn't have to

go through that or run the risk of what

is often times a loss.

            COUNCILMAN JOHNSON:   Councilman

O'Neill, are you saying the City

solicitor which is paid by our taxpayers

will be defending a developer against

those very same taxpayers who are

appealing the permit?

            COUNCILMAN O'NEILL:   Yes,

that's in essence what happens.     Because

when you challenge or appeal a permit --

                 (Background noise.)

            COUNCILMAN JOHNSON:   Excuse me.

Gerald B., can you put your phone,

camera, whatever on mute please.       Thank

you, sir.

            COUNCILMAN O'NEILL:   When you

challenge a zoning permit that was

handed over to the developer as-of-

right, you are challenging the Planning

Commission, in this case it's the

Planning Commission that recommends to




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L&I, that the Planning Commission erred,

they did not properly interpret the

zoning code.   It's the City solicitor's

job to defend the Zoning Board who

relied on L&I and Planning to do the

right thing.

           COUNCILMAN JOHNSON:

Understood.

           COUNCILMAN O'NEILL:    Your

description isn't what's in the code.

It's what actually happens.

           COUNCILMAN JOHNSON:    Okay.     All

right.   Thank you, Councilman O'Neill.

And as always, I know you do your

diligence representing your constituents

which you represent.

           Any other questions or comments

from members of the Committee?

                (No response.)

           COUNCILMAN JOHNSON:    Hearing

none, will the Clerk please call the

next bill and next panel.

           THE CLERK:    Our next bill is

210634 and we have Paula Brumbelow

Burns.




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           MS. BRUMBELOW BURNS:   I'm

sorry.   I was going to say I thought we

were done and I forgot we had one more,

so I apologize.    I'm Paula Brumbelow

Burns, Director of Legislation for the

City Planning Commission.    I am here to

testify on Bill No. 210634, which was

introduced into City Council on June 24,

2021 by Councilmember Gauthier.     Bill

No. 210634 amends the Master Plan for

the University of Pennsylvania bounded

by areas of land located by Guardian

Drive, East Service Drive, Civic Center

Boulevard, 34th Street, 33rd Street,

Walnut Street, the Schuykill River, 34th

Street and University Avenue.

           The bill will allow for the

expansion of the Master Plan at 3200

Walnut Street, which is previously

mapped Special Purpose Institutional in

previous legislation.    The expansion

will include a proposed six-story

building known as the Vagelos Laboratory

for Energy Science and Technology known

as VLEST, the inclusion of the existing




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Consortium building and square footage

updates of miscellaneous amendments

recently approved administratively by

Planning Commission staff.

             The proposal includes the

addition of 43,150 square feet of total

land area; 122,615 square feet of gross

floor area and 21,306 square feet of

occupied area within the expanded

boundaries of the University

Pennsylvania Master Plan.

             With these changes, the Master

Plan District remains in compliance with

development regulations specified in our

City Code.     The City Planning Commission

considered Bill No. 210634 at its

meeting of July 15, 2021 and recommended

approval.     I will be happy to answer any

questions at this time.

             COUNCILMAN JOHNSON:    Thank you

very much.

             The Chair recognizes

Councilwoman Jamie Gauthier for remarks

on her bill.

             COUNCILWOMAN GAUTHIER:    I don't




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have remarks for this bill.        I have

remarks for the next bill, but thank

you, Mr. Chair.

            COUNCILMAN JOHNSON:      You're

welcome.

            Any questions or comments from

members of the Committee on this bill?

                  (No response.)

            COUNCILMAN JOHNSON:      Hearing

none, will the Clerk please call the

next bill and the next panel.

            THE CLERK:    For 210778, we have

Paula Brumbelow Burns, Aida Smith, Pam

Andrews and we have a couple more, but I

will call them as we go.

            MS. BRUMBELOW BURNS:      Good

morning, members of the Rules Committee.

I am Paula Brumbelow Burns, Director of

Legislation for the Philadelphia

Planning Commission.      I'm here to

testify on Bill No. 210778, which was

introduced into City Council on

September 30, 2021 by Councilmember

Gauthier.

            Bill No. 210778 amends Title 14




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of The Philadelphia Code by adding

Section 14-532, entitled "The AHP

Affordable Housing Preservation Overlay

District," and making other related

changes to amend the Philadelphia Zoning

Maps by changing the zoning of land

within an area bounded by 39th Street,

Ludlow Street, 40th Street and Market

Street and to establish a temporary

demolition moratorium.

          The bill has several components

in an attempt to preserve affordable

housing at this site.    The development's

current owners have notified the U.S.

Department of Housing and Urban

Development that they will not be

renewing their expiring affordable

housing contract and they plan on

selling the site.

          They have also notified current

tenants that they must leave their homes

by July 2022.   The bill proposes to

change the base zoning from CMX-4

Commercial Mixed-Use, to RMX-3,

Residential Mixed-Use.    It also places




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use regulations that address

affordability, create development

standards to have a maximum FAR of 750%,

implement a parking ratio of two parking

spaces per ten dwelling units, and to

put a one-year demolition moratorium on

any building at this site.

          The Philadelphia City Planning

Commission considered Bill No. 210778 at

its meeting of October 21, 2021 and

recommended the bill for approval.      I'll

be happy to answer any questions at this

time.

          THE CLERK:    Next we have Aida

Smith.

          COUNCILWOMAN GAUTHIER:

Mr. Chair, would I be able to speak on

the bill now?

          COUNCILMAN JOHNSON:    (Muted).

          THE CLERK:    Mr. Chair, you are

muted.

          COUNCILMAN JOHNSON:    Yes.    Do

you want to go now, Jamie, or after your

panelists go?

          COUNCILWOMAN GAUTHIER:     I would




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like to go now, if possible.

            COUNCILMAN JOHNSON:   Okay.       The

Chair recognizes Councilwoman Jamie

Gauthier.

            COUNCILWOMAN GAUTHIER:     Good

morning, everyone.    Thank you, Mr. Chair

and all my colleagues on the Rules

Committee for this opportunity to be

recognized on Bill 210778.

            This legislation aims to

protect both the 70 families who

currently reside at the University City

Townhomes as well as the future of

affordability in this increasingly

expensive part of West Philadelphia.

The townhomes are a deeply affordable

housing complex in the heart of

University City, an amenity-rich

neighborhood with easy access to

transportation, high quality schools,

good jobs and world class health care

institutions.

            The owner of this property

opted out of their affordability

contract with HUD and they are actively




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seeking to maximize their profits for

this mega site.    The current residents

of the townhomes have been notified that

they may be displaced as soon as July

2022.   Without immediate intervention,

we will lose these very affordable homes

forever.   And for the second time in 50

years, it will come at the expense of

working class Black Philadelphians.

           I'm sure that we are all

familiar with the history of urban

renewal and what it did to Black

communities in this City.    In the late

'60s and early '70s, the City of

Philadelphia raised the Black Bottom

neighborhood to make way for a science

and technology research campus, which

today we now know as the University City

Science Center.

           Thousands of Philadelphians,

roughly 80 percent of whom were Black,

were displaced as a result not just from

their homes, but from their community.

The block where the townhomes are

located was originally slated to be a




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part of that research campus, but

neighbors and the University of

Pennsylvania students banded together to

fight.

             They demanded that sites be set

aside for affordable housing so that

people displaced from urban renewal had

options to return so that they would

have access to housing in the

neighborhood for generations to come.

And eventually, a commitment was made to

West Philly residents that this site

would be dedicated to low-income

housing.

             Now, let's fast-forward to

today.     Forty years after the University

City Townhomes first opened, our City

and the 3rd District have changed

dramatically.     Housing prices have

tripled in this immediate area since

then.    In the last two decades alone,

the Black population east of 52nd Street

has been cut in half.     And the end of

this demand is nowhere in sight.        An

estimated $5 billion has been spent on




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construction in University City in just

the last 10 years.

           So all of this helps to explain

why the University City Townhomes are

irreplaceable.   Dozens of three-bedroom

apartments with rents that are 90

percent cheaper than what you can get on

the open market sitting on a piece of

land that is valued today at $75 to $100

million.   Eradicating affordable housing

on this site would be a grave injustice,

not just for the families who live there

now, not just for the thousands of Black

Bottom residents who were removed from

this land once before, but for the

future of this place being somewhere

where working-class people can afford to

live in an amenity-rich neighborhood,

one where jobs and transit and health

care and other resources are all easily

accessible to them.

           This is something that cannot

be replicated in today's housing market.

The bill being considered today includes

a one-year demolition band on the site.




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It will also make residential mandatory

and add affordability requirements,

which together provide a check against

the perverse market forces that play in

today's real estate market, that

encourage maximizing profit over the

creation of inclusive neighborhoods.

           Last week we were grateful to

receive the support of the City Planning

Commission for this bill.    We appealed

to the Commission that they recognize

the importance and the context of this

site and they took us up on that

request.   Now, we come to this body with

the same appeal, to not be swayed by the

idea that this site should be sacrificed

for Philadelphia's seemingly never-

ending development boom.    People matter.

Places matter.   Having equity and

diversity in our communities matter.

           Today let's do something

different than what happened half a

century ago in West Philly and let's

make sure there's justice for

working-class residents in our City in




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the months and years to come.        Thank you

so much.

             COUNCILMAN JOHNSON:     Thank you

very much, Councilmember.

             Will the Clerk please call the

next panelist.

             THE CLERK:    We have Aida Smith

next.   Aida Smith, if you are on, please

unmute yourself and begin your

testimony.

             MS. SMITH:    Hi.   Aida Smith my

name is.

             COUNCILMAN JOHNSON:     Please

begin your testimony.

             MS. SMITH:    I've been here for

about 40 years since it's been built.

Before the grounds were even finished, I

was here.     Over across the street where

the Ralston House was, that was a vacant

lot and everything.       We've watched this

neighborhood continue to be gentrified.

And I don't understand how is it that

right now we're just finding out, and

I'm quite sure some members of City

Council knew what was going on.        I'm




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glad she's taking up this bill.        I'm in

favor of it.

             I don't think that because

we're in an area that's newly developed

or all of the development that's around

it, that people want to be in this

neighborhood because it is so close to

everything.     Everything here is right

here in this area and it tends to be a

safe area.     So I hope you're

reconsidering even letting them get away

with this.     They should not be able to

get away with this, and I agree with

your bill.     Please pass her bill.

That's all I have today.

             COUNCILMAN JOHNSON:    Thank you,

Ms. Smith.

             Will the Clerk call the next

panelist.

             THE CLERK:    Next we have Pam

Andrews.

             COUNCILMAN JOHNSON:    Pam, state

your name for the record and begin.

                  (No response.)

             COUNCILMAN JOHNSON:    Pam, are




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you there?

                  (No response.)

             COUNCILMAN JOHNSON:     Okay.

We'll come back to Pam.

             Will the Clerk call the next

panelist.

             THE CLERK:     Next we have Gerald

Bolling.

             COUNCILMAN JOHNSON:     How you

are doing, Gerald?

             MR. BOLLING:     Good morning,

Chairman.

             COUNCILMAN JOHNSON:     Trying to

get a headset, Gerald.        You trying to

show everybody up?

             MR. BOLLING:     No, sir.    No,

sir.    I just wanted to make sure I could

hear clearly and everybody could hear me

clearly.     How's everyone doing.       Thank

you, Chairman.     Thank you, Rules

Committee.     My name is Gerald Bolling.

I'm a displaced member of the Black

Bottom tribe.     We are a community that

has history over hundreds of years, so

1850 is one of our ports that Dr. Palmer




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had brought up where we were recognized.

That's way before Penn, Drexel or any

other entity came into our neighborhood

to destroy it.

          I want to support the

Councilwoman's bill.    And I also want to

talk about White privilege because this

is what it's about.    Our neighborhood

has always been a transfer for every

community in the City and they knew

that, and they were trying to buy our

homes and put us out for many years.

They bulldozed our houses on 38th Street

to get us out of there to build the

University Science Center and also

University City schools.    So they got us

out of there through that tactic.     And

then now they're trying to use these

tactics now not giving us the apartheid

agreement that they agreed to in the

late '70s saying that we weren't

stabilized as a community, which was far

from the truth.

          We're a stabilized community

which everyone else around us as far as




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Mantua up the way, 52nd Street.       They're

not dealing with the Black Bottom

immensely.     So I'm here to say the Black

Bottom is actually tired of these folks

thinking that they're going to keep

pushing us around and pushing us over on

our land.     This is our land.   I

understand that the City and the other

big wigs and institutions came and

bought this land, but it's also stolen

land.   So this land was stolen from us,

the people of the Black Bottom, and we

want this land returned.     And this is

part of the land that we want returned

because we should have ownership in our

community.

             We shouldn't have to be begging

for nobody to give us anything.       Like I

heard on this whole situation, please

don't do this to us, please don't come

into our neighborhood and do this to us.

No, we need to have our own ownership

and this is where people fail to realize

what we need to clean up the community.

Everybody is talking about all this




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violence going on.    Guess what?    White

privilege is the cause of it, because

they're moving people out displacing

them in neighborhoods that they're

having gang war with.    So what do you

think is going to happen?      What do you

think all of this violence is coming

from?   Nobody knows, right.     So I just

now clued you in to what it is to stop

the violence.

           Stop overbuilding.     Give people

a chance to live.    There's been $5

billion that Councilwoman said went

through the University of Penn.      Not one

contractor was Black.    They didn't even

want to hire Black people on there and I

got testimony to prove that, that they

do not want Black people on their job

sites, you understand.    So this is

bigger than anything that we can ever

imagine.

           We're talking about people

trying to sell land that's not theirs.

People who ostracized the Black Bottom

out of their own neighborhood.      We don't




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have an RCO.     We don't even have a voice

in our own community.     What is that?

This is the Black Bottom.     It's not

University City.     It's the Black Bottom,

and that's what it's always going to be.

And I want City Council to recognize

that like y'all did before.

             Y'all recognized us as a

historical community.     So we need to be

recognized also all around the board

with ownership, with loans and grants to

help us out to build our community and

build our people.     We want to stop the

violence just like you do.     Give us a

chance.     If y'all give us a chance to

come sit down and talk to us, we can get

together and we can stop this violence.

We're not going to stop it the way you

going.     You have to talk to us.   You

have to communicate with us and give us

a chance.

             We're in a neighborhood we

don't have no ownership in and we're the

dominant people there.     No ownership at

all.     That doesn't sound right.   So




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let's -- I pray that we can all get

together to change this, for real.        I

really do.     And thank y'all for letting

me talk, get this out.     I wanted to say

some more things but I'm not going to

say it, but I hope I can send y'all all

what I'm thinking in my heart on my

PowerPoint.     I can send it all to y'all

so y'all can get adjusted to what I

mean.

             You want to stop this violence.

I do too.     I seen all y'all out there

trying to do it.     The way to stop the

violence is come through us, Family.          We

got to be a family.     You can't exclude

us from the help because we're the

experts with the help.     We the ones who

been to jail.     We the ones who been

floating around in these streets.        Give

us a chance to help y'all understand

where we coming from so we can stop

this.   And remember, White privilege is

the cause of it all.     Thank you.

             COUNCILMAN JOHNSON:   You're

welcome.




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             MS. SMITH:    May I ask a

question?     Are we going in order?         Is

there other people slated to speak

because I wanted to make a comment?

             COUNCILMAN JOHNSON:      There are

other people slated to speak.         Just give

me one second and I will give you an

opportunity to make your comment.

             Brett, can you call the next

panelist.

             THE CLERK:    Yes.    We have

Timothy Boyle.

             COUNCILMAN JOHNSON:      Go ahead.

             MR. BOYLE:    Good morning,

everybody.     Timothy Boyle, Founding

Principal of Science Leadership Academy

Middle School and also a proud principal

of Ms. Smith's grandkids.         I'm here

today in support of Bill 210778, on to

provide Chairperson and other

Councilmembers some context of the bill.

             University City Townhomes

represents 70 of the 150-floor private

HUD private homes in our cash fund area.

When I say cash fund, I mean the




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geographic boundaries of my school and

the Powel School as well.     The vacancy

rate at both of these housing sites is

less than 10 percent, so these are homes

that folks want to live in that are

filled at or near capacity all the time.

             As was mentioned earlier, we

will be potentially losing the 70 units

July 8, 2022.     The 84 units at Center

Post Village which is located at 55

North 40th Street, that contract is also

up in 2024.     So the decisions that we

make today could also lead us down a

path one way or the other in the near

future.   SLAM has 22 students that got

an eviction notice.     Powel School has 34

students that got an eviction notice.

The 22 students represent 6 percent of

my school.     It also represents 48

percent of all the students within my

school who live in the neighborhood.

Powel and SLA, we both have robust

populations that come from outside the

neighborhood.

             We were talking about most of




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the folks who live near our schools who

attend our schools live at this site.

The 34 students at Powel represent 15

percent of their total population, so a

significant driver of folks who walk to

school and populate our schools, and

these numbers have been borne out of the

last six years that I've been the

principal of SLAM.

           For folks who know the history,

it's been nice to hear folks' testimony

previously, this site that we're talking

about is four blocks away from where

University City High School, the

elementary and the Walnut Center are

located.   It's a 14-acre site that now

hosts 6.5 million square feet of retail,

residential, clinical office and

laboratory space.    There are very few

places in the City where so many

affordable homes are next to so much

economic opportunity, cultural

opportunity and educational opportunity.

           My hope of this bill is in the

near term there could be justice for the




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families that are located, but also that

we can preserve affordable housing

rights next to some of the greatest

opportunities that this City has to

offer.     That is all of my testimony.       If

there are any comments or questions or

anything I didn't add, I'd like to.

             COUNCILMAN JOHNSON:    Thank you

for your testimony.

             Ms. Smith, do you want to make

a comment or ask a question?

             MS. SMITH:    I want to make a

comment because -- well, yeah, a

comment.     And it was riding on the back

of Mr. Gerald and Mr. Boyle.       As I said,

I've been here for a long time.       And you

notice when people start looking in and

you see outsiders and how they want to

be here, and it's always where Black

people get pushed out.

             And the reason why we get

pushed out is because they raise the

taxes.     The real estate tax is so high

that you can't afford to stay in your

own community anymore.       So what you need




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to do is to make sure that if it can't

be saved, at least make sure it's a

mixed income neighborhood.      It's going

to be people that work in the area but

can't afford to live in the area.      That

doesn't make sense to me.

            You know, it's things that's

being done constantly to push Black

people away.    And to me it seems like

it's going to be to the outskirts of the

City of Philadelphia, and that's Upper

Darby, Yeadon and all of that, and Black

people won't be able to afford to come

back into the City.      And I know this is

going on around this City in places

where -- I grew up in North Philly, and

you hearing stuff about what's going on

now, what they're trying to take -- I'm

sorry.    Can you see me?

            COUNCILMAN JOHNSON:    Yes, I see

you.

            MS. SMITH:    That they're trying

to do now in North Philly and around the

City, and I don't think it's fair.      So

her bill, it really needs to take a




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serious look at and to stop a lot of

what's happening around this City.         And

if it wasn't for developers, it wouldn't

be homeless people, (inaudible)

speculation in real estate.       If you took

that out of the equation -- I can't get

to go bigger again.      Hello?   Hello?

            COUNCILMAN JOHNSON:     Yeah, we

hear you.

            MS. SMITH:    I'm sorry.   I don't

see where I'm at, so I don't know if you

can see me.

            COUNCILMAN JOHNSON:     I can see

you.

            MS. SMITH:    But real estate

speculation, that's what's literally

driving a bunch of stuff around this

country.    The richest country in the

world and you have homeless people, and

it's because of real estate speculation.

So the thing that needs to be done is to

make sure that Philly and its residents,

especially Black residents, Black and

Brown, need to be a priority, especially

since we do most of the work in this




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daggone city and can't find decent

housing, and this is one thing that I

like about my community is that my

grandkids are safe.       Hello?

             COUNCILMAN JOHNSON:      Yes, we

hear you.

             MS. SMITH:     I'm done now.

Thank you for letting me speak.         I'm

trying to get back to where --

             COUNCILMAN JOHNSON:      You're

welcome, Ms. Smith.       Thank you for your

testimony.

             Will the Clerk please call the

next panelist to testify.

             THE CLERK:     Pam Andrews.

             COUNCILMAN JOHNSON:      Pam, just

state your name for the record and

please begin.

             MS. ANDREWS:     Good morning.     My

name is Pam Andrews.        I am the Chair of

West --

             COUNCILMAN JOHNSON:      One

second, Pam.     You're very, very faint.

We can't hear you.

             MS. ANDREWS:     Okay.   Hold on




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for a second.     How about now?

            COUNCILMAN JOHNSON:     Just a

little bit.     Can you turn your volume up

a little bit more.

            MS. ANDREWS:   I'm having some

technical issues today.

            COUNCILMAN JOHNSON:

Ms. Andrews, are you still there?

            MS. ANDREWS:   Hello.    Can you

hear me now?

            COUNCILMAN JOHNSON:     You're

faint.    But can other members of the

Committee hear?

            MS. ANDREWS:   All right.

I'm --

            COUNCILMAN JOHNSON:     Go ahead,

Pam.

            MS. ANDREWS:   Okay.    Great.

Good morning.     My name is Pam Andrews.

I am the Chair of West Powelton/Saunders

Park RCO, and I am here to testify in

support of the Mixed Income Neighborhood

Overlay introduced by Councilwoman

Gauthier this morning, which the West

Powelton community feels it's long




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overdue.

            I have been a resident of the

area for over 30 years now and I have

seen many families that back in '95 when

my husband and I moved in this area

people could afford to rent a house, a

one-bedroom apartment for $500 a month.

Now, as the Chair of West

Powelton/Saunders Park, the Zoning

Committee, when developers come in

asking variances, the average cost of an

apartment that they want to build

monthly rental is $1400 to $1500 a month

and townhouses are built and sold for

$300,000.

            The West Powelton Community

feels very strongly in terms of

supporting this bill.    We feel it is

overdue and it is probably one of the

first big steps that needs to be done to

protect affordable housing in this area.

Like I said, when my husband and I moved

here, there were families.    Now, there

are very few.

            On my block I would say right




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now there's probable only three long-

term residents who have been able to

stay here.     Either the price of real

estate has gone up, taxes have gone up

and we are just overrun with student

housing.     So I'm here -- thank you for

taking the opportunity to hear me this

morning and we are very excited to

support this bill to assure that

affordable housing is maintained in this

area.   Thank you.

             COUNCILMAN JOHNSON:   Thank you

very much.

             I'm going to ask Councilwoman

Jamie Gauthier if there are any

additional remarks before I start

acknowledging other members of the

Committee?

             COUNCILWOMAN GAUTHIER:   No.

Thank you, Mr. Chair.

             COUNCILMAN JOHNSON:   All right.

You're welcome.

             Chair recognizes Councilman

David Oh.

             COUNCILMAN OH:   Thank you very




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much, Mr. Chair.      I just wanted to

respond to is it Ms. Ida Smith?       I think

so.   One of the --

             MS. SMITH:    Aida.

             COUNCILMAN OH:    Aida, I'm

sorry.   I just wanted to completely

agree with what you're saying in terms

of the taxes.     And one of the things

that I just want people to understand is

you have to watch your assessment, the

assessed value.

             So for example, we have cases

in Philadelphia where it's the OPA,

Office of Property Assessment, if you

pretty much understand that your house

is worth about $100,000, it's not good

news when OPA comes out and says your

house is worth $350,000 because it

isn't, but you're going to have to pay

the taxes.     And that should be one of

the first things because it happens in

your neighborhood, it doesn't happen all

over the City.

             It happens in these gentrifying

neighborhoods.     And a lot of it is




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illegal.     It is generated by a 10-year

tax abatement that occurred somewhere in

the neighborhood.     And by law they

cannot increase your value, but they do.

And Council did an audit of the

assessment methodology.     That means the

way they do these assessments, and it

was found to be below industry standard.

That means it is below an acceptable

standard of assessment.

             So please be aware that --

unfortunately, some people they get this

assessment and they don't understand

you're going to pay the taxes and it's

the first sign that there is something

wrong.     I did a bill and I've

reintroduced a bill to freeze these

taxes based on these illegal -- in my

opinion and I say so, if it is below

industry standard, it's an illegal

assessment and it's an illegal tax and

people should not pay these taxes.        So

please be alert, and thank you very much

for your testimony.

             Thank you, Chairman.




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            COUNCILMAN JOHNSON:      You're

welcome.    Thank you, Councilman Oh.

            Gerald, I want to acknowledge

you for a brief remark.

            MR. BOLLING:     Yes.   I just

wanted to ask Councilman Oh, are you in

support of Councilwoman Gauthier's bill?

            COUNCILMAN OH:     I don't know

the -- I'm supporting it.       I'm not

voting against it.    I don't know at the

end of the day the legality of it.

That's something for the Administration,

the Planning Commission.       So I'm voting

for the bill.    That's your bottom-line

question.

            However, I do think that

elsewhere in the City and in other parts

of Philadelphia to me the most direct

thing that's happening is people are

being targeted for improper illegal

overly high assessment that is leading

to overly high taxes that lead to

sheriff's sales and other things where

they're not even getting the money that

it's assessed on.    So, yeah, I do




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support the bill.

          But I will say that ultimately

I think we have to straighten out these

assessments and the corresponding taxes

that are driving people out of this city

depending in what neighborhood they live

in under the threat of sheriff's sale.

          MR. BOLLING:   My other question

was do you think that we need to make a

committee for affordable housing and

have the community members in the

housing where there's gentrification at

be on that and have power, not just

being on there as a sitting stone, but

actually have power to stop the

developers that's coming in and doing

things of that nature?   I think that

will be a better way to solve some of

these things that's going on, especially

the violence that's happening in the

communities.   Because actually, when you

actually take somebody and displace

them, you're putting them in another

place.

          They took the whole Passyunk




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out and put it somewhere else.       And then

they took another place and put it

somewhere else.     They took Bloomberg and

put it somewhere else.     And now

everybody's running around talking about

well, why all this violence happening,

why people shooting 900 bullets.       This

is the reason why because they're not

going to lay down to everybody else.

          When they're going into a

neighborhood where they not liked or

they're not wanted, and guess what, the

people there are fighting back and they

got to fight back too.     So my question

is should we have a committee that's

city-wide that has all of the committees

and concern with all these developers

and it's a board that these developers

have to come to in order for them to be

able to develop in the ways that they

want to develop, also keeping affordable

housing alive because we need that, you

know what I mean.

          We gave the developers a

10-year abatement, so why don't we go




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ahead and give the people that's on

affordable housing the 10-year abatement

and put them in some housing, you know

what I mean.     There's mix as you say, so

let's put them in that new building that

they building on 38th and Powelton

that's going up now, the high-rise that

Drexel just built for pennies on a

dollar.     That's another place in the

Black Bottom.     So let's put people in

there too because they have to share,

right.     Let's share.

             COUNCILMAN OH:   Yeah.    So I'll

take your statement as a suggestion and

recommendation.     What I don't want to do

is start having a private conversation

with you because we're in the middle of

a hearing.     I'm happy to talk with you

and I've done things publicly as well.

You can contact me any time, come visit.

I'm right in 319.     Stop by today.     I'm

here.     But let me respect the Chair and

this hearing.     Thank you very much.

Thank you for your comments and

suggestions.




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             Thank you, Chairman.

             COUNCILMAN JOHNSON:    Thank you

very much.

             Any other questions or comments

from members of the Committee?

                  (No response.)

             COUNCILMAN JOHNSON:    Hearing

none, we will take a brief pause so that

our technical crew can set up for those

who registered for public comment.

                  (Brief recess.)

             COUNCILMAN JOHNSON:    Thank you

very much.     We will now hear the

testimony of those who have signed up

for public comment.       The Clerk will call

your name and once called, please state

your name for the record and proceed

with your testimony.

             Will the Clerk please call the

first witness.

             THE CLERK:    Commenting on Bill

210778, we have Andre Del Valle.

             MR. DEL VALLE:    Good afternoon,

Chairperson --

             COUNCILMAN JOHNSON:    Please




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state your name for the record.       We all

know you, but please state your name for

the record and begin.   How are you

doing, Andre?

           MR. DEL VALLE:   I'm doing good,

Councilmember.   Appreciate it.    Good

afternoon, Chairperson Johnson and

members on the Committee on Rules.        My

name is Andre Del Valle.    I'm the

Director of Government Affairs for the

Pennsylvania Apartment Association.        I'd

like to thank you for the opportunity to

testify today on Bill No. 210778

introduced by Councilmember Gauthier.

           The Pennsylvania Apartment

Association is a statewide association

representing property managers and

landlords across Pennsylvania.     Here in

Philadelphia we represent 98 property

management companies and over 156,000

units.   Now, the Pennsylvania Apartment

Association truly believes in the spirit

of cross-collaboration, especially when

it comes to legislation impacting the

housing industry.




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           Locally, we have worked closely

with PHDC, assisted in the emergency

rental assistance fund roll-outs, hosted

briefings for both landlords and tenants

and navigated the program who also had

troubleshooting challenges with the

program.   We have cross-collaborated

with the Office of Emergency Management

and relocation efforts for flood victims

following Hurricane Ida, and have worked

closely with Councilmember Brooks and

Community Legal Services on the newly

implemented renters access app.

Currently, we're working with Office of

Immigrant Affairs, Department of Human

Resources and Department on Homeland

Security on resettling efforts for our

Afghan brothers and sisters who are

coming to seek refuge here in

Philadelphia.

           I highlight this cross-

collaboration because legislation like

the one before us today desperately

needs to have an open dialogue among all

stakeholders and its elected officials.




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I can assure you that no landlord or

property owner wants to add to

Philadelphia's continuously rising

homelessness rate or displacement rate.

And on the contrary, landlords across

the City have been working to avoid

housing instability as we all continue

to navigate the challenges brought on by

the COVID-19 pandemic.

          I know BIA will be testifying

today and I don't want to speak for them

or their membership, but I know

firsthand how they practically work with

District members on the front end of the

legislative process on variances,

rezoning, et cetera, for their projects.

What raises concerns about this

particular piece of legislation is that

it would rezone and would establish a

demolition ban for one parcel known as

the University City Townhomes.

          The total number of units we're

discussing today at University City

Townhomes is 70.   That's less than the

number of units that were scrapped in a




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proposal a few weeks ago and just a few

blocks away where residents demanded

parking over units, reducing the project

from 174 affordable units down to 100.

          Unfortunately, this will not be

the first or last landlord that will

sell their property here.     This is

actually the first of many within our

membership here in the City of

Philadelphia due to the rising costs of

maintaining buildings, rising costs

associated with every new regulation

passes as well as dealing with the

continued ramifications from the

COVID-19 pandemic.

          The question before this

Committee today is not whether this

legislation should pass or not, but

rather will this Committee set the

precedent and support future rezoning of

a single parcel of land, which is

privately owned without the support of

property owners.     The Pennsylvania

Apartment Association has and will

continue to stress the need for private-




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public partnerships and cross-

collaborating to address the challenges

our City faces.

            We welcome an opportunity to

bring all stakeholders together,

residents as well as elected officials

to discuss viable options for this

parcel, which addresses residents and

community needs while not punishing an

owner for wanting to sell their personal

property.    Thank you for the opportunity

to testify today.    I'm happy to answer

any questions you may have.

            COUNCILMAN JOHNSON:    Will the

Clerk please call the next panelists.

            THE CLERK:    Commenting for Bill

210778, we have Mo Rushdy.

            MR. RUSHDY:    Good afternoon,

everyone.    My name is Mo Rushdy and I

serve as Treasurer of the Building

Industry Association of Philadelphia as

well as Co-Chair of Affordable Housing

and Diversity, Equity and Inclusion

Committees and member of the Real Estate

Alliance.




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           I want to thank Chairman

Johnson and the rest of the Committee

for allowing me to provide testimony

today on Bill No. 210778.     We recognize

that there's an urgent need in

Philadelphia for affordable housing

options for a great many people and have

been seeking to collaboratively craft

policies with Council to help all

residents in this City share in its

prosperity.

           Bill No. 210778 moves the City

in the wrong direction.     However, the

BIA has historically respected District

Councilmembers' efforts to rezone parts

of their Districts, but this bill's

reach is unlike anything we have seen

before.   It's a rezoning to target a

single privately-owned parcel without

the owner's support and proposes a

demolition moratorium on this site as

well.

           The legislation will create a

dangerous precedent and have a chilling

effect on the real estate development




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community.     Although we sometimes don't

want to acknowledge it, City Hall needs

private developers to build what

government cannot, producing the housing

that current and new residents want and

generate the jobs and tax revenue that

are so badly needed.     To build housing

in a strong economy, developers need

just one thing from City Hall, and that

is certainty.     We can figure out what

type of project to build and where and

when to build it as long as we can

control a sufficient number of variables

to make projections work.

             But Bill No. 210778 would make

it possible for Council to rezone any

parcel whenever it wants and halt

demolition before a new project is

announced.     Suddenly Philadelphia has a

whole lot more uncertainty than anywhere

else in the country because this would

not happen anywhere else.     Why then

build here?

             Even more frustrating is that

this dramatic legislation is apparently




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proposed in the name of affordable

housing, but the City continues to

squander its best opportunities to

generate significant quantities of

affordable housing for its residents.

In the 3rd Councilmanic District, there

are 647 publicly-owned parcels that

could be used to house those in need.       I

repeat 647 properties.

            In the BIA's Affordable

Blueprint, we argue that the City's

housing crisis can be resolved if City

Hall simply increases its capacity to

dispose public land quickly to qualified

applicants.     You have the land.    The

development community knows how to build

what you want, and we supported the

Neighborhood Preservation Initiative to

reach lower AMIs and to keep

affordability that Councilwoman Gauthier

just spoke about.

            What are we waiting for?

Didn't we know about this project over a

year ago.     So to Ms. Aida Smith and

Mr. Gerald Bolling, please listen to me,




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I hear you and I feel you.     We can build

for sale affordable single-family homes

for you at very low pricing made

possible by City land with the

Neighborhood Preservation Initiative

that we supported.

             I am going on record, talk to

Councilman Gauthier and see all of the

public land that's available and talk to

her about the 51 percent of these homes

being affordable making mixed-income

neighborhoods possible as Ms. Smith

mentioned.     Further, Council decided to

decrease the amount of money that

developers will pay into the Housing

Trust Fund by lowering the bonuses

available.

             And now, Bill 210667 seeks to

eliminate the bonuses all together in

one Councilmanic District.     These

bonuses were a key component of

overcoming Philadelphia's high

construction costs in neighborhoods that

would not otherwise see investment.

             Eliminating these bonuses in 10




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percent of the City and potentially

imposing inclusionary zoning mandates is

sending a clear signal to the real

estate to look elsewhere.      No one has to

build in Philadelphia and soon maybe no

one will.    The BIA is sincere in its

desire to be part of the solution.       We

believe in solutions that work for all.

            Unfortunately, Bill No. 210778

is a dramatic example of City Hall's

actions that punish the development

community for longstanding shortfalls in

housing policy that we have demonstrated

support for, for affordable housing,

providing effective alternatives and are

willing partners.    Please let us take a

step back and work together.      Please.

Thank you for your consideration.

            COUNCILMAN JOHNSON:    (Muted).

            THE CLERK:    Mr. Chair, you are

muted.

            COUNCILMAN JOHNSON:    Thank you.

Will the Clerk please call the next

panelist.

            THE CLERK:    For Bill No.




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210778, we have Joe Ritchie.

            MR. RITCHIE:   Good afternoon.

My name is Joe Ritchie and I'm here

today on behalf of the Greater

Philadelphia Chapter of NAIOP where I

serve as the President.     NAIOP is a

501(c)(6) organization that represents

the commercial real estate development

community in Philadelphia and is also a

member of the Philadelphia Real Estate

Alliance.

            Thank you to Chairman Johnson

and the rest of the Committee for

permitting us to provide testimony on

Bill No. 210778.    A membership of NAIOP

understands that affordable housing is

an important issue in the City that

collectively the public and business

community need to address with

comprehensive and holistic solutions.

            However if approved, Bill No.

210778 would set a dangerous precedent

with the unintended consequence.     The

legislation effectively spot zones the

block, the 3900 block of Market Street




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without the owner's consent, prohibiting

any alterations to the site and

rendering it unsalable.

          The University City Townhomes

were developed under an agreement that

calls for the development of the

affordable housing residences and

obligating the owner to maintain the

Section 8 housing and affordability for

four years.   The owner agreed to and met

this obligation.   And now at the end of

the term faces legislation which changes

the nature of the agreement.    This

precedent would put up for consideration

whether private landowners have the

right to manage and sell their property

within the confines of the rule of law.

          We urge the Committee to

consider the fine balance between

economic growth and affordable housing

and to think deeply about the

far-reaching implications of spot zoning

without approval of the land owner.    As

an industry, the real estate community

relies on the particularability of land




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use and cannot support targeted

legislation that undermines the

confidence in the system.

           This use of spot zoning as a

tool to preserve affordable housing is

only necessary because Philadelphia

currently lacks an efficient and

functioning mechanism to holistically

address affordable housing development.

The City is being forced to choose

between supporting affordable housing

and supporting a once-in-a-generation

growth industry that could be one of the

cornerstones in Philadelphia's future

economy.   We should be able to choose

both.

           We support fully BIA's proposed

land to use Philadelphia Land Bank for

affordable housing and I will refer to

the previous speakers' comments on the

number of parcels available in this

District alone through that mechanism.

Instead of introducing legislation that

pits the interest of one group against

the other, we would all be better served




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with new legislation to solve the larger

problem.

            Zoning is not a tool for micro-

issue resolution of which affordable

housing is just one example.      Zoning is

meant to guide the path of development

and growth in a thoughtful and balanced

way.    It is meant to have certainty and

should only be altered or modified with

a thorough, deliberate and robust

process involving all properties,

including the current owner of the land.

            The questions that we in the

City are faced with today deserve

legislation that materially attempts to

construct working mechanisms to

holistically address the issues of

affordable housing.    NAIOP sincerely

wants to be part of the solution.      We

hope to work together.    Thank you very

much for your consideration.

            COUNCILMAN JOHNSON:    Thank you

for your testimony.

            Will the Clerk please call the

next panelist.




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             THE CLERK:    Isa Shahid.

             MR. SHAHID:    Good afternoon,

panel.     My name is Isa Shahid

representing the Laborers' District

Council.     Thank you for the opportunity

to testify today.     On behalf of more

than 6,000 members of the Laborers'

District Council I'm here in support of

the plans to redevelop 3900 Market

Street, a project that will create

thousands of new good-paying jobs for

our people at a time when they are most

needed.

             In support of this project, we

are asking Councilmembers to postpone

consideration of Bill No. 210778,

legislation that could have a chilling

effect on the new investment and

opportunity in the City of Philadelphia.

Such a move will be a devastating blow

to our members and their families.          This

legislation purports to address concerns

over affordable housing, something that

is a growing consideration in cities and

communities across the nation.       As a




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union that represents and is committed

to the interest of working-class people,

it is a concern we share.

          The support for redevelopment

of the University City Townhomes site

does not have to come at a cost of

eliminating affordable housing and

leaving these residents without safe and

affordable options.     Here's why:

Redevelopment of 3900 Market Street has

the potential to be a $1 billion project

because of the size and location.       This

site is likely to become a new life

science research center, a project that

could total $1 billion in development.

          A project of that size will

create as many as 6,500 construction

jobs over the next several years as well

as 3,800 permanent jobs.     These are jobs

that pay families sustainable wages, and

the redevelopment is also expected to

generate more than 25 million a year in

new state and City tax revenue.       It is a

project that could start quickly once

the land is sold.     The site is already




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zoned CMX-4, which means that the

property is already zoned for

redevelopment.     If we as a City are

serious about lifting people out of

poverty with good jobs, this is an

opportunity that we must not squander.

             We share concerns about

ensuring residents are treated fairly,

and we applaud Councilmember Gauthier

for her commitment to provide affordable

housing to her community.     As always,

she is thoughtful and committed to doing

the right thing.     But it is clear that

the owners of 3900 Market Street are

willing to work with her in this effort.

             They have said publicly they

have no interest in merely selling the

ground and leaving the residents

stranded.     A commitment that we will

join Councilmember Gauthier in ensuring

they live up to.     They are already

working to make sure that no one is

losing their Section 8 benefit for the

future.     They are meeting residents

individually to help them find and




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secure affordable housing.     They are

working with a not-for-profit developer

to transfer the Section 8 rental

authorities from University City

Townhomes to other locations in West

Philly, which will provide long-term

rental assistance and an additional 113

families.    And they have pledged to

cover all moving and relocation costs

for these residents.

            In response, many residents

have expressed interest in relocating

immediately even though University City

Townhomes will not close until next

July.   The owners are willing to work

with Councilmember Gauthier to create

new affordable housing options near the

site ensuring the residents will be

treated fairly and with dignity, and

that's the way it should be.

            So it's not one or the other.

Redevelopment of this site won't leave

the residents stranded.    And for that, I

applaud Councilmember Gauthier for

leading the fight to make sure the




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redevelopment doesn't threaten

affordable housing in West Philadelphia.

But Philadelphia needs the opportunities

presented by this project.

            We have the potential to create

more than 10,000 jobs once the sale of

this property is completed.       That means

putting more people to work, which is

critically important in the fight

against poverty in our City.       We can do

both and we should.       Let's work together

to make it happen.       I urge Council to

support the redevelopment of this site.

And with all differences and respect to

our friend Councilmember Gauthier,

reject Bill No. 210778.       Thank you for

the opportunity to testify today.       Have

a good one.

            COUNCILMAN JOHNSON:     Thank you.

Will the Clerk please call the next

panelist.

            THE CLERK:     For 210778, we have

Brett Altman.

            MR. ALTMAN:     Good morning,

Chairperson Johnson, members of the




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Committee and staff.    Thank you for the

opportunity to testify this morning

regarding City Council Bill No. 210778.

This legislation is before you today for

consideration.   In addition to these

remarks, I am submitting supplemental

written testimony for the record.

          My name is Brett Altman.      I am

a Principal of IBID Limited Partnership,

the owner of the property of 3900 Market

University City Townhomes.    This

proposed bill, if enacted, will

specifically impact the property.     I am

here today to make a simple and straight

forward request of this Committee.

Please give us more time to work to

select a buyer with a development plan

that has a low-income housing component.

          I along with my partners have

received a number of offers for this

property within the last 30 days.     These

are not final offers.    We are committed

to working with these interested

parties, Councilmember Gauthier and the

Administration to develop a plan for the




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future of this property that will

include affordable housing at the

current site.

            I believe with all these

parties working together we can develop

additional affordable housing in West

Philadelphia that will benefit more

people than currently served on the

site, but we simply need more time to

work with the parties that are

interested in purchasing and developing

the site.    I have been in communication

with Councilmember Gauthier since

December of 2019 regarding the future of

our property, but we only formally

solicited offers in August.    And as a

result, those offers were only submitted

recently.

            We believe that we can develop

a plan that will allow for affordable

housing onsite.    If you vote this bill

out of Committee today, it will

automatically and drastically devalue

the land.    My fear is that such an

action will cause these potential buyers




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to not pursue the purchase any further.

That will cost all interested parties

valuable time.     As I stated to

Councilmember Gauthier last week in a

meeting, we are committed to working

toward a positive resolution that will

work for everyone.        Thank you for your

time.

             THE CLERK:     Next we have Barry

Grossbach.

             MR. GROSSBACH:     Yes.   Thank you

very much for the opportunity to speak

with the Committee.        I represent the

Spruce Hill Community Association and

I'm not authorized to speak on the bill

before you, but rather on the history of

the site which we were intimately

involved in.

             During the Rizzo

Administration, as Housing Director John

Gallery approached Spruce Hill with the

proposition of Section 8 housing

financed by HUD at one of two possible

sites.   They suggested the former PGH

site where the hospital came down on




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Civic Center Boulevard or 40th and

Market as a possibility.

            We considered the Civic Center

a non-go.    We felt that it would be

warehousing people with no amenities, no

stores or anything else and they would

just be isolated off on an island.      We

looked at 40th and Market.    We felt that

that was a site to consider public

housing and we decided that we would

conduct community meetings to get a

sense of how people felt about the

proposed project.

            Needless to say whenever you

talked about subsidized housing, there

was pushback within the neighborhood but

there was also a lot of support.     We had

some interesting meetings with over 100

residents attending.    And ultimately,

Spruce Hill came down in favor of the

development of the site.

            One of the key factors in our

decision was the fact that Friday

Architects headed by Don and Arlene

Matzkin who were known architects of the




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Powelton Village were the proposed

developers of the site, so we felt that

whatever was put up there would be of

sufficient quality that the residents

would benefit and the neighborhood would

as well.   So it was an interesting

experiment for us.

           It was a neighborhood that came

together in support of subsidized

housing at that particular site, and I

just felt that the Committee should have

some history in terms of how all of this

came about.   It's been a project that

has been sustained for 40 years.      We

didn't know how it would turn out, but

it has been a beneficial experiment and

a successful housing development as far

as we're concerned.   And I thank the

Committee for the opportunity just to

give a bit of a history lesson as a

former history professor at the

Community College of Philadelphia.

Thank you very much for your time.

           COUNCILMAN JOHNSON:    Thank you.

Brett, are there any other panelists on




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this particular bill?

             THE CLERK:    For 210778, there

are no other speakers for public

comment.

             COUNCILMAN JOHNSON:    The Chair

recognizes Councilman Allan Domb.

             COUNCILMAN DOMB:    Thank you,

Mr. Chair.

             I've been listening to the

testimony and while I'm not on the

Committee, I just wanted to explore the

idea that Mo Rushdy brought up because I

read it in the op-ed in the Inquirer

this week.     I don't think he's still on

the call or not, but I did have some

questions for him if he is on the call.

But if he's not, we can do it offline.

             I think this idea on the

affordable housing is something we

should really explore.       I think it's

creative and I think it could help solve

the situation.     And I just want to

mention I think there's 69 or 70 people

involved, to figure out a way to get

them affordable housing that they can




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actually own and build wealth would be a

great solution to this, and also to get

the jobs.     We want to come out of this

with a win-win for both.        So that's my

comments for today.

             Thank you, Mr. --

             MR. RUSHDY:   Councilman, I'm

available.

             COUNCILMAN DOMB:     Oh.   Mo, I

have a question for you.        Can you just

explain simply if it's an option, the 69

or 70 people that live at 39th and

Market to engage in your idea about

affordable housing and they could

actually wind up owning a home versus

renting?

             MR. RUSHDY:   Absolutely

Councilman.     Again, if we're talking

about 70 homes, if we're talking about

the 190606 bill that has passed

unanimously in January of 2020, then

we're talking about close to 139 lots of

which 51 percent would represent that 70

homes of where we can build for-sale

affordable housing on public land.




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           And without using any NPI

money, we would have cost of housing

somewhere between $850 to $1,000 per

month.   But if NPI money is used to buy

down the AMI, then we can provide

housing as low as 50 percent and 40

percent and 60 percent AMI which is

basically these affordable housing for

70 homes with close to about $4.5

million of NPI money.

           And that would get you 70 homes

with backyards, single family homes, new

construction 9-foot ceilings, 1250

square feet, three-bedroom, two-bathroom

homes.   We have done this model before

for housing developments under the

leadership of Council President Clarke

on our fees that were in 2016 and 2018,

and we continue as the BIA in our

blueprint to have models that work.

They have been proven.   And using NPI,

many or all of the 70 residents could

have been housed easily on public land

on single family homes, new construction

homes.




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             COUNCILMAN DOMB:    So just to

clarify, what you're saying is the 70 or

so people that live at 39th and Market

could wind up owning a home in a similar

payment versus renting one?

             MR. RUSHDY:    Absolutely, yes.

             COUNCILMAN DOMB:    Okay.     You

know, I remember from my days in the

business the old expression when you

rent, it's a house, but when you own,

it's a home.     So that's a great idea.

Hope we can take advantage of it.

             Thank you, Mr. Chair.

             COUNCILMAN JOHNSON:     Thank you

very much.

             Any other questions or comments

for this particular panel?

                  (No response.)

             COUNCILMAN JOHNSON:     Next I'm

going to ask the Clerk to please call

the next panel.

             THE CLERK:    Commenting on Bill

210667 and 210668 we first have Sherry

Brown.

             MS. BROWN:    Good morning,




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everyone.     My name is Sherry Brown and

I'm a long-time resident of Strawberry

Mansion.    I am in support of Bill Nos.

210667 and 210668 to exempt City Council

President Clarke, 5th District from the

Mixed-Income Housing Zoning Bonus and

the expansion of the Strawberry Mansion

Neighborhood Conservation Overlay.

            I remember one developer whose

attorney repeatedly reminded us during a

community meeting that they met the

required criteria by law to receive two

bonuses wherein they would get an

additional 34 units of which only 10 of

the total of 94 units were designated

affordable.     They may be well-versed

with the law, but where is their moral

compass, when they have two rental

buildings across the street from each

other at 29th and Diamond Street and

they plan on building an additional 94

rental units on 29th Street, 30-plus

rental units on Diamond Street while

demolishing what was once Most Precious

Blood Roman Catholic Church, Rectory and




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Parochial School which opened in 1908

that sits next to that, replacing that

with a beer garden.

             We are talking about possibly

adding a total of 400-plus renters in a

one-block area which greatly increases

the density and limited parking that

currently exists.     A group of community

organizations and stakeholders of

Strawberry Mansion formed a coalition to

create the Strawberry Mansion

Neighborhood Conservation Overlay which

enforces a series of neighborhood-

specific building regulations on new

construction to retain the historic

character of the neighborhood which some

of these houses were built more than 100

years ago.

             Currently we have over 200 PHA

rental units in Strawberry Mansion.      We

are not against development, but we

demand respect from these developers for

what we need, and that is for affordable

homeownership to build and sustain

Strawberry Mansion.     I urge Council




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President Clarke to connect us with an

organization that specializes in

web-based technology that uses video and

surveys to teach and engage the

residents of Strawberry Mansion about

our neighborhood's land use issues in

order to plan for equality and

preservation.

           Knowledge is power and we're

willing to work with you all, but we

will not continue to be disrespected by

these developers coming in and taking

over and destroying our community.

Knowledge is power as I said, and

by-right is not right and bonuses must

go.   Thank you and have a blessed day.

           COUNCILMAN JOHNSON:     Thank you.

Will the Clerk please call the next

person for public comment.

           THE CLERK:    For Bill 210667 and

210668, we have Melvin (inaudible).

                 (No response.)

           COUNCILMAN JOHNSON:     Melvin,

are you there?

           COUNCIL TECH SUPPORT:     Hi,




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Councilman.     Melvin just hung up really

quick, so we're going to try to get him

called back on the line.

             COUNCILMAN JOHNSON:       Will the

Clerk call the next person for public

comment, and then we'll get Melvin

after.

             THE CLERK:    Next for Bill Nos.

210667 and 210668, we have Bonita

Cummings.

             MS. CUMMINGS:    Good day,

Chairman Johnson and the Rules

Committee.     Can you hear me?

             COUNCILMAN JOHNSON:       Yes, we

can hear you.

             MS. CUMMINGS:    Great.

Philadelphia is not New York City.

Philadelphia is not a city of mostly

high-rise buildings and neighborhoods.

The movement by developers assisted by

bonus legislation to make Philadelphia a

city of high-rise apartment buildings

has unleashed the worst conduct in

developers, and today Philadelphia

neighborhoods are experiencing very




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aggressive tactics and attacks from

those developers.

           They are harassing elders,

inducing fear in long-time residents who

have managed clean and (inaudible) at

their expense many of the lots, many

residents and neighborhoods who boarded

up open vacant buildings and painted

them.   In the name of development,

developers have decimated the rare and

unique mural of Martin Luther King at

Ridge and Diamond and blocked or trapped

leaving only his arm as well as trapping

the mural arts image of John Cultrane

behind the new development at 2848 West

Diamond Street, which by the way is for

sale for $1 million-plus.

           Bonuses continue to perpetuate

one-sided wealth.     Developers pay a

price and become millionaires,

billionaires and even trillionaires

according to how many times they can

flip your district.     The idea of

affordable rental housing created by

bonuses that only create in a




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development project of, for example, 95

units at 10 percent bonus, that is only

9 or 10 moderate units.    That can be a

very slow process to the much-stated

housing needs and a lot of harassment to

communities for so little.

          Bill Nos. 210667 and 210668 are

necessary at this time to further expand

neighborhood boundaries and preserve and

protect the inclusion, health, welfare

and safety of sensitive and vulnerable

communities.    These bills help restore

some balance and give time for amended

legislation to correct the harm and

neighborhoods to comprehensively plan.

          In perspective, African-

Americans have not been sitting around

twiddling their thumbs as the unique

designs in housing and their communities

Strawberry Mansion and North Central met

with decay.    Residents of those

neighborhoods ask questions of

preservation, inquired about how to get

access to and repair for the King

properties, et cetera.    We thought we




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had a plan called Blight Elimination

with engaged neighborhood ambassadors.

However, the breakdown of that

neighborhood discussion and planning was

when the name was changed from Blight

Elimination to Neighborhood

Transportation Initiative, NTI.     Put NTI

in the single-handed change of 2012 of

The Philadelphia Zoning Code and we now

have a very destructive weapon.

           Constituents do not always want

to be on the defense from developers who

act as conduits representing so-called

wealthy or powerful investors.     We would

like to get a win-win, but there has to

be more transparency.     Communities need

more inclusion in the legislative

process, meaning times hearings are

held, where they are held, et cetera.

           I would like to get a better

understanding of what area we're talking

about, south of Spring Garden amendment

to Bill No. 210667.     We look forward to

your support of Bill Nos. 210667 and

210668.   And I do thank you for allowing




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me to have a voice today.

             COUNCILMAN JOHNSON:       Thank you

very much.

             Will the Clerk please call the

next individual for public comment.

             THE CLERK:     For Bill No.

210638, we have Sue Patrone.

             MS. PATRONE:     Hello.    Thank

you, Rules Committee Chair, Co-Chair and

Councilmembers.     Can you hear me?

             COUNCILMAN JOHNSON:       Yes, we

can hear you.

             MS. PATRONE:     Thank you.    Thank

you for this opportunity to testify.             My

name is Susan Patrone and I am a Past

President of Passyunk Square Civic

Association and Columbus Square Advisory

Council.     I'm testifying today to urge

you to put a pause button on Bill 210638

on Alterra's processed 155 apartments

and retail on our municipal complex

land.

             While density is driving this

proposal, this proposed plan, the heart

of my testimony is safety.        According to




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Alterra's own traffic study, they claim

the entire complex will generate 856

"new daily trips," that translates into

cars, distributed among Reed, Morton and

12th Streets.   Absent are any

calculations related to delivery.

Rideshare, Uber, Lyft, food delivery

services, Gopuff, InstaCart, Caviar,

Postmates, Grubhub, not counting UPS,

FedEx and Amazon Prime trucks.   Our

rough calculations add 90 more vehicle

trucks with delivery cars to this

development which will impact on 12th

Street.

          Now, this proposed 12th Street

where many of these cars and trucks will

go will have ingress and egress on the

12th Street sidewalk.   On 10/14 on that

block -- by the way, our Councilperson

was gracious enough to come and visit

the site today and talk and our Civic

President as well.   On 10/14/21 at the

intersection of 12th and Morton from

8:25 a.m. to 9:00 a.m., I did a head

count of 480 pedestrians, meaning




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children and families, using the

sidewalks where all of the above are

proposed.

            Is it safer to plan for more

cars and trucks on sidewalks?     Would any

of us here want approximately 1,000 more

cars and trucks in our neighborhood?

Would any of us want to put more

vehicles across the street from a multi-

generational park playground?     Is it

feasible with the scale of this

processed development, is it feasible,

to align with Vision Zero in keeping our

children safe?    How much mitigation do

we need?    Could Alterra offer a plan

that makes a safe, even safer than

before this proposed development?

            I'd like to say I appreciate

the work my Councilperson and my Civic

Association has put into this.     COVID

has presented a lot of issues.     But

again, safety is primary.    That's the

primary focus.    So this proposed project

needs a much deeper look and a pause

button here in the Rules Committee.




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Thank you for your time.

             COUNCILMAN JOHNSON:       Thank you

very much.

             Will the Clerk please call the

next person for public comment.

             THE CLERK:    For Bill No.

210638, we have Sarah Anton.

             MS. ANTON:    Hi.     Can you hear

me?    Hello?

             THE CLERK:    Yes, we can hear

you.

             MS. ANTON:    Okay.     Great.

Sorry.     Good afternoon.       My name is

Sarah Anton.     I'm a Board member and the

immediate past President of Passyunk

Square Civic Association.          We're the

Registered Community Organization for

the area addressed in Bill 210638

regarding the zoning and Master Plan

changes to 1100 Wharton Street, which is

commonly understood as the Municipal

Complex.

             Since 2018, PSCA has worked

with Councilman Squilla, the Department

of Public Property and the Philadelphia




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Industrial Development Corporation,

PIDC, to gather community feedback for

the proposed sale of 1100 Wharton.        In

November of 2018, PIDC attended our

general meeting to present about the

process for recruiting and reviewing

proposals for the site and to review the

community engagement process that led to

the development of the 2035 City Master

Plan, which includes a vision for this

area of our neighborhood.

             Following this meeting, we

opened up an online forum and provided

instructions to encourage neighbors to

submit feedback.     We also started a

dedicated mailing list for updates about

the process of reviewing development

proposals.     We collected a wide range of

neighbor comments with visions for this

area and submitted these to PIDC to be

included as an addendum to the RFP.

             In addition, concern about

public school issues were raised at this

point and a special neighbor committee

was formed to work with the School




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District to explore the possibility of

uses for the site to assist in

addressing this issue.    At this point,

PIDC proceeded with development proposal

recruitment and review.

           As this process continued,

Councilmember Squilla arranged for the

unique opportunity for representatives

from our group to be part of the

selection committee in an effort to

maximize transparency and community

input.   This later expanded to a team

from PSCA, myself as President of the

group as well as our Vice-president,

Zoning Chair and Planning Committee

Chair.   This team was able to

participate in developer interviews for

the two finalist proposals that were

submitted in response to the City's

Request for Proposals.

           In June 2019 with the

permission of PIDC, we were able to

share key facts about each of these

proposals with neighbors.    We

distributed flyers door-to-door to




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hundreds of homes within blocks of the

site, sent emails to thousands who are

neighbors, provided an online hub for

comments and provided an inperson update

to about 50 neighbors at our general

meeting at length.

             We invited neighbors to share

their opinions about proposals directly

with the Mayor, Councilman Squilla and

our Board.     While more than half of the

neighbors responded to this call for

comments of support of a mixed-use

proposal on this site as submitted, we

clearly heard that there is not a

consensus in the neighborhood about the

right amounts of density and parking in

this area.

             Almost universally however, we

heard concern about preserving green

space, a desire to preserve the Fleet

Management building and mitigating the

downsize of gentrification and the

opportunity for development of this site

to add units that will be affordable to

seniors, small business owners, civil




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servants, educators, retail workers and

trades people that have historically

called Passyunk Square their home.

          This feedback was provided to

the applicants, and ultimately the

applicant most responsible to these

concerns, Alterra Property, was

invited to present a full proposal to

the neighborhood in December 2019.     The

revised project featured additional

residential permit parking, support for

affordable housing and reduced density.

Again, we distributed information door-

to-door in blocks surrounding the

property about this meeting, posted the

development proposal online, encouraged

direct feedback to our Councilmember via

dedicated email address and provided

reminders in our monthly newsletter and

at our monthly general meeting to the

community on how to make their voices

heard concerning this project.

          After a long hiatus due to the

pandemic, Councilmember Squilla arranged

for a meeting on July 2021 to present




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the updated project, taking into account

all neighbor comments collected online

and provided during a community meeting

in December 2019 and provided via

various channels and individual meetings

with constituents from December 2019

through June 2021.

           The Master Plan legislation

before you is responsive to community

feedback and represents a compromise of

a wide range of concerns and aspirations

for this site.   While as an

organization, PSCA is in non-opposition

to the Master Plan changes before you

today.   There are many details to be

worked out before approval of the sale

of this parcel and before our Board

would be comfortable to being in

non-opposition to the specific

development project with Alterra

Properties.

           Neighbors continue to have

concerns about the selection of a

commercial tenant, the scope and details

of green space, pedestrian safety and




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other traffic concerns and concerns that

the design of the new building will be

generic and out of character with the

neighborhood.     We believe that the

unique and extensive level of community

engagement in this process has allowed

for continuing improvement to the

proposed project, and perhaps the

addition of some components like

affordable housing that might otherwise

have never been included in the site.

             It is our hope that neighbors

can continue to work with Councilmember

Squilla and the development team to

address the outstanding issues and

concerns and find solutions to make this

project a contributing and appropriate

addition to this vibrant part of the

City.   Thank you.

             COUNCILMAN JOHNSON:   Thank you

very much.

             Will the Clerk please call on

anyone else who is here for public

comment -- Councilman Squilla, you would

like to be acknowledged?




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           COUNCILMAN SQUILLA:       Yes.

Thank you, Councilmember.

           And I just want to thank the

people who are testifying and Sarah and

their input and really hard work during

this process.   It's been a long time.

And yes, we have more work to do.           We

will continue working with the community

and appreciate their efforts and looking

forward to having future meetings as

this moves forward.     Thank you.

           COUNCILMAN JOHNSON:       You're

welcome.

           Will the Clerk please call

anyone else who has a public comment.

           THE CLERK:    Mr. Chair, there is

no one else in attendance for public

comment.

           COUNCILMAN JOHNSON:       Is there

anyone else whose name has not been

called that would like to testify?

                (No response.)

           COUNCILMAN JOHNSON:       Hearing

none, at this time I'm going to ask for

all panelists and those who have signed




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up for public comment to please

disconnect as we conclude this hearing

and go into a public meeting.

           This officially concludes the

public hearing of the Committee.        We

will now go into a public meeting to

consider the action to be taken on the

bills before this Committee today.

           Will the Clerk please call the

roll so we can convene the public

meeting.

           THE CLERK:    Councilmember Mark

Squilla.

           COUNCILMAN SQUILLA:    Good

afternoon, Mr. Chair and colleagues.

Present.

           THE CLERK:    Councilmember Cindy

Bass.

           COUNCILWOMAN BASS:    Good

afternoon, Mr. Chair and colleagues.         I

am present as well.

           THE CLERK:    Councilmember David

Oh.

           COUNCILMAN OH:    Good afternoon.

I am present.




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             THE CLERK:    Councilmember Brian

O'Neill.

             COUNCILMAN O'NEILL:    Present.

             THE CLERK:    Councilmember

Katherine Gilmore Richardson.

             COUNCILWOMAN GILMORE

RICHARDSON:     Good afternoon, Mr. Chair

and colleagues.     I'm present.

             THE CLERK:    And that is it,

Mr. Chair.

             COUNCILMAN JOHNSON:    We have a

quorum and we will now go into our

public meeting.

             The Chair recognizes Councilman

Mark Squilla for a motion on Bill No.

210638.

             COUNCILMAN SQUILLA:    (Muted).

             COUNCILMAN JOHNSON:    You're on

mute right now, Councilman Squilla.

             COUNCILMAN SQUILLA:    Thank you,

Mr. Chair.     I was reading to myself.

             COUNCILMAN JOHNSON:    It's cool.

             COUNCILMAN SQUILLA:    I move

that Bill No. 210638 be reported from

this Committee with a favorable




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recommendation and further move that the

rules of Council be suspended as to

permit the first reading of this bill at

the next session of Council.

           COUNCILMAN JOHNSON:    Can I get

a second from someone?

           COUNCILWOMAN BASS:    Second.

           COUNCILMAN JOHNSON:    The Chair

notes for the record that Councilwoman

Cindy Bass seconds the motion.

           It has been moved and properly

seconded that Bill No. 210638 be

reported out of this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit first reading of

this bill at the next session of

Council.

           All those in favor of the

motion will signify by saying aye.

                (Aye.)

           COUNCILMAN JOHNSON:    Those

opposed?

                (No response.)

           COUNCILMAN JOHNSON:    The ayes




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have it and the motion carries.

             The Chair recognizes Councilman

Squilla for a motion on Bill No. 210637.

             COUNCILMAN SQUILLA:   Thank you,

Mr. Chair.

             I move that Bill No. 210637 be

reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit the first reading of

this bill at the next session of

Council.

             COUNCILMAN OH:   Second.

             COUNCILMAN JOHNSON:   The Chair

notes for the record that Councilman

David Oh seconds the motion.

             It has been moved and properly

seconded that Bill No. 210637 be

reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit first reading of

this bill at the next session of

Council.

             All those in favor of the




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motion will signify by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:     Those

opposed?

                  (No response.)

             COUNCILMAN JOHNSON:     The ayes

have it and the motion carries.

             The Chair recognizes

Councilmember Mark Squilla for a motion

on Bill No. 210686.

             COUNCILMAN SQUILLA:     687.

             COUNCILMAN JOHNSON:     Oh, I'm

sorry.     Let me back up for a second.

             The Chair recognizes Councilman

Mark Squilla for a motion on Bill No.

210687.

             COUNCILMAN SQUILLA:     Thank you,

Mr. Chair.

             I move that Bill No. 210687 be

reported from Committee with a favorable

recommendation and further move that the

rules of Council be suspended as to

permit the first reading of this bill at

the next session of Council.

             COUNCILWOMAN BASS:     Second.




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             COUNCILMAN JOHNSON:   The Chair

notes for the record that Councilwoman

Cindy Bass seconds the motion.

             It has been moved and properly

seconded that Bill No. 210687 be

reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit first reading of

this bill at the next session of

Council.

             All those in favor will signify

by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:   Those

opposed?

                  (No response.)

             COUNCILMAN JOHNSON:   The ayes

have it and the motion carries.

             The Chair recognizes Councilman

Mark Squilla for a motion on Bill No.

210549.

             COUNCILMAN SQUILLA:   Thank you,

Mr. Chair.

             I move that Bill No. 210549 be




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reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended as to permit the first reading

of this bill at the next session of

Council.

           COUNCILWOMAN GILMORE

RICHARDSON:   Second.

           COUNCILMAN JOHNSON:    The Chair

notes Katherine Gilmore Richardson

seconds the motion.

           It has been moved and properly

seconded that Bill No. 210549 be

reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit first reading of

this bill at the next session of

Council.

           All those in favor of the

motion will signify by saying aye.

                (Aye.)

           COUNCILMAN JOHNSON:    Those

opposed?

                (No response.)




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             COUNCILMAN JOHNSON:     The ayes

have it and the motion carries.

             The Chair recognizes Councilman

Mark Squilla for a motion on the

amendment to Bill No. 210667.

             COUNCILMAN SQUILLA:     Thank you,

Mr. Chair.

             I offer an amendment to Bill

No. 210667.     A copy of the amendment has

been circulated to all members of the

Committee.     And I move that the

amendment to Bill No. 210667 be

approved.

             COUNCILWOMAN BASS:    Second.

             COUNCILMAN JOHNSON:     The Chair

notes for the record that Councilwoman

Cindy Bass seconds the motion.        It has

been moved and properly seconded that

the amendment to Bill No. 210667 be

approved.

             All those in favor of the

motion will signify by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:     Those

opposed?




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                  (No response.)

             COUNCILMAN JOHNSON:     The ayes

have it and the motion carries.

             The Chair recognizes Councilman

Mark Squilla for a motion on Bill No.

210667 as amended.

             COUNCILMAN SQUILLA:     Thank you,

Mr. Chair.

             I move that Bill No. 210667 as

amended be reported from this Committee

with a favorable recommendation and

further move that the rules of Council

be suspended as to permit the first

reading of this bill at the next session

of Council.

             COUNCILMAN O'NEILL:     Second.

             COUNCILMAN JONES:     The Chair

notes for the record that Councilman

Brian O'Neill seconds the motion.

             It has been moved and properly

seconded that Bill No. 210667 as amended

be reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit first reading of




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this bill at the next session of

Council.

             All those in favor of the

motion will signify by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:    Those

opposed?

                  (No response.)

             COUNCILMAN JOHNSON:    The ayes

have it and the motion carries.

             The Chair recognizes Councilman

Mark Squilla for a motion on Bill No.

210668.

             COUNCILMAN SQUILLA:    Thank you,

Mr. Chair.

             I move that Bill No. 210668 be

reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended as to permit the first reading

of this bill at the next session of

Council.

             COUNCILWOMAN BASS:    Second.

             COUNCILMAN JOHNSON:    The Chair

notes for the record that Councilwoman




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Cindy Bass seconds the motion.

             It has been moved and properly

seconded that Bill No. 210668 be

reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit first reading at the

next session of Council.

             All those in favor of the

motion will signify by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:   Those

opposed?

                  (No response.)

             COUNCILMAN JOHNSON:   The ayes

have it and the motion carries.

             The Chair recognizes Mark

Squilla for a motion on the amendment to

Bill No. 210742.

             COUNCILMAN SQUILLA:   Thank you,

Mr. Chair.

             I offer an amendment to Bill

No. 210742.     A copy of the amendment has

been circulated to all members of the

Committee.     I move that the amendment to




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this Bill No. 210742 be approved.

             COUNCILMAN OH:   Second.

             COUNCILMAN JOHNSON:    The Chair

notes for the record that Councilman

David Oh seconds the motion.       It has

been moved and properly seconded that

the amendment to Bill No. 210742 be

approved.

             All those in favor of the

motion will signify by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:    The ayes

have it and the motion carries.         Give me

one second.

             The Chair recognizes Mark

Squilla for a motion on Bill No. 210742

as amended.

             COUNCILMAN SQUILLA:    Thank you,

Mr. Chair.

             I move that Bill No. 210742 as

amended be reported from this Committee

with a favorable recommendation and

further move that the rules of Council

be suspended as to permit the first

reading of this bill at the next session




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of Council.

           COUNCILMAN O'NEILL:    Second.

           COUNCILMAN JOHNSON:    The Chair

notes for the record that Councilman

Brian O'Neill seconds the motion.

           It has been moved and properly

seconded that Bill No. 210742 as amended

be reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit first reading of

this bill at the next session of

Council.

           All those in favor of the

motion will signify by saying aye.

                (Aye.)

           COUNCILMAN JOHNSON:    Those

opposed?

                (No response.)

           COUNCILMAN JOHNSON:    The ayes

have it and the motion carries.

           The Chair recognizes Councilman

Mark Squilla for a motion on the

amendment to Bill No. 210808.

           COUNCILMAN SQUILLA:    Thank you,




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Mr. Chair.

             I offer an amendment to Bill

No. 210808.     A copy of the amendment has

been circulated to all members of the

Committee.     I move that the amendment of

Bill No. 210808 be approved.

             COUNCILWOMAN BASS:     Second.

             COUNCILMAN JOHNSON:     The Chair

notes for the record that Councilwoman

Cindy Bass seconds the motion.        It has

been moved and properly seconded that

the amendment to Bill No. 210808 be

approved.

             All those in favor of the

motion will signify by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:     Those

opposed?

                  (No response.)

             COUNCILMAN JOHNSON:     The ayes

have it and the motion carries.        And the

amendment to Bill 210808 has been

approved.

             The Chair recognizes

Councilmember Mark Squilla for a




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motion --

                  (Background interruption.)

             COUNCILMAN JOHNSON:    Can

everybody mute their phone or your

computer, your screen if you're not

speaking.

             The Chair recognizes

Councilmember Mark Squilla for a motion

on Bill No. 210808 as amended.

             COUNCILMAN SQUILLA:    Thank you,

Mr. Chair.

             I move that Bill No. 210808 as

amended be reported from this Committee

with a favorable recommendation and

further move that the rules of Council

be suspended as to permit the first

reading of this bill at the next session

of Council.

             COUNCILMAN O'NEILL:    Second.

             COUNCILMAN JOHNSON:    The Chair

notes for the record that Councilman

Brian O'Neill seconds the motion.

             It has been moved and properly

seconded that Bill No. 210808 as amended

be reported from this Committee with a




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favorable recommendation and further

move that the rules of Council be

suspended to permit first reading of

this bill at the next session of

Council.

             All those in favor of the

motion will signify by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:     Those

opposed?

                  (No response.)

             COUNCILMAN JOHNSON:     The ayes

have it and the motion carries.

             The Chair recognizes

Councilmember Mark Squilla for a motion

on the amendment to Bill No. 210634.

             COUNCILMAN SQUILLA:     Thank you,

Mr. Chair.

             I offer an amendment to Bill

No. 210634.     A copy of the amendment has

been circulated to all members of the

Committee.     I move that the amendment to

Bill No. 210634 be approved.

             COUNCILWOMAN BASS:     Second.

             COUNCILMAN JOHNSON:     The Chair




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notes for the record that Councilwoman

Cindy Bass seconds the motion.       It has

been moved and properly seconded that

the amendment to Bill No. 210634 be

approved.

             All those in favor of the

motion will signify by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:    Those

opposed?

                  (No response.)

             COUNCILMAN JOHNSON:    The ayes

have it.     The motion carriers.    The

amendment to Bill No. 210634 has been

approved.

             The Chair recognizes

Councilmember Mark Squilla for a motion

on Bill No. 210634 as amended.

             COUNCILMAN SQUILLA:    Thank you,

Mr. Chair.

             I move that Bill No. 210634 as

amended be reported from this Committee

with a favorable recommendation and

further move that the rules of Council

be suspended as to permit the first




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reading of this bill at the next session

of Council.

           COUNCILMAN O'NEILL:    Second.

           COUNCILMAN JOHNSON:    The Chair

notes for the record that Councilman

Brian O'Neill seconds the motion.

           It has been moved and properly

seconded that Bill No. 210634 as amended

be reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit first reading of

this bill at the next session of

Council.

           All those in favor of the

motion will signify by saying aye.

                (Aye.)

           COUNCILMAN JOHNSON:    Those

opposed?

                (No response.)

           COUNCILMAN JOHNSON:    The ayes

have it and the motion carries.

           The Chair recognizes

Councilmember Mark Squilla for a motion

on the amendment to Bill No. 210778.




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             COUNCILMAN SQUILLA:    Thank you,

Mr. Chair.

             I offer an amendment to Bill

No. 210778.     A copy of the amendment has

been circulated to all members of the

Committee.     I move that the amendment of

Bill No. 210778 be approved.

             COUNCILMAN O'NEILL:    Second.

             COUNCILMAN JOHNSON:    The Chair

notes for the record that Councilman

Brian O'Neill seconds the motion.        It

has been moved and properly seconded

that the amendment to Bill No. 210778 be

approved.

             All those in favor of the

motion will signify by saying aye.

                  (Aye.)

             COUNCILMAN JOHNSON:    Those

opposed?

                  (No response.)

             COUNCILMAN JOHNSON:    The ayes

have it and the motion carries.       And the

amendment to Bill No. 210778 has been

approved.

             The Chair recognizes




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Councilmember Mark Squilla for a motion

on Bill No. 210778 as amended.

             COUNCILMAN SQUILLA:    Thank you,

Mr. Chair.

             I move that Bill No. 210778 as

amended be reported from this Committee

with a favorable recommendation and

further move that the rules of Council

be suspended as to permit the first

reading of this bill at the next session

of Council.

             COUNCILWOMAN BASS:    Second.

             COUNCILMAN JOHNSON:    The Chair

notes for the record that Councilmember

Cindy Bass seconds the motion.

             It has been moved and properly

seconded that Bill No. 210778 as amended

be reported from this Committee with a

favorable recommendation and further

move that the rules of Council be

suspended to permit the first reading of

this bill at the next session of

Council.

             All those in favor of the

motion will signify by saying aye.




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                  (Aye.)

             COUNCILMAN JOHNSON:     Those

opposed?

                  (No response.)

             COUNCILMAN JOHNSON:     The ayes

have it and the motion carries.

             Brett, for the record are we

holding Bill No. 210741?

             THE CLERK:    Yes.   The two bills

being held at this time are Bill Nos.

210741 and 210686.

             COUNCILMAN JOHNSON:     Okay.     So

for the record, Bill No. 210741 is being

held.

             And, Brett, the next bill is

also -- what's the second one you

mentioned?

             THE CLERK:    210686.

             COUNCILMAN JOHNSON:     And for

the record, Bill No. 210686 is also

being held at the request of their

sponsors.

             This concludes the Rules

Hearing.     I want to thank all my

colleagues for their dedication and




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participation on this hearing.

            COUNCILMAN SQUILLA:     Thank you,

Mr. Chairman.    Great job.

            Thank you, Brett.     Have a great

day.

            COUNCILMAN JOHNSON:     Thank you.

            (Committee on Rules concluded

at 1:05 p.m.)




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             C E R T I F I C A T I O N


             I, hereby certify that the

proceedings and evidence noted are contained

fully and accurately in the stenographic notes

taken by me in the foregoing matter, and that

this is a correct transcript of the same.




               ______________________________
               TANEHA CARROLL
               Court Reporter - Notary Public




                  (The foregoing certification of

       this transcript does not apply to any

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      A         accurately         42:45           30:39           141:29,51       91:15,17,23   Alterra's         177:41,45
a.m 1:10          33:49            43:21,23,33   Affairs           142:17          109:9,11        151:41          178:9,29
  152:49,49       184:10           44:3 62:41      116:21          144:33          123:49          152:3           179:51
abatement       achieve 56:49      108:33          117:31          145:47        aims 86:21      Altman            180:7,9,13
  110:5         achieved           133:15        affect 65:23      148:49        air 12:3          134:47,49       180:27,47
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ability 35:13     44:25            158:21          103:11,27       160:21        aligns 32:5       152:21          51:31
  53:33         acknowledge      Additionally      107:13        afforded 14:9   alive 30:31     ambassadors       54:17 82:5
  56:15           111:7            9:39 25:37    affordability   Afghan            113:45          150:5         amends
able 16:49        122:5          address           16:23           117:37        Allan 1:27      amend 4:51        11:17
  19:37         acknowled...       21:37 22:5      38:27         aforementi...     140:13          5:11,47 6:9     24:41 25:7
  21:31           160:51           54:19 85:3      58:43           9:11          Alliance          7:11,39 8:5     26:49
  32:39         acknowled...       120:5           59:21 85:5    African-          26:35,43        8:21,45         36:23 67:9
  35:23           108:35           126:39          86:29,49        149:33          27:27           19:3 35:23      67:23
  38:33         act 10:5 45:7      128:19          90:5          afternoon         28:49           50:49           81:21
  53:27 79:5      150:27           129:35          123:41          115:47          120:51          84:11           83:51
  85:35         action 74:51       130:45          127:19          116:15          126:23        amended         amenities
  92:25           136:51           158:37        affordable        120:37        allow 9:49        19:9 33:19      138:11
  103:27          162:15           160:31          8:25 11:47      126:5           22:3 25:39      149:27        amenity-rich
  108:5         actions          addressed         14:7 38:3       130:5           30:33           170:13,21       86:37
  113:41          125:23           34:37           38:11           154:27          31:39           170:43          89:37
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  156:33,45       86:51          addresses         52:5 84:7       162:49          59:11           174:15          149:35
abomination     activities         24:51           84:25,35        163:15          60:37           176:19,27     AMI 142:11
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above-grou...   activity 47:37   addressing        87:13           148:3           136:41          178:37,45     AMIs 123:39
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Absent            28:23            156:7           89:21           72:13           60:45           181:5,13,35     16:41
  152:11        add 33:39        adequately        101:43          78:19         allowances      amending          51:51
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Academy           152:23           34:15           112:21          145:37        allowing          24:45         analysis 43:7
  99:33           157:49           51:35           113:43        agree 35:13       42:31           38:15         and/or
acceptable      added 28:11      adjust 16:49      114:5           92:27           121:7           39:43           184:43
  110:19          57:43          adjusted          119:9           109:15          150:51        amendment       Andre
access 86:39    addendum           98:19           120:45        agreed 33:21    allows 19:43      6:23 27:31      115:45
  88:19           155:43         adjustment        121:13          33:29 34:7      19:51           36:35           116:9,19
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  149:49          8:23 11:27     adjusts 60:43     124:5,23        127:21          55:39           63:39           83:29
accessible        20:9 84:3      Administra...     125:29        agreement       alterations       65:27           92:43
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                  EXHIBIT 7

Bill No. 210778, as amended
        Oct. 26, 2021
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                     PROPOSED AMENDMENTS TO BILL NO. 210778
Amendment no. 1. Make the deletions and additions set forth below
                                       AN ORDINANCE
To amend Title 14 of The Philadelphia Code by adding Section 14-532, entitled the “/AHP,
Affordable Housing Preservation Overlay District” and making other related changes; to amend
the Philadelphia Zoning Maps by changing the zoning designations of certain areas of land
located within an area bounded by 39th Street, Ludlow Street, 40th Street, and Market Street;
and to establish a temporary demolition moratorium with respect to properties within the
aforementioned area; all under certain terms and conditions.
Whereas, Urban Renewal, the federal program used to remediate “blighted areas”, began in
Philadelphia in January 9, 1948, when eight “blighted” areas in Philadelphia, including two in
West Philadelphia, were certified for remediation by the Philadelphia Planning Commission; and
Whereas, in 1959, the West Philadelphia Corporation, a non-profit community development
organization, was formed by a coalition of higher education and medical institutions to spearhead
the development of the University City Science Center in the area of West Philadelphia that would
become known as Redevelopment Area Unit 3; and
Whereas, in 1963, the Philadelphia Planning Commission certified the area known as
Redevelopment Area Unit 3 for remediation, consisting roughly of the land bounded by 34th to
40th streets, and north of Chestnut to Lancaster and Powelton avenues (“Unit 3”). According to
census data, as of 1960, 4,603 people lived in Unit 3, and it consisted largely of the neighborhood
known as the Black Bottom. A 1963 memorandum from the West Philadelphia Corporation noted
that Unit 3 contained 3,432 people making up 987 families, 444 of which were white and 543 of
which were non-white; and
Whereas, in 1965 the Philadelphia Redevelopment Authority (“PRA”) determined that its property
acquisitions in Unit 3 would displace an estimated 107 white families and 463 non-white families.
Over 75% of the non-white families were tenants. Over 70% of the black families living in Unit 3
at this time were eligible for federally subsidized public housing; and
Whereas, by 1968, the RDA’s use of eminent domain on behalf of developers, including, but not
limited to, the Science Center, the School District of Philadelphia and Presbyterian-University
Medical Center, displaced 2,653 people in Unit 3, roughly 78% of whom were Black. According
to Census data, the population of Unit 3 plummeted from 4,603 individuals in 1960 to 654 people
in 1970; and
Whereas, in February of 1969, Penn students, supported by local Black activists and others, led a
sit-in at the University of Pennsylvania to protest Urban Renewal in Unit 3, calling for affordable
housing in Unit 3 and a University fund for low-income housing. This action led to the formation
of the Quadripartite Commission (the “Commission”), consisting of community members and
University of Pennsylvania (“Penn”) students, faculty and trustees; and
Whereas, the initial agreement forming the Commission noted that Penn would provide equitably-
priced replacement housing units if future Penn development displaced residents, and that Penn
would help create a ten-million-dollar community fund. Ultimately, the Commission floundered,
but its genesis reflected the demands of community members and other stakeholders for affordable
housing in Unit 3; and
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Whereas, a 1964 Urban Renewal Land Use Map for Unit 3 showed plans for Presbyterian
University City Medical Center on a 2.8 acre parcel of land bounded by 40th Street, 39th Street,
Market Street and Ludlow Street (the “Site”). But ultimately, the Site was developed as affordable
housing and the plans were changed to allow for the construction of the University City
Townhomes, a 70-unit townhome style affordable housing development subsidized heavily by the
U.S. Department of Housing and Urban Development (“HUD”), and consisting of approximately
19 two bedroom and 51 three bedroom units (“UCT”), that were built on the Site in the early
1980s; and
Whereas, in July, 1980, I.B.I.D. Associates (“IBID”), the current owner of the Site, entered into a
Redevelopment Agreement with the RDA with respect to the site, and purchased it from the RDA
for $70,000 in 1982. IBID built UCT in 1983, and in connection therewith entered into a long-
term contract with HUD in order to provide Section 8 affordable, family-style rental homes on the
Site; and
Whereas, as of 2019, the population of Unit 3 was approximately 1292 people, including 476 who
identify as white, 252 who identify as African American, and 456 people who identify as Asian.
About 98% of residents are over the age of 18. Approximately 68% of households have an income
less than $50,000; and
Whereas, on July 8, 2021, IBID delivered its notice pursuant to Section 1, Title 7, of the
Philadelphia Code, of its intent to allow its Section 8 Contract with HUD to expire on July 8, 2022;
and now, therefore,


THE COUNCIL OF THE CITY OF PHILADELPHIA HEREBY ORDAINS:

SECTION 1.
The Council of the City of Philadelphia hereby makes the following legislative findings:
1. As affordable housing in the City diminishes, this Council has adopted inclusionary zoning
more often to support the maintenance and creation of affordable housing in the City.
2. The Site is located in an amenity rich area with access to transit, healthcare, quality schools,
parks and jobs.
3. The nearby 40th Street SEPTA Market-Frankford Line station provides easy access to jobs
throughout Center City and West Philadelphia.
4. Elderly residents are able to take advantage to the proximity of the University of Pennsylvania
health system located at different locations within a 9-block radius.
5. The Site is four blocks from Saunders Park and a short walk from the greenery on Penn’s
campus.
6. The elementary and middle school catchment for the Site includes two top schools in the School
District of Philadelphia, the brand new Science Leadership Academy Middle School (“SLAMS”)
and the Samuel Powel Elementary School. Approximately 7%, or 23 students in the SLAMS
student body live in UCT, which represents half the school’s total catchment population.
7. The area is home to other residential housing uses, including but not limited to the University
Square Apartments, a senior community directly across Market Street from the Site, residential
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units across Ludlow Street from the Site, and Center Post Village, an 84-unit housing complex just
one-half block north of the Site that predominantly houses seniors and families, reinforcing that
the area is attractive for seniors seeking easy access to transit, medical services, and the amenities
discussed above.
8. The Ronald McDonald House, which provides housing for families traveling for medical care,
also neighbors the Site across Ludlow Street, reinforcing the area as attractive for those seeking
easy access to medical services in the area.
9. Zoning the Site as RMX-3 will allow the site to retain a residential use consistent with those
certain surrounding residential uses abutting the property.
10. Imposing an affordable housing overlay as described below is consistent with the planning of
stakeholders dating back to the 1960s and mandated by the ongoing needs of the community.
11. While other properties in the vicinity of the Site are zoned CMX-4 many are residential in
nature or used for mixed residential and commercial use, and rezoning this Site as RMX-3 with
the affordable housing overlay set forth below will best support and encourage growth of the
residential community in this amenity rich area, encourage further development of residential
housing in this area of the City, further Council’s commitment to maintaining and creating new
affordable housing across the City, and is consistent with the long standing planning of the
community and various stakeholders like the RDA that identified this Site specifically for
affordable housing purposes.

12. Although families may be provided federal housing vouchers to relocate by the expiration of
the Contract, given the high rate of voucher discrimination in Philadelphia and the unavailability
of affordable housing in amenity rich areas, it is highly unlikely that families will be able to
relocate to an area with similar access to transit, healthcare, quality schools, parks and jobs.
13. Data from the immediate area documents this affordable housing crisis. The Census tract that
contains the Site saw the median gross rent double between 2000 and 2018. The Census tract to
the north saw a similar increase, while median gross rent quadrupled in the Census tract
immediately to the east of the Site in that same time period. Furthermore, in that same time period,
the black population decreased in every Census tract in University City east of 52nd Street except
the ones that contain low-income housing sites, sometimes by more than 50%. This reinforces
that those who need access to affordable housing most are finding it less and less in this section of
the City.
14. A study published by Temple University Beasley School of Law and Community Legal
Services warns that over 9,000 Philadelphia families are at risk of losing their affordable housing
through similar “opt outs” of Section 8 project-based housing, which disproportionately affects
Philadelphians who are low-income and African-American. More than half of these properties are
owned by for-profit companies, with almost 6,000 units in total, and many are in gentrifying census
tracts with rapidly escalating property values. The study concludes that if project-based housing is
lost, the populations that already face the highest housing burdens would further disproportionately
face increased burdens within the private market.
SECTION 2. Title 14 of The Philadelphia Code is hereby amended to read as follows:

                             TITLE 14. ZONING AND PLANNING.

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                                            *   *    *

                    CHAPTER 14-500. OVERLAY ZONING DISTRICTS


                                            *   *    *

§ 14-532. /AHP, Affordable Housing Preservation Overlay District.


       (1) Applicability. The Affordable Housing Preservation Overlay District shall apply to
       lots located in the area bounded by Market Street, 39th Street, Ludlow Street and 40th
       Street.

       (2) Use Regulations. The following standards shall apply in addition to those of the
       applicable base zoning district:

               (a) At least 40% of all dwelling units (rounded up, if fractional), or seventy
              units, whichever is greater, shall be provided and maintained as affordable on the
              same site as all other dwelling units.

              (b) Any development that has received or will receive government financial
              assistance conditioned upon the provision of 51% or more units meeting
              affordability standards of a government program shall not be required to meet the
              requirements of subsections (a) above.

              (c) All uses other than residential uses or required off-street parking must be
              located on the ground floor of a building.

       (3) Development Standards

              (a) The maximum floor area ratio for lots zoned RMX-3 within the Affordable
                  Housing Preservation Overlay shall be 750% of the lot area.

              (b) Lots within the Affordable Housing Preservation Overlay shall not be eligible
                  for any floor area ratio bonuses pursuant to the provisions of Section 14-702
                  (Floor Area, Height, and Dwelling Unit Density Bonuses).



       (4) Affordability

        Affordable dwelling and sleeping units required shall be provided under the following
       standards. For the purposes of this section, a household shall consist of every person who
       lives or intends to live in the unit, regardless of age, dependency status, or relationship.
       The imputed household size for determining unit affordability and occupancy
       requirements of this section shall be equal to 1.5 people per each bedroom in the unit,

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except for studios, efficiencies, and sleeping units for which the imputed household size
is 1 person.

       (a) Affordable rental units shall:

               (.1) Have total monthly costs (including rent and utility costs) that do not
               exceed thirty percent (30%) of gross monthly income for households
               earning up to twenty percent (20%) of the Area Median Income (AMI),
               adjusted for household size, as reported by the U.S. Department of
               Housing and Urban Development (HUD) for the Philadelphia
               Metropolitan Statistical Area;

               (.2) Be occupied by households earning up to twenty percent (20%) of
               the Area Median Income (AMI), adjusted by household size, as reported
               by HUD for the Philadelphia Metropolitan Statistical Area at the time of
               the household's initial occupancy of the unit; and



               (.3) At no time be occupied by households earning greater than forty
               percent (40%) of the Area Median Income (AMI), adjusted by household
               size, as reported by HUD for the Philadelphia Metropolitan Statistical
               Area; provided that, in the event the income of a tenant is found by the
               Department of Planning and Development to exceed the maximum income
               provided for by this subsection (iii), a tenant shall nonetheless be deemed
               in compliance with this subsection (iii) until the first expiration of a lease
               occurring after the tenant's income first exceeded the maximum permitted
               by this subsection (iii). The Department of Planning and Development
               may waive this requirement upon a showing of exceptional circumstances.


       (b) The standards of §14-702(7)(b)(.2) through (.5) shall apply.

       (c) Applicants shall be encouraged to partner with community development
       corporations and other community-based organizations in developing and
       executing plans for marketing units and evaluating the qualifications of potential
       occupants.

       (d) Compliance check, remedies, and regulations of § 14-702(7)(d) through (g)
       shall apply.

       (e) The affordability standards set forth in this section (4) shall supersede the
       affordability standards of any other overlay set forth in this Chapter 14-500 with
       provisions that otherwise apply to lots within the area of the Affordable Housing
       Overlay.

(5) Interpretation

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       Where any other overlay district provisions conflict with those of this /AHP Affordable
       Housing Preservation Overlay District, the stricter provision shall govern.



                                         * * *
SECTION 3. Pursuant to Section 14-106 of The Philadelphia Code, the Philadelphia Zoning
Maps are hereby amended by changing the zoning designations of certain areas of land within an
area bounded by Market Street, 39th Street, Ludlow Street, and 40th Street from the existing
zoning designations indicated on Map “A” set forth below to the zoning designations indicated
on Map “B” set forth below.

SECTION 4. No zoning permit shall issue for a complete demolition of any building within the
area bounded by Market Street, 39th Street, Ludlow Street, and 40th Street, except if:

       (a) Such demolition is necessary to abate an imminently dangerous condition as
           determined by the Department of Licenses and Inspections;

       (b) Such demolition is necessary to abate an unsafe condition impacting the right of way
           or any adjacent property as determined by the Department of Licenses and
           Inspections; or

       (c) 12 months have passed since the date of enactment of this Bill of Council.


SECTION 5. This Ordinance shall take effect immediately following its enactment.


Amendment no. 2.
Add the attached document “Map A Existing Zoning” to the Bill as Exhibit A.
Add the attached document “Map B Proposed Zoning” to the Bill as Exhibit B.




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              Map A Existing Zoning




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CMX-4, Commercial Mixed-Use                                              trc
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           Map B Proposed Zoning




Zoning Districts
      RMX-3, Residential Mixed-Use


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                   EXHIBIT 8

Bill No. 210778-A, as amended
          Nov. 4, 2021
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                   EXHIBIT 9

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          Jan. 20, 2022
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                                                                           City Council
                                City of Philadelphia                       Chief Clerk's Office
                                                                           402 City Hall
                                                                           Philadelphia, PA 19107




                                  BILL NO. 210778-AA
                            (As Amended on Floor 1/20/2022)


                              Introduced September 30, 2021


                                 Councilmember Gauthier


                                      Referred to the
                                    Committee on Rules


                                      AN ORDINANCE

To amend Title 14 of The Philadelphia Code by adding Section 14-532, entitled the “/AHP,
Affordable Housing Preservation Overlay District” and making other related changes; to amend
the Philadelphia Zoning Maps by changing the zoning designations of certain areas of land
located within an area bounded by 39th Street, Ludlow Street, 40th Street, and Market Street;
and to establish a temporary demolition moratorium with respect to properties within the
aforementioned area; all under certain terms and conditions.


Whereas, Urban Renewal, the federal program used to remediate “blighted areas”, began in
Philadelphia in January 9, 1948, when eight “blighted” areas in Philadelphia, including two in
West Philadelphia, were certified for remediation by the Philadelphia Planning Commission; and

Whereas, in 1959, the West Philadelphia Corporation, a non-profit community development
organization, was formed by a coalition of higher education and medical institutions to spearhead
the development of the University City Science Center in the area of West Philadelphia that
would become known as Redevelopment Area Unit 3; and

Whereas, in 1963, the Philadelphia Planning Commission certified the area known as
Redevelopment Area Unit 3 for remediation, consisting roughly of the land bounded by 34th to
40th streets, and north of Chestnut to Lancaster and Powelton avenues (“Unit 3”). According to
census data, as of 1960, 4,603 people lived in Unit 3, and it consisted largely of the
neighborhood known as the Black Bottom. A 1963 memorandum from the West Philadelphia
Corporation noted that Unit 3 contained 3,432 people making up 987 families, 444 of which
were white and 543 of which were non-white; and

Whereas, in 1965 the Philadelphia Redevelopment Authority (“PRA”) determined that its
property acquisitions in Unit 3 would displace an estimated 107 white families and 463 non-

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white families. Over 75% of the non-white families were tenants. Over 70% of the black
families living in Unit 3 at this time were eligible for federally subsidized public housing; and

Whereas, by 1968, the RDA’s use of eminent domain on behalf of developers, including, but not
limited to, the Science Center, the School District of Philadelphia and Presbyterian-University
Medical Center, displaced 2,653 people in Unit 3, roughly 78% of whom were Black. According
to Census data, the population of Unit 3 plummeted from 4,603 individuals in 1960 to 654
people in 1970; and

Whereas, in February of 1969, Penn students, supported by local Black activists and others, led a
sit-in at the University of Pennsylvania to protest Urban Renewal in Unit 3, calling for affordable
housing in Unit 3 and a University fund for low-income housing. This action led to the
formation of the Quadripartite Commission (the “Commission”), consisting of community
members and University of Pennsylvania (“Penn”) students, faculty and trustees; and

Whereas, the initial agreement forming the Commission noted that Penn would provide
equitably-priced replacement housing units if future Penn development displaced residents, and
that Penn would help create a ten-million-dollar community fund. Ultimately, the Commission
floundered, but its genesis reflected the demands of community members and other stakeholders
for affordable housing in Unit 3; and

Whereas, a 1964 Urban Renewal Land Use Map for Unit 3 showed plans for Presbyterian
University City Medical Center on a 2.8 acre parcel of land bounded by 40th Street, 39th Street,
Market Street and Ludlow Street (the “Site”). But ultimately, the Site was developed as
affordable housing and the plans were changed to allow for the construction of the University
City Townhomes, a 70-unit townhome style affordable housing development subsidized heavily
by the U.S. Department of Housing and Urban Development (“HUD”), and consisting of
approximately 19 two bedroom and 51 three bedroom units (“UCT”), that were built on the Site
in the early 1980s; and

Whereas, in July, 1980, I.B.I.D. Associates (“IBID”), the current owner of the Site, entered into a
Redevelopment Agreement with the RDA with respect to the site, and purchased it from the
RDA for $70,000 in 1982. IBID built UCT in 1983, and in connection therewith entered into a
long-term contract with HUD in order to provide Section 8 affordable, family-style rental homes
on the Site; and

Whereas, as of 2019, the population of Unit 3 was approximately 1292 people, including 476
who identify as white, 252 who identify as African American, and 456 people who identify as
Asian. About 98% of residents are over the age of 18. Approximately 68% of households have
an income less than $50,000; and

Whereas, on July 8, 2021, IBID delivered its notice pursuant to Section 1, Title 7, of the
Philadelphia Code, of its intent to allow its Section 8 Contract with HUD to expire on July 8,
2022; and

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Whereas, inspired by the potential loss of the rich community and needed housing provided by
the University City Townhomes, the significant prior history of the displacement of lower
income communities in this area, and the explosion of commercial development in University
City over the past ten years, the Affordable Housing Preservation Overlay District creates a
framework for zoning mixed use properties in high density, amenity rich areas, to encourage
sustainable residential development for the areas identified below, and other areas throughout the
City; and now, therefore,

THE COUNCIL OF THE CITY OF PHILADELPHIA HEREBY ORDAINS:

SECTION 1.

The Council of the City of Philadelphia hereby makes the following legislative findings:

1. As affordable housing in the City diminishes, this Council has adopted inclusionary zoning
more often to support the maintenance and creation of affordable housing in the City, most
recently adopting mandatory inclusionary zoning within the Mixed Income Neighborhoods
Overlay District which requires approximately 20% of units in certain new residential
developments be affordable.


2. The area identified below as within the Affordable Housing Preservation Overlay District and
the Mixed Income Neighborhoods Overlay District is located in an amenity rich area with access
to transit, healthcare, quality schools, parks and jobs.

3. The nearby 40th Street SEPTA Market-Frankford Line station provides easy access to jobs
throughout Center City and West Philadelphia.

4. Elderly residents are able to take advantage to the proximity of the University of
Pennsylvania health system located at different locations within a 9-block radius.

5. The proposed Affordable Housing Preservation Overlay District is blocks from Saunders Park
and a short walk from the greenery on Penn’s campus.

6. The elementary and middle school catchment for the area includes two top schools in the
School District of Philadelphia, the brand new Science Leadership Academy Middle School
(“SLAMS”) and the Samuel Powel Elementary School. Approximately 6%, or 22 students in the
SLAMS student body live in the University City Townhomes which represents half the school’s
total catchment population. Approximately 15%, or 34 students in the Powel student body live in
the University City Townhomes.

7. The area is home to other residential housing uses, including units across Ludlow Street from
the University City Townhomes, and Center Post Village, an 84-unit housing complex just north

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of Filbert Street that predominantly houses seniors and families, reinforcing that the area is
attractive for seniors seeking easy access to transit, medical services, and the amenities discussed
above.

8. The Ronald McDonald House, which provides housing for families traveling for medical
care, also neighbors area within the Affordable Housing Preservation Overlay District across
Ludlow Street, reinforcing the area as attractive for those seeking easy access to medical services
in the area.

9. Zoning as provided in the proposed overlay will allow the area to retain a residential use
consistent with those certain surrounding residential uses abutting the Affordable Housing
Preservation Overlay District.

10. Imposing an affordable housing overlay as described below is consistent with the planning
of stakeholders dating back to the 1960s and mandated by the ongoing needs of the community.

11. While other properties in the vicinity of the Affordable Housing Preservation Overlay
District are zoned CMX-4 many such properties are residential in nature or used for mixed
residential and commercial use, and other properties are zoned for lower density residential uses.
Rezoning the Affordable Housing Preservation Overlay District as set forth below will best
support and encourage growth of the residential community in this amenity rich area, encourage
further development of residential housing in this area of the City, further Council’s commitment
to maintaining and creating new affordable housing across the City, and is consistent with the
long standing planning of the community and various stakeholders like the RDA that identified
areas within in the Affordable Housing Preservation Overlay District specifically for affordable
housing purposes. This overlay further serves to transition from the less dense residential uses
north of Filbert Street to the denser mixed commercial and residential uses south of Filbert
Street.

12. The Executive Director of the Philadelphia City Planning Commission, Eleanor Sharpe,
along with planning directors from across the country, published a Commitment to Change
Statement, which notes that planners played an integral role in the displacement of communities
of color over the course of modern American history, including through Urban Renewal.

13. The American Planning Association’s Housing Policy Guide Statement 2B supports the
preservation of existing affordable housing in gentrifying, amenity rich areas, such as the area
designated as the Affordable Housing Preservation Overlay District.

14. Philadelphia’s 2035 Comprehensive Plan notes that “the location of new housing,
particularly housing supported by government funding, should be prioritized based on adjacency
to existing community assets and strengths: commercial corridors, transit stations, and stable
residential blocks.”



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15. The University Southwest District Plan calls for mixed-use development in this area.
Instituting the overlay set forth below achieves the District Plan’s intent and does so in a way
that creates space for equity, community cohesion, and cultural and housing preservation. The
need for residential housing in this area has grown significantly in the nearly ten (10) years since
the plan was developed. While there is no longer a need for hotel rooms in this location, the
need for stable long-term housing remains. Zoning the area designated as the Affordable
Housing Preservation Overlay District in the manner described in the proposed overlay ensures
that mixed-use development can take place at the scale of what is envisioned in the District Plan,
while assuring residential housing, including affordable housing, remains in this amenity rich
area.

16. There has been over $5 billion in development in University City over the past ten years, a
disproportionate amount of which has been dedicated to office, life sciences, and academic uses.
Reportedly, there is billions more dollars of construction in the pipeline. This commercial
development tracks the recommendation of a 2017 Brookings Institute Report which calls for the
City to make a University City-Center City Innovation District from 17th Street to 43rd Street from
the Market Street corridor to Grays Ferry Avenue. As University City continues to position itself
as an innovation district for companies in the life sciences and other technology sectors to thrive,
owners of land zoned for commercial and residential development on key corridors within and
adjacent to University City will be incentivized to build commercial developments for the
knowledge economy, not residential developments, and particularly not to maintain affordable
housing for people with low incomes.

17. The Comprehensive Plan and the Zoning Code currently presuppose that the market will
provide adequate housing in CMX zoning districts since over the past several decades residential
development has been the most profitable type of development in the City. However, this is no
longer the reality in University City, particularly along amenity rich transit corridors. Making
residential development mandatory for uses above one story within the Mixed Income
Neighborhoods Overlay District provides a check against the unique market forces at play in
University City, which otherwise encourage maximizing growth and economic development
over the creation of inclusive neighborhoods.

18. In addition to this shift from residential housing development along this transit corridor, a
study published by Temple University Beasley School of Law and Community Legal Services
warns that over 9,000 Philadelphia families are at risk of losing their affordable housing through
“opt outs” of Section 8 project-based housing, which disproportionately affects Philadelphians
who are low-income and African-American. More than half of these properties are owned by for-
profit companies, with almost 6,000 units in total, and many are in gentrifying census tracts with
rapidly escalating property values. The study concludes that if project-based housing is lost, the
populations that already face the highest housing burdens would further disproportionately face
increased burdens within the private market.

19. Although families may be provided federal housing vouchers to relocate by the expiration of
the availability of affordable housing at a given location in the Affordable Housing Preservation

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Overlay District, given the high rate of voucher discrimination in Philadelphia and the
unavailability of affordable housing in amenity rich areas, it is highly unlikely that families will
be able to relocate to an area with similar access to transit, healthcare, quality schools, parks and
jobs unless this Council acts to assure more dedicated affordable housing is developed in such
areas.

20. Data from the immediate area documents this affordable housing crisis. The Census tract
that contains the Affordable Housing Preservation Overlay District saw the median gross rent
double between 2000 and 2018. The Census tract to the north saw a similar increase, while
median gross rent quadrupled in the Census tract immediately to the east of the Affordable
Housing Preservation Overlay District in that same time period. Furthermore, in that same time
period, the black population decreased in every Census tract in University City east of 52nd
Street except the ones that contain low-income housing sites, sometimes by more than 50%.
This reinforces that those who need access to affordable housing most are finding it less and less
in this section of the City.

21. For these reasons, the Affordable Housing Preservation Overlay District proposed is an
essential tool to retain and encourage growth of residential housing units and affordable housing
units in amenity rich areas where market forces may otherwise displace such housing.

SECTION 2. Title 14 of The Philadelphia Code is hereby amended to read as follows:

                            TITLE 14. ZONING AND PLANNING.

                                             *    *    *

                         CHAPTER 14-500. OVERLAY ZONING DISTRICTS


                                             *    *    *

§ 14-534. /AHP, Affordable Housing Preservation Overlay District.

(1) Applicability. The Affordable Housing Preservation Overlay District shall apply to lots
located in the area bounded by Filbert Street, 39th Street, Ludlow Street and 40th Street.

(2) Use Regulations. Uses other than residential uses or required off-street parking may only be
located on the ground floor of a building.

(3) Applicability of /MIN, Mixed Income Neighborhoods Overlay District.

        For any property located within both the Affordable Housing Preservation Overlay
        District, and the § 14-533 (/MIN, Mixed Income Neighborhoods Overlay District) as
        described in Bill No. 210633-A:

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                (a) Notwithstanding the effective date of Bill No. 210633-A, the provisions of
                §14-533 (/MIN, Mixed Income Neighborhoods Overlay District), §14-303(8)(a),
                §14-513(5)(b)(.2), §14-702(7)(a)(.1)(.a)(iii), §14-702(7)(a)(.2)(.a)(iii), and 14-
                702(7)(i), all as set forth in Bill No. 210633-A, shall be effective immediately;
                and

                (b) Notwithstanding §14-533(3)(b)(.1)-(.4) and §14-533(6)(c), all affordable
                dwelling units and sleeping units shall be provided and maintained on the same
                site as all other dwelling units. No offsite options or payment in lieu of providing
                onsite affordable housing shall be permitted to satisfy the affordability
                requirements of §14-533(3)(a) or §14-533(3)(b)

(4) Severability.

If any paragraph, subsection, clause, provision, or exception of this Section shall be declared by
a court of competent jurisdiction to be invalid, such decision shall not affect the validity of this
Section as a whole or any part thereof. It is the intention of City Council that the remainder of
this Section would have been adopted as if such invalid paragraph, subsection, clause, provision,
or exception had not been enacted.

                                             *    *    *

SECTION 3. No zoning permit shall issue for a complete demolition of any building within the
area bounded by Market Street, 39th Street, Ludlow Street, and 40th Street, except if:


        (a)     Such demolition is necessary to abate an imminently dangerous condition as
                determined by the Department of Licenses and Inspections;

        (b)     Such demolition is necessary to abate an unsafe condition impacting the right of
                way or any adjacent property as determined by the Department of Licenses and
                Inspections; or

        (c)     12 months have passed since the date of enactment of this Bill of Council.



SECTION 4. This Ordinance shall take effect immediately following its enactment.




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